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     1                        UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
     2                          WEST PALM BEACH DIVISION
                               CASE NO. 19-CR-80181-RAR-1
     3
          UNITED STATES OF AMERICA,                   Miami, Florida
     4
                                                      November 30, 2022
     5               vs.
                                                      10:19 a.m. - 5:55 p.m.
     6
          MINAL PATEL,                                Volume 3
     7
                         Defendant.             Pages 1 to 260
     8    ______________________________________________________________

     9
                               TRANSCRIPT OF JURY TRIAL
    10                 BEFORE THE HONORABLE RODOLFO A. RUIZ, II
                             UNITED STATES DISTRICT JUDGE
    11
          APPEARANCES:
    12

    13    FOR THE GOVERNMENT:             JAMIE DE BOER
                                          EMILY GURSKIS
    14                                    REGINALD CUYLER
                                          KATHERINE ROOKARD
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    22                           Official Court Reporter to:
                                 The Honorable Rodolfo A. Ruiz, II
    23                           United States District Court
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    25
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     1    (Appearances continued)

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     8

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     1                 (Call to the Order of the Court.)

     2              THE COURT:   We are back online in case number 19-80181,

     3    our trial in the United States of America versus Minal Patel.

     4    All jurors are now present and accounted for and ready to go.

     5    Any concerns, issues, housekeeping, that I need to be aware of,

     6    starting with the government?

     7              MS. DE BOER:    Three brief issues, Your Honor.

     8              THE COURT:   Okay.

     9              MS. DE BOER:    Number one, we informed the defense

    10    yesterday at 3:27 p.m. that we may call Senthil Ramamurthy

    11    today, and then upon reflecting on our schedule we cut one

    12    witness for tomorrow and we rearranged some travel for folks,

    13    and we intend to call Mr. Ramamurthy today in lieu of

    14    Mr. Sporn.

    15              The marshals have brought him over.       There's one

    16    potential -- we wanted to just make sure of any logistics

    17    because he's incarcerated, so how you want him brought out in

    18    front of the jury.     He has diabetes, and so we did speak with

    19    the marshals.    We understand he has some food, but we advised

    20    the witness that if at any point on the stand he feels a little

    21    woozy or whatever, to just not try to push through and let us

    22    know.    We have a Pepsi for him if he needs it, we have snacks

    23    if he needs it, just in case.

    24              So we just wanted to advise the Court of that potential

    25    issue.
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     1              THE COURT:   So what we'll do with Mr. Ramamurthy is

     2    we'll have him take the witness stand while the jury is on

     3    break.   I'll have him already seated.       I will speak to him

     4    outside the presence of the jury regarding any concerns with

     5    his diabetes so he knows that he can alert me if he doesn't

     6    feel well or he needs to take a quick bite or sip of something

     7    while he's on the stand.

     8              But my plan will be to go ahead and have him seated

     9    before the jury comes back in.

    10              MS. DE BOER:    Very good, Your Honor.      And we anticipate

    11    that after Ms. McMillan we'll call two other witnesses before

    12    Mr. Ramamurthy, so it may be that he's right after the lunch

    13    break, which may be convenient for everybody.

    14              A second issue with respect to the witness who we

    15    expect to go third today.      So it'll be McMillan, then it will

    16    be Ms. N., then it'll be Ms. Wulf.       So this is with respect to

    17    Ms. Wulf.    She was a patient witness who was referred to the

    18    lab by Chris White's operation.       She does not know Mr. White.

    19              She is not going to be introducing any statements with

    20    respect to Mr. White, therefore we don't believe that this

    21    would implicate the recordings that we discussed last week with

    22    Your Honor, but we wanted to advise the Court of the way in

    23    which she was referred.      She's not going to be talking about

    24    any of the -- you know, the financial arrangements between

    25    marketers and the lab.      She doesn't know about that.
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     1               THE COURT:    So she won't be talking about any of the

     2    financial arrangements.      We don't think she'll be referenced or

     3    opening up any concerns regarding the recorded statements.

     4               MS. DE BOER:    That's correct, Your Honor.

     5               THE COURT:    All right.

     6               MS. DE BOER:    And then the third issue pertains to a

     7    witness who's coming tomorrow, but it may require some advanced

     8    work on our part, depending on how this issue is resolved.           I

     9    understand that the defense is objecting to the authenticity of

    10    certain patient files for which we have a 902.11 certificate

    11    with the Exhibit S2, Docket Entry 358.

    12               These are patient files.     These are clearly business

    13    records.    We have a certificate indicating that they are

    14    business records.       We understand there's an objection to

    15    authenticity.    We would ask to not have to bring in a custodian

    16    witness on this in order to move this case along and keep on

    17    track.

    18               THE COURT:    So let's do this.    I'll handle that

    19    authenticity issue later today so that I can make a ruling on

    20    that in preparation for tomorrow.       This is not at issue until

    21    tomorrow's witness, right?

    22               MS. DE BOER:    That's correct, Your Honor.

    23               THE COURT:    Obviously I understand if you have to bring

    24    a custodian of record that logistically impacts you, but my

    25    hope is I can get to this later today.        Okay, so those are the
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     1    three issues from the government's side, right?

     2              MS. DE BOER:    Yes, Your Honor.     Thank you.

     3              THE COURT:   Is Ms. McMillan available right now?

     4              MS. DE BOER:    Yes, she's right outside.

     5              THE COURT:   Why don't we go ahead and get her, and

     6    let's get her already on the stand while I'm hearing from

     7    Mr. Rafferty.

     8              MR. RAFFERTY:    Your Honor, if we could just hold off --

     9              THE COURT:   Oh, okay.    I'm sorry.    If it implicates her

    10    testimony.    Go ahead.

    11              MR. RAFFERTY:    It does.    So there's a number of

    12    exhibits which I understand the government has no objection to

    13    which I intend on introducing --

    14              THE COURT:   Slow down a bit for my court reporter.         So

    15    number of exhibits that you intend on introducing in the

    16    cross-examination of presumably Ms. McMillan?

    17              MR. RAFFERTY:    Yes, Your Honor.

    18              THE COURT:   Okay.

    19              MR. RAFFERTY:    Those exhibits are on the government's

    20    exhibit list.    I've conferred with Ms. Gurskis on those

    21    exhibits and there are no objections.        So when she's brought

    22    in, I would just ask the Court to be able to read those

    23    exhibits into the record similar to the manner in which

    24    Ms. Gurskis did.

    25              And then there's one additional exhibit which I've
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     1    disclosed to the government.       It is government exhibit -- or

     2    Defense Exhibit 200.     It is an OIG-related document.       It was

     3    prepared by the Office of the Inspector General, and it

     4    concerns the local coverage determinations.         It's a document

     5    that was produced in 2014.      It is a memo that addresses the

     6    inconsistencies in the use of LCDs.

     7              And I would -- I intend on seeking to have that

     8    admitted as an exhibit during the course of my examination of

     9    Ms. McMillan.    The document is entitled the Department of

    10    Health and Human Services, Office of Inspector General, Local

    11    Coverage Determinations Create Inconsistencies in Medicare

    12    Coverage.

    13              I think, clearly, based on her testimony yesterday,

    14    there's significant relevance to this.        She testified

    15    repeatedly about LCDs, her knowledge of LCDs, her expertise in

    16    LCDs, and that the LCDs that exist are designed, and I quote,

    17    to make sure that wherever you live, your Medicare benefit is

    18    the same.

    19              This document, Your Honor, makes clear that that's been

    20    a concern of HHS, OIG, and CMS going back to 2014.          The

    21    document further specifically talks about the difficulties in

    22    LCDs in new technology, which is straight on point with what

    23    we're dealing with here when it comes to genetic testing.

    24              I'd last point out that the government spent a

    25    considerable amount of time during the course of her testimony
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     1    not only laying the foundation for her expertise and her

     2    background in various rules, regulations, statutes, opinions --

     3    they have some of the very same kinds of opinions on their own

     4    exhibit list -- but they spent quite a bit of time talking

     5    about documents signed by Mr. Patel in 2014, beginning with

     6    209-A, 210-A, 212-A, a number of documents signed in 2014, and

     7    the witness testified that by signing those, he agreed to

     8    comply with various coverage obligations, including LCDs.

     9              So this particular memo from 2014 is squarely on point

    10    with respect to that as well.       And so rather than bringing in

    11    another witness, ask for a 902(11) certificate, Your Honor, I

    12    would ask to introduce it into evidence and use it during the

    13    cross-examination of Ms. McMillan.

    14              THE COURT:   So let's take things in turn.       The Court

    15    has no issue with at the beginning of your cross-examination

    16    going ahead and reading into the record the list of exhibits

    17    you plan on utilizing that are going to be admitted without

    18    objection.

    19              As to the Exhibit 200 of the defense, the government's

    20    position on that?

    21              MS. GURSKIS:    The government's position is that it's

    22    irrelevant, Your Honor.      Mr. Rafferty correctly knows that this

    23    was published in 2014, but I'm actually reading from the report

    24    itself, which relates to a one-week period in which they were

    25    looking at procedure codes from October of 2011, which actually
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      1   predates every single LCD at issue in this case by a minimum of

      2   three years.

      3             Mr. Patel himself did not start billing genetic testing

      4   codes until 2017, but the LCDs on our exhibit list which were

      5   introduced yesterday, the earliest of which went into effect in

      6   mid to late 2014.

      7             THE COURT:    Okay.

      8             MS. GURSKIS:    So this would be entirely irrelevant, and

      9   if not irrelevant, would certainly confuse the jury.

    10              THE COURT:    Okay.   The Court's going to go ahead and

    11    allow that to come in.      But my view on this is you can clarify

    12    that on your redirect.      And truthfully, although I don't

    13    disagree with you that the time periods may be off, I would

    14    suspect that part of it's relevancy, and why I'm going to go

    15    ahead and let it be shown to the witness, is really also to

    16    illustrate the uncertain nature of this space, that it is a

    17    space that historically may have been in flux and that there

    18    are rules that are evolving when it comes to Medicare.

    19              Certainly you can draw up the fact that these aren't

    20    rules that at the time should have let Mr. Patel or misguided

    21    Mr. Patel in his evaluation of LCDs, but certainly that is

    22    something that I'd rather go ahead and address on the redirect

    23    as opposed to keeping it out.

    24              Because I do see a little bit of value in terms of just

    25    the big picture of how Medicare works, which at the end of the
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      1   day I think we had a lot of testimony from Ms. McMillan that

      2   spoke in broad terms about Medicare and coverage determination.

      3             So I'm going to allow it in.       So let's go ahead and use

      4   that, and that objection will be overruled.         So as part of your

      5   presentation, I think, Mr. Rafferty, when you begin, go ahead

      6   and include Exhibit 200 in that, and obviously the government

      7   will renew the objection, but we'll be able to use it.

      8             Okay?   All right.

      9             MS. GURSKIS:    Do you have a copy of that?

    10              MR. RAFFERTY:    I do.    I'm sorry.

    11              THE COURT:    Anything else on the defense side before I

    12    get my jury back in here, guys?       Was that it, Mr. Rafferty, on

    13    your end?

    14              MR. RAFFERTY:    That's it.

    15              MR. SADOW:    I have --

    16              THE COURT:    Yes, Mr. Sadow, what do you have?

    17              MR. SADOW:    I would like to do a quick whine,

    18    w-h-i-n-e, if I might.

    19              THE COURT:    Okay.   Uh-huh.

    20              MR. SADOW:    When I'm given a list of witnesses on

    21    Sunday that includes Mr. Sporn, but not Mr. Ramamurthy, and

    22    then I'm given the same list with additional exhibits and there

    23    are multiple exhibits for Mr. Sporn on Monday, and no mention

    24    of Mr. Ramamurthy, and I'm given late in the afternoon

    25    yesterday a document that says that Ramamurthy and one other
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      1   witness may be called potentially today or tomorrow, and I'm

      2   not told that Mr. Sporn isn't be going to be called, I spent my

      3   time and effort preparing for Mr. Sporn, not for

      4   Mr. Ramamurthy, only to be told last night, about 7:30, that

      5   Mr. Ramamurthy will be testifying and Mr. Sporn will not.

      6             That kind of defeats the whole purpose of notice, since

      7   Mr. Sporn's file is this thick (indicating) with just documents

      8   for use on cross, and Mr. Ramamurthy's is similar.

      9             So if I'm going to get notice and I'm not going to have

    10    a witness that I'm preparing for because I've already received

    11    notice, maybe the government could say, you know what?           We're

    12    not going to call Mr. Sporn.       Because I don't know if Your

    13    Honor watched.     Yesterday, as the witness was testifying, I was

    14    working on Mr. Sporn the entire time.        So it puts me at a

    15    disadvantage.

    16              What it required me to do is, starting at 8:00 o'clock

    17    last night, to start getting on Ramamurthy and putting aside

    18    Mr. Sporn.    So I'm going to be prepared.       I'm going to do my

    19    cross, but this kind of playing -- my words -- doesn't really

    20    work.

    21              If you're not going to call a witness and you've made

    22    that decision, let me know you're not going to call them so I

    23    can put that one aside and go to the next one.          That's all I'm

    24    asking.

    25              THE COURT:    Understood.    And I think the government
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      1   understands also that these types of determinations -- although

      2   I do recognize that things can change at the eleventh hour, I

      3   really also am planning out my schedule and my timing based

      4   upon who we think we're going to call.        That's why I asked

      5   yesterday.    I didn't leave it up to the lawyers to sort out the

      6   list for today.     So I would just echo.     And I'm certain

      7   that we're going to make every effort to make sure that we

      8   stick to whatever list we're lining up the evening or the

      9   afternoon before so that we can try to really keep the

    10    efficiency levels up, because what it does is, arguably it only

    11    makes things more belabored because the preparation then is

    12    shortcut because we didn't go ahead and let the other side know

    13    not to worry about certain witnesses or to focus energies on

    14    others.

    15              So can the government just please make that promise to

    16    the Court and opposing counsel, that absent extenuating

    17    circumstances, I'm going to have you guys really stick to the

    18    list that you let the Court know about the day before.           Okay?

    19              MR. SADOW:    If I may add to that.     Mr. Ramamurthy, as

    20    the Court now knows, is in custody.        And he's been here since

    21    November 25th at the earliest.       So the notion that there is

    22    some concern about Mr. Ramamurthy being in the U.S. Marshal's

    23    custody -- now, if Mr. Sporn for some reason is unavailable,

    24    which I find hard to believe since he was interviewed last

    25    night.
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      1              So this is not a scheduling issue.      This is just a, we

      2   decided to change it.      It has nothing to do with the

      3   circumstances arising yesterday.       They've just made a decision

      4   to call Ramamurthy before Sporn, which, again, they're

      5   permitted to do, but I understand scheduling issues, like the

      6   Court pointed out.      This isn't one of them.

      7              THE COURT:   Understood.    So just on the government's

      8   end, so that I don't also lose time with housekeeping on these

      9   matters, I would just ask that we try to stick with our plan as

    10    much as possible, absent extenuating circumstances, because

    11    certainly we have a need to move swiftly through some of these

    12    witnesses so that we can keep a good pace going.

    13               So can I just get an assurance from the government

    14    going forward that we won't have any major last-minute changes,

    15    okay?

    16               MS. DE BOER:    Understood, Your Honor.     Thank you.

    17               THE COURT:   All right.    Mr. Rafferty, you're good on

    18    your end?

    19               MR. RAFFERTY:   Yes, Your Honor.     Thank you.

    20               THE COURT:   All right.    Let's go ahead now.     If we can

    21    have Ms. McMillan now.      I'm going to have her take the stand

    22    already before I bring in the jury.

    23            (Witness takes the witness stand.)

    24               THE COURT:   Let's all rise for the jury.

    25            (Jury enters at 10:35 a.m.)
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      1             THE COURT:    Please be seated, everyone.

      2             Good morning, ladies and gentlemen of the jury.           Good

      3   to see you all.     Hope you all had a nice evening.       As you

      4   recall, when we broke yesterday we had just completed the

      5   direct examination of Ms. McMillan.        You will see that

      6   Ms. McMillan has already taken the stand.         We are now going to

      7   turn it over to Mr. Rafferty on behalf of the defense.           He will

      8   be conducting the cross-examination.        And then, after that, we

      9   have the redirect from the government.        Okay?   And once that is

    10    complete, we've completed the witness.

    11              So does everyone have their notepads?        Seems like you

    12    all do.    Very good.   So with that, I will turn it over to

    13    defense counsel for the cross.

    14              Mr. Rafferty, the floor is yours.

    15              MR. RAFFERTY:    Thank you, Your Honor.

    16              Good morning.    Your Honor, before I begin my cross, if

    17    I could take care of some housekeeping with respect to some

    18    exhibits?

    19              THE COURT:    Please do.

    20              MR. RAFFERTY:    Thank you.

    21              At this time, the defense would move into evidence

    22    Government Exhibits 209-B, 209-C, 209-D, 209-E, 209-G, 209-H,

    23    210-B, 212-B, 214-B, 214-C, 214-D, 243, and 247.

    24              THE COURT:    All right.

    25              MR. RAFFERTY:    In addition, Your Honor, at this time
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      1   we'd also move into evidence Defendant's Exhibit 200.

      2             THE COURT:    Very good.    Subject to prior objections,

      3   any other concerns on behalf of the government before we admit

      4   this list of exhibits?

      5             MS. GURSKIS:    Nothing other than the previously

      6   indicated objection.      Thank you, Your Honor.

      7             THE COURT:    Thank you very much.     Those will be moved

      8   into evidence at this time.

      9          (Government Exhibits 209-B, 209-C, 209-D, 209-E, 209-G,

    10         209-H, 210-B, 212-B, 214-B, 214-C, 214-D, 243, and 247

    11         were received in evidence.)

    12           (Defense Exhibit 200 was received in evidence.)

    13                              CROSS-EXAMINATION

    14    BY MR. RAFFERTY:

    15    Q.   Good morning, Ms. McMillan.

    16    A.   Good morning.

    17    Q.   My name is Brian Rafferty, and I'm one of the attorneys

    18    that represent Minal Patel.

    19    A.   Good morning.

    20    Q.   And I have some questions for you about your testimony

    21    yesterday.

    22    A.   Okay.

    23    Q.   Some of it is background information that I want to make

    24    sure I have straight.      Okay?

    25    A.   Sure.
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      1   Q.     With respect to your testimony, I assume that you did some

      2   preparations in advance of your testimony.

      3   A.     Yes, I did.

      4   Q.     And you reviewed materials; is that right?

      5   A.     Yes, I did.

      6   Q.     And I just want to make sure I know what those materials

      7   are.

      8   A.     Sure.

      9   Q.     That would include, I assume, some publicly available

    10    statutes?

    11    A.     Yes.

    12    Q.     Regulations?

    13    A.     Yes.

    14    Q.     Guidance documents?

    15    A.     Yes.

    16    Q.     Alerts?

    17    A.     Yes.

    18    Q.     OIG memos?

    19    A.     I did not review any OIG memos.

    20    Q.     How about Medicare-related information about genetic

    21    testing?

    22    A.     Yes.

    23    Q.     Medicare enrollment forms?

    24    A.     Yes.

    25    Q.     Other Medicare documents related to LabSolutions?
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                                                                                  18


      1   A.   The enrollment forms.

      2   Q.   Correspondence related to that, perhaps?

      3   A.   No.

      4   Q.   Okay.   How about some billing data?

      5   A.   Yes.

      6   Q.   For Part B?

      7   A.   For Part B, yes.

      8   Q.   And Part C?

      9   A.   Yes.

    10    Q.   And all of that information, was that provided to you by

    11    the government?

    12    A.   Yes.

    13    Q.   Did you select the information, or did they give you the

    14    information for you to review?

    15    A.   They gave it to me.

    16    Q.   So they selected the information?

    17    A.   Regarding the data and the enrollment forms, I personally

    18    went out and looked at regulations on my own.         They did provide

    19    some of those, but they were similar to what I had already

    20    produced.

    21    Q.   Understood.    And that's the universe of what you reviewed

    22    in advance of your testimony?

    23    A.   Yes.

    24    Q.   Okay.   And you testified you have extensive experience, I

    25    think, with respect to Medicare --
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                                                                                  19


      1   A.   Yes.

      2   Q.   -- right?

      3        You've worked in this industry for 20-plus years?

      4   A.   Since 2007, essentially reviewing medical records, and

      5   2010, directly working for a Medicare contractor.

      6   Q.   And through that experience you've come to know quite a bit

      7   about the rules and regulations of Medicare; is that fair?

      8   A.   Yes.

      9   Q.   And there are literally thousands of rules, regulations,

    10    LCDs, NCDs, all these things you've talked about related to

    11    Medicare; is that right?

    12    A.   There are a lot, yes.

    13    Q.   And there are a whole bunch of advisory opinions out there

    14    about different aspects of Medicare?

    15    A.   There are advisory opinions out there, yes.

    16    Q.   And there's a lot of them, aren't there?

    17    A.   I'm not as familiar about -- with the advisory opinions.

    18    Those are more legal in nature.

    19    Q.   Well, you testified a little bit about legal, didn't you,

    20    yesterday?

    21    A.   Yes.

    22    Q.   You talked about the Anti-Kickback Statute, which is a law?

    23    A.   Yes.

    24    Q.   You went through a bunch of Code of Federal Regulations

    25    sections?
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                                                                                  20


      1   A.   Yes.

      2   Q.   Various sections of the United States Code?

      3   A.   Yes.

      4   Q.   So you have some familiarity with the law?

      5   A.   I do.

      6   Q.   But you're not a lawyer?

      7   A.   I am not.

      8   Q.   Got it.

      9        I want to ask you about the basic process.         You were

    10    talking about a lab, right?

    11    A.   Yes.

    12    Q.   I want to make sure I understand the process of a lab.

    13         Let's assume for my example here that we're talking about

    14    somebody who is a Medicare beneficiary.

    15    A.   Yes.

    16    Q.   And the process is, with respect to a lab, a doctor decides

    17    it's medically necessary to order a test; is that fair?

    18    A.   Yes.

    19    Q.   Okay.   And from there, the lab performs the test that the

    20    doctor ordered?

    21    A.   Yes.

    22    Q.   And from there, the lab would have the ability to bill

    23    Medicare, right?

    24    A.   Of course, they need to be submitting accurate and true

    25    claims that adhere to the Medicare regulations, yes.
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                                                                                  21


      1   Q.   But as a basic and general proposition, after the lab does

      2   the test, the lab can bill Medicare, correct?

      3   A.   Yes.

      4   Q.   And Medicare gets the bill?

      5   A.   Yes.

      6   Q.   And you said it's submitted electronically?

      7   A.   Yes.

      8   Q.   And it's a 1500 form?

      9   A.   For Part B, yes.

    10    Q.   For Part B.    We'll get to that in a minute.

    11         So they submit a bill electronically to Medicare, right?

    12    A.   Yes.

    13    Q.   Medicare -- one of these MACs you talked about, they make

    14    the decision about whether or not to pay the claim, right?

    15    A.   It's all done electronically.

    16    Q.   And electronically they decide are we going to pay the

    17    claim or not, right?

    18    A.   It's an electronic decision, but there's no human

    19    interaction in that.

    20    Q.   Fair enough.    But my point is, whether it's electronic or

    21    human action, somebody or something at Medicare decides are we

    22    going to pay this claim or not?

    23    A.   That's correct.

    24    Q.   And if the Medicare does not pay the claim, the beneficiary

    25    has a right to appeal that decision?
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                                                                                  22


      1   A.     Yes, if it's denied, they can appeal it.

      2   Q.     And if Medicare decides not to pay the claim, the lab would

      3   have the ability to appeal the decision, right?

      4   A.     That is correct.

      5   Q.     And if Medicare decided to pay the claim, you talked about

      6   a post-payment analysis that can go on, right?

      7   A.     Yes.

      8   Q.     And in those circumstances, if Medicare decides we

      9   shouldn't have paid this claim, Medicare can enact -- or go

    10    through what's called recoup; is that right?

    11    A.     They can do a postpayment review and perhaps recoup money,

    12    yes.

    13    Q.     And that means they can ask for their money back, right?

    14    A.     Yes.

    15    Q.     I just want to make sure I understood that process.

    16           With respect to the initial determination --

    17    A.     Yes.

    18    Q.     -- to order the tests in the first place, it is the

    19    doctor's job to determine if the test is medically necessary,

    20    right?

    21    A.     Yes.

    22    Q.     Okay.   And with respect to the test results, it is the

    23    doctor's job to use those test results, as you said, to treat

    24    the patient, right?

    25    A.     Yes.
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                                                                                  23


      1   Q.   It's not the lab's job to treat the patient?

      2   A.   No.

      3   Q.   Now, you talked a lot about coverage, LCDs, NCDs, what's

      4   covered, what's not covered.       You went through a bunch of

      5   sections of the law, right?

      6   A.   Yes.

      7   Q.   And you talked about what Medicare is, right?

      8   A.   Yes.

      9   Q.   In many ways, Medicare is like a giant insurance policy?

    10    A.   It is an insurance policy.

    11    Q.   It is an insurance policy.

    12         And so what you were talking about a lot yesterday is,

    13    like, what's covered by an insurance policy, right?

    14    A.   That's correct.

    15    Q.   Like a car insurance policy, mortgage insurance policy, my

    16    own private insurance policy, right?

    17    A.   Yes.

    18    Q.   And there's often disagreements between beneficiaries and

    19    those policies about what is and what isn't covered, right?

    20    A.   Yes.

    21    Q.   And there are different folks out there that at times will

    22    advocate for certain things to be covered that the insurance

    23    company says we don't think it should be covered, right?

    24    A.   Yes.

    25    Q.   And there are organizations that do that in the genetic
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                                                                                  24


      1   testing space, right?

      2   A.   Yes.

      3   Q.   There's, for example, the Affordable Care Act.          There were

      4   provisions in the Affordable Care Act that suggested that there

      5   should be more coverage on genetic testing, right?

      6   A.   They suggested it.

      7   Q.   And there's an organization called the USPTF [sic]?

      8   A.   Yes.

      9   Q.   And that organization also has advocated for additional

    10    coverage of genetic testing as well, right?

    11    A.   They have advocated for it, yes.

    12    Q.   And I think you testified during your direct that genetic

    13    testing is a rapidly developing technology.         Is that a fair

    14    statement?

    15    A.   Yes.

    16    Q.   That means that we're learning new things every day about

    17    the value of genetic testing.

    18    A.   Yes.

    19    Q.   It's a new technology, right?

    20    A.   Yes.

    21    Q.   It is.    And therefore, it presents challenges to Medicare

    22    and to the MACs.

    23    A.   That's correct.

    24    Q.   Okay.    Now, I want to ask you a little bit about labs for a

    25    second.     We're talking about LabSolutions, but as a general
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                                                                                  25


      1   matter, you don't need to be a doctor to own a lab, correct?

      2   A.   That is correct.

      3   Q.   You don't need to be a scientist to own a lab; is that

      4   right?

      5   A.   To own it, no.

      6   Q.   You don't need to be a college graduate to own a lab?

      7   A.   No.

      8   Q.   Do you know if Mr. Patel is a doctor?

      9   A.   I actually don't know anything about him.

    10    Q.   Did you know that he's not a doctor?

    11    A.   I didn't know.

    12    Q.   Did you know he's not a scientist?

    13    A.   I don't know him.

    14    Q.   Did you know that he's not a college graduate?

    15    A.   No.

    16    Q.   With respect to LabSolutions, did you know that there were

    17    a lot of employees at LabSolutions?

    18    A.   I don't know anything about them.

    19    Q.   Did you know there are over 150 employees at LabSolutions?

    20    A.   No, I did not.

    21    Q.   Did you know that there was a CEO?

    22    A.   I think the direct owner, did he mark himself as a CEO?

    23    Q.   I can't answer questions, ma'am.

    24    A.   I'm sorry.

    25    Q.   Did you know there was a CEO that was not Mr. Patel?
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                                                                                  26


      1   A.   No.

      2   Q.   Did you know that there was a CFO that was not Mr. Patel?

      3   A.   Yes.

      4   Q.   Did you know that there was a compliance officer that was

      5   not Mr. Patel?

      6   A.   No, I did not.

      7   Q.   Did you know that there was an individual in charge of

      8   sales and marketing who was also not Mr. Patel?

      9   A.   No.

    10    Q.   The government didn't give you any information about any

    11    aspect of the operations of LabSolutions?

    12    A.   No.

    13    Q.   Okay.   So you don't know anything about the employees.          You

    14    don't know anything about the CEO.        You don't know anything

    15    about the CFO.     You don't know anything about anything related

    16    to LabSolutions.

    17    A.   That is correct.

    18    Q.   Got it.    With respect to the process that we talked about

    19    to get certified for a second, you talked about the 855, right?

    20    A.   Yes.

    21    Q.   There are other processes that LabSolutions had to go to --

    22    go through in order to get certified, aren't there?

    23    A.   To become a Medicare provider?

    24    Q.   As a lab?

    25    A.   Yes.
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                                                                                  27


      1   Q.    There's something called a CLIA certification; is that

      2   right?

      3   A.    That's correct.

      4   Q.    What's a CLIA certification?

      5   A.    CLIA stands -- it's a certification that Medicare requires,

      6   and there's different levels of CLIA certification.          And it's

      7   where they've been reviewed as a lab on the processes that they

      8   do.   There's a whole regulation that they had to adhere to to

      9   go through that process.      And a CLIA certification is in

    10    regards to that.

    11    Q.    What does CLIA stand for?

    12    A.    I'm drawing a blank right now.

    13    Q.    Clinical Laboratory --

    14    A.    Improvement Act.

    15    Q.    There you go.    So LabSolutions got CLIA certified, didn't

    16    it?

    17    A.    Yes.

    18    Q.    And there's also a COLA certification, right?

    19    A.    I'm not aware of that.     I don't know that.

    20    Q.    You don't know a COLA certification?       What about a CAP

    21    accreditation.     What is that?    Don't know that either?

    22    A.    No.

    23    Q.    Do you know if LabSolutions was CAP accredited?

    24    A.    I don't know.

    25    Q.    Do you know if it had a COLA certification?
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                                                                                  28


      1   A.   I don't know.

      2   Q.   Okay.    I want to turn to the 855, if we could.

      3   A.   Sure.

      4   Q.   Okay.    And you went through a lot of documents during your

      5   direct.     I'm afraid I'm going to have to go through some of

      6   them with you.     I apologize for that.

      7        And just to make things clearer and easier for you, I wrote

      8   down some of the subjects I want to cover, and these are some

      9   of the subjects.     We'll come back to this, but we're going to

    10    talk about the 855, which do you see the word "credential"

    11    here?

    12    A.   Yes.

    13    Q.   Is that essentially what the 855 serves, getting

    14    credentialed?

    15    A.   It's allowing them to give Medicare information and then

    16    Medicare reviews that information and then either approves or

    17    does not approve of them as being a Medicare provider.

    18                MR. RAFFERTY:   I think I need to go to the -- so just

    19    help me --

    20                MS. DE BOER:    Mr. Rafferty, if you touch the screen, it

    21    will come back on.

    22                MR. RAFFERTY:   Thank you.   Can you bring up for me

    23    Government Exhibit 247.

    24    BY MR. RAFFERTY:

    25    Q.   Okay.    So this is -- this is a blank copy of the 855.
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                                                                                  29


      1        Do you see that?

      2   A.   Yes.

      3   Q.   And can we go to the last page of that document?          Does that

      4   say how many pages that document is?

      5   A.   48.

      6   Q.   So it's 48 pages in length, it's single -- single-spaced;

      7   is that right?

      8   A.   Yes.

      9   Q.   And it asks for a host of different kinds of information

    10    throughout.

    11    A.   Yes.

    12    Q.   There are references throughout this document, statutes,

    13    codes, regulations, all kinds of stuff, right?

    14    A.   Yes.

    15    Q.   And in fact, it links to various websites that somebody

    16    who's filling this thing out can go to and learn even more

    17    about the process by which you get credentialed; is that right?

    18    A.   That is correct.

    19    Q.   The process itself is not exactly like getting a library

    20    card, right?

    21    A.   It is not complicated.      It is very lengthy.

    22    Q.   It is very lengthy, but in fact there are companies out

    23    there that get paid to fill these out with folks, aren't there?

    24    A.   I actually don't know that.

    25    Q.   You don't know that there are companies out there that do
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                                                                                  30


      1   credentialing?

      2   A.     Well, there are companies out there that do credentialing,

      3   yes.

      4   Q.     And credentialing is part of this process, isn't it?

      5   A.     This is the Medicare application that you have to have to

      6   bill Medicare.

      7                 MR. RAFFERTY:   If we can go to page 29 of that

      8   document.

      9   BY MR. RAFFERTY:

    10    Q.     Do you see the Section 13 at the top of page 29?

    11    A.     Yes.

    12    Q.     There is a contact person.     Do you see that?

    13    A.     Yes.

    14    Q.     And that contact person does not necessarily have to be the

    15    lab owner or anybody associated with the lab, right?

    16    A.     That is correct.

    17    Q.     It can be a company that fills this thing out, right?

    18    A.     It can be whoever they designate as the contact person.

    19    Q.     Did you happen to notice throughout the different documents

    20    that you saw yesterday if there was somebody else who was a

    21    contact person?

    22    A.     There were several documents in there, and I don't recall

    23    right off the top of my head who the contact person was.

    24                  MR. RAFFERTY:   If I can go back to this for just a

    25    second.
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                                                                                  31


      1   BY MR. RAFFERTY:

      2   Q.   Ms. McMillan, I want to ask you a question.         Have you ever

      3   bought a house or an apartment or any sort of piece of property

      4   in your life?

      5   A.   Yes.

      6   Q.   And when you bought that house or piece of property, did

      7   you use a closing attorney?

      8   A.   I don't remember, quite frankly.       No, I don't remember one.

      9   Q.   Are you familiar with what closing attorneys do?

    10    A.   No.

    11    Q.   Have you ever prepared a document in your life where

    12    somebody put something like this in front of you that said sign

    13    here?    Did you ever see anything like that?

    14    A.   Yes.

    15    Q.   Yes.   So a lot of times we go to see a lawyer or somebody

    16    else.    They put a big stack of documents in front of us, and

    17    they're kind enough to tag the pages with things like this,

    18    right?

    19    A.   That is correct.

    20    Q.   And you're free to read all 150, 200 pages if you're at a

    21    closing if you want to, right?

    22    A.   That is correct.

    23    Q.   But your attorney is kind enough to mark the pages with

    24    stuff like this so you know where to sign.

    25    A.   That is correct.
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                                                                                  32


      1   Q.   And sometimes when you go to those pages, they may even put

      2   an asterisk or a star next to your name so you know exactly

      3   where to sign on the particular page.

      4        Do you ever see that?

      5   A.   Yes.

      6   Q.   Okay.    If we can go to 209-A --

      7               MR. RAFFERTY:   I'm sorry.   Back again.    If you can

      8   bring up 209-A, second-to-last page.        I don't think that's the

      9   second-to-last page.

    10    BY MR. RAFFERTY:

    11    Q.   Okay.    This is part of 209-A.     Do you see that?

    12    A.   Yes.

    13    Q.   And 209-A is one of the first enrollment documents that you

    14    went over during your direct yesterday, right?

    15    A.   Yes.

    16    Q.   It's another one of these 50-page documents, right?

    17    A.   Yes.

    18    Q.   And do you see in the right-hand corner the return address

    19    of where this document came from?

    20    A.   Laboratory Billing Services in Maine.

    21    Q.   Do you know if Laboratory Billing Services is a

    22    credentialing company?

    23    A.   I do not know that personally, no.

    24    Q.   Okay.    The lab we're talking about here, LabSolutions,

    25    that's not located in Saco, Maine, is it?
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                                                                                  33


      1   A.   No.

      2   Q.   That's in Atlanta, Georgia.

      3   A.   Yes.

      4   Q.   Okay.

      5               MR. RAFFERTY:   If we can go to, from there, page 29 of

      6   this same exhibit.     And if we could highlight the top half.

      7   BY MR. RAFFERTY:

      8   Q.   And this is that contact person information we talked about

      9   before, right?

    10    A.   Yes.

    11    Q.   And you see the person on there whose name is Suzanne

    12    Holliday.

    13         Do you see that?

    14    A.   Yes, I do.

    15    Q.   And she's from where?

    16    A.   She is from -- her email address...

    17    Q.   Well, not her email address.       What city is she in?

    18    A.   In Saco, Maine.

    19    Q.   Saco, Maine.    So the same address that's on the envelope,

    20    right?

    21    A.   Yes.

    22    Q.   And her email address is there as the contact person as

    23    well, right?

    24    A.   That is correct.

    25    Q.   And her phone number is there, presumably?
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                                                                                  34


      1   A.   That is correct.

      2   Q.   And her fax number is there, correct?

      3   A.   That is correct.

      4   Q.   And so if information was needed about this process, that's

      5   who you're supposed to call, correct?

      6   A.   That is correct.

      7   Q.   And did you notice how this is typewritten?

      8   A.   Yes.

      9   Q.   Okay.

    10                MR. RAFFERTY:   If we can go to page 20 of this

    11    document.     I think it was 20.     No.   It might be 26.   My

    12    handwriting is terrible.

    13                There we go.    Okay.   That's the page I'm looking at.

    14    If we can highlight the handwriting on that document.

    15                If I could approach the screen, Your Honor.

    16                THE COURT:   You may.

    17                MR. RAFFERTY:   Thank you.

    18    BY MR. RAFFERTY:

    19    Q.   Looking at this document, you see that the Medicare

    20    identification number, slash N/A -- do you see that?

    21    A.   Yes.

    22    Q.   That's pretty neat, right, neat handwriting?

    23    A.   Yes.

    24    Q.   And so is the NPI.      That's pretty neat, right?

    25    A.   Yes.
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                                                                                  35


      1   Q.   If you look right above that, place of birth.

      2        Do you see that?

      3   A.   Yes.

      4   Q.   That's not quite as neat as the N/A, is it?

      5   A.   That's correct.

      6   Q.   It says something with a G, it looks to me, India, right?

      7   A.   Yes.

      8   Q.   So it looks like somebody put in their date of birth.

      9        Do you know if that's Mr. Patel's date of birth?

    10    A.   I don't know.

    11    Q.   Do you know if that's his Social Security number?

    12    A.   I don't know.

    13    Q.   Do you know if that's where he was born?

    14    A.   I don't know.

    15    Q.   Do you know if that's the country he was born in?

    16    A.   I don't know.

    17    Q.   But you see right above it, his typewritten name,

    18    Minal Patel, owner, right?

    19    A.   Yes.

    20    Q.   Would it be fair to conclude that that's probably where he

    21    was born?

    22    A.   Yes.

    23    Q.   And that's probably his date of birth?

    24    A.   Yes.

    25    Q.   And that's probably his Social Security number?
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                                                                                  36


      1   A.   Yes.

      2   Q.   And it also appears that whoever wrote that has different

      3   handwriting than who wrote the N/A; is that correct?

      4   A.   That is correct.

      5               MR. RAFFERTY:   So if we can go to page 33.      If we can

      6   highlight the whole signature there.

      7   BY MR. RAFFERTY:

      8   Q.   I think this is the signature that you've been talking

      9   about, that certification from yesterday; is that right?

    10    A.   Yes.

    11    Q.   And do you see how the name above that, typewritten, is

    12    Minal Patel?

    13    A.   Yes.

    14    Q.   The position is owner; that's typewritten?

    15    A.   Yes.

    16    Q.   The telephone number appears to be typewritten?

    17    A.   Yes.

    18    Q.   And once again, if we look at the date signed, the date

    19    signed does not appear to be the same handwriting as the

    20    handwriting that we saw for the city in India where Mr. Patel

    21    was born, right?

    22    A.   That is correct.

    23    Q.   No expert, but that handwriting appears to be the same as

    24    the N/A, doesn't it?

    25    A.   Yes.
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                                                                                  37


      1   Q.   And the signature is, you said, that of Mr. Patel; is that

      2   right?

      3   A.   Yes.

      4   Q.   And one thing that you weren't asked by the government

      5   about, but I want to ask you about --

      6               MR. RAFFERTY:   If I can approach again, Your Honor.

      7               THE COURT:   You may.

      8   BY MR. RAFFERTY:

      9   Q.   -- the asterisk right here.       Do you see that?

    10    A.   Yes.

    11    Q.   That's sort of like what we talked about when you close on

    12    a house, right?

    13    A.   Yes.

    14    Q.   Somebody tags the place where you're supposed to sign?

    15    A.   Yes.

    16                MR. RAFFERTY:   If we can go to 209-B.

    17    BY MR. RAFFERTY:

    18    Q.   And by the way, 209-A, the date of submission was around

    19    January of 2014; is that right?

    20    A.   I don't recall it right off the top of my head, but I will

    21    --

    22                MR. RAFFERTY:   Can we go back to that document?      I

    23    think it was page 33.

    24                There we go.

    25    BY MR. RAFFERTY:
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                                                                                  38


      1   Q.   Do you see the date?

      2   A.   December 11, 2013.

      3   Q.   December of '13.

      4        If we can go to 209-B.

      5        Do you see that?       And this is a letter from who?

      6   A.   This is from CMS, Cahaba.

      7   Q.   And it's to who?

      8   A.   It's to LabSolutions, attention Susan [sic] Holliday.

      9   Q.   And do you see where LabSolutions is located here?

    10    A.   In Saco, Maine.

    11    Q.   And you said before, LabSolutions is not in Saco, Maine,

    12    right?

    13    A.   That's correct.

    14    Q.   And so CMS is sending the letter acknowledging receipt of

    15    the application to Ms. Holliday; is that right?

    16    A.   Who is the contact person.

    17    Q.   And not to Mr. Patel?

    18    A.   That is correct.

    19                MR. RAFFERTY:    If we could go to 209-C.

    20    BY MR. RAFFERTY:

    21    Q.   Do you see the -- this is an email.        Do you see that?

    22    A.   Yes.

    23    Q.   And do you see -- it's from who?

    24    A.   From D.D. Bice (phonetic).

    25    Q.   Do you know D.D. Bice?
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                                                                                  39


      1   A.    No.

      2   Q.    Do you know Cahaba?

      3   A.    I've heard about Cahaba, yes.

      4   Q.    That's one of the MACs you talked about yesterday, isn't

      5   it?

      6   A.    Yes, it is.

      7   Q.    They're in Birmingham, Alabama, right?

      8   A.    Yes.

      9   Q.    So it appears that Ms. Buys is sending an email about that

    10    same CMS 855, right?

    11    A.    Yes.

    12    Q.    And that email isn't also being -- it isn't being sent to

    13    Mr. Patel, is it?

    14    A.    No.

    15    Q.    It is being sent to Ms. Holliday, right?

    16    A.    Yes.

    17    Q.    Okay.   If we can go to 209-D.     And you described this

    18    application process.

    19          It's an important part of the process to become a Medicare

    20    provider, right?

    21    A.    Yes.

    22    Q.    And this is a letter about that same process, correct?

    23    A.    Yes.

    24    Q.    And this letter here is also addressed to who?

    25    A.    Ms. Suzanne Holliday.
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                                                                                  40


      1   Q.   And it's about LabSolutions again, right?

      2   A.   Yes.

      3   Q.   This is in March of 2014, right?

      4   A.   Yes.

      5   Q.   And in this letter, the application is being rejected.

      6   A.   Yes, it is.

      7   Q.   And so this very important application, notice about it

      8   being rejected, is not being sent to Mr. Patel, correct?

      9   A.   It is being sent to the contact person.

    10                MR. RAFFERTY:   If we can go to 209-E.     If we can go to

    11    the very top.

    12    BY MR. RAFFERTY:

    13    Q.   And this is an email from Suzanne Holliday, correct?

    14    A.   Yes.

    15    Q.   To somebody named Clifford Hurley.

    16         Do you know who that is?

    17    A.   No, I don't.

    18                MR. RAFFERTY:   Can we go down this email?     See if we

    19    can figure out who that is.

    20                All right.   If we could highlight the third email.       No,

    21    further down.     I'm sorry, from Suzanne Holliday -- okay.

    22                Can we scroll over to the right?     Oh, we can see it on

    23    that screen.     Okay.

    24    BY MR. RAFFERTY:

    25    Q.   Do you see Ms. Holliday's title here?
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                                                                                  41


      1   A.   Yes, she is the --

      2   Q.   LBS Credentialing.     Do you see that?

      3   A.   Yes.

      4   Q.   So she works in this area, right?

      5   A.   Yes.

      6   Q.   Okay.    And the email, this 209-E, if we can bring it back

      7   for a second, this is also not sent to Mr. Patel; is that

      8   right?

      9   A.   That is correct.

    10    Q.   It's also not from Mr. Patel, is it?

    11    A.   No.

    12    Q.   Okay.

    13                MR. RAFFERTY:   If we could go to 209-G.

    14    BY MR. RAFFERTY:

    15    Q.   This is another letter from CMS to who?

    16    A.   This is to Suzanne Holliday.

    17    Q.   And in this letter, she's being informed by CMS that the

    18    application has been approved, right?

    19    A.   That is correct.

    20    Q.   And this very important application -- approval of this

    21    application was not sent to Mr. Patel?

    22    A.   That is correct.

    23                MR. RAFFERTY:   If we can go to -- if I can go back for

    24    a second to 209-A at page 28.       We're going to get to this in a

    25    moment, but can we bring out the section that says billing
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                                                                                  42


      1   agency information?

      2                 Do you see that?   Can we bring out the whole section?

      3   I'm sorry.       There we go.

      4   BY MR. RAFFERTY:

      5   Q.     You said before, during your testimony, that Ms. Holliday

      6   worked for LBS Credentialing, right?

      7   A.     Yes.

      8   Q.     You didn't know what LBS stood for when you saw that, did

      9   you?

    10    A.     No.

    11    Q.     Now, looking at this document, you'll see the billing

    12    agency is called Laboratory Billing Services.

    13           Do you see that?

    14    A.     Yes.

    15    Q.     Doing business as what?

    16    A.     LBS.

    17    Q.     So there are agencies that do credentialing and then do

    18    billing, right?

    19    A.     Yes.

    20    Q.     And the biller here for LabSolutions is LBS, right?

    21    A.     Yes.

    22    Q.     And they're in Saco, Maine?

    23    A.     Yes.

    24    Q.     Okay.

    25                  MR. RAFFERTY:   If we can go to 209-H, please.
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                                                                                  43


      1   BY MR. RAFFERTY:

      2   Q.   And 209-H, real quickly, is another letter.         This is about

      3   payment cycles.

      4        Do you see that?

      5   A.   Yes.

      6   Q.   And that means where you're going to get paid.          Is that

      7   what that means?

      8   A.   The Medicare payment cycle, yes.

      9   Q.   That's where Medicare is going to send the money, right?

    10    A.   Yes.

    11    Q.   This document is also not sent to Mr. Patel, is it?

    12    A.   No, it is sent to the contact person, Suzanne Holliday.

    13    Q.   Suzanne Holliday.

    14                MR. RAFFERTY:   If we can split screen now 209-A, 210-A,

    15    and I'd like to see 209-A, page 33, with 210-A, page 34.

    16    BY MR. RAFFERTY:

    17    Q.   So 210-A is another one of these applications that was

    18    submitted that you talked about yesterday, correct?

    19    A.   Yes.

    20    Q.   I just want to see if I could find my exhibit list.

    21         210-A is described as the amended LabSolutions Medicare

    22    enrollment form; is that right?

    23    A.   I don't have that in front of me, but --

    24    Q.   Okay.    The one on the right there, on the screen in front

    25    of you, do you see the date of 6 -- I think it says 6/27 of
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                                                                                  44


      1   '14?

      2   A.     Yes.

      3   Q.     Do you recall testifying yesterday about a certification

      4   that was signed in 210-A?

      5   A.     Yes.

      6   Q.     Okay.    This certification is very similar to the last

      7   certification that we talked about in 209-A, right?

      8   A.     Yes.

      9                 MR. RAFFERTY:   If I could approach the screen again,

    10    Your Honor.

    11                  THE COURT:   You may.

    12                  MR. RAFFERTY:   Thank you.

    13    BY MR. RAFFERTY:

    14    Q.     The one on the left here, we talked about the asterisk next

    15    to Mr. Patel's name.

    16           Do you remember that?

    17    A.     Yes.

    18    Q.     If you look at the one on the right, it's again Minal

    19    Patel.

    20           Do you see that?

    21    A.     Yes.

    22    Q.     And again there's an asterisk next to his name?

    23    A.     Yes.

    24    Q.     Do you think Mr. Patel put the asterisk there?

    25    A.     No.
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                                                                                  45


      1   Q.   You think somebody pointed him to sign it right there?

      2   A.   Yes.

      3   Q.   Okay.

      4               MR. RAFFERTY:   If we can go to 210-B, please.

      5   BY MR. RAFFERTY:

      6   Q.   Similar document we've seen before, again a letter dated

      7   July 17th of 2014.

      8        Once again, not sent to Mr. Patel, correct?

      9   A.   Yes.

    10    Q.   Sent to Ms. Holliday?

    11    A.   Yes.

    12                MR. RAFFERTY:   If we can go to 212-A.     And if you can

    13    go to page 10.

    14    BY MR. RAFFERTY:

    15    Q.   Now, 212-A is yet another one of these certification forms

    16    that you've testified about already, right?

    17    A.   Yes.

    18    Q.   And this one is described, just so I got it -- this is the

    19    second amended LabSolutions Medicare enrollment form dated

    20    10/22 of '14, right?

    21    A.   I don't see the date on here, but...

    22    Q.   All right.    Well, we can go to the --

    23    A.   Oh, 10/28/14 is on top, I see it.

    24    Q.   Do you see that?

    25    A.   Okay, yes.
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                                                                                  46


      1   Q.   Yeah.    So this is a second amended application.

      2        And if we look at the correspondence address, do you see

      3   that?

      4   A.   Yes.

      5   Q.   This is an Atlanta, Georgia address, but do you see the

      6   email address here?

      7   A.   Is credentialing at -- I can't read the writing, but it's a

      8   credentialing company.

      9   Q.   That's the email address -- that doesn't say Minal Patel,

    10    does it?

    11    A.   No.

    12    Q.   Okay.

    13                MR. RAFFERTY:   If we could go to page 16 of this

    14    document.

    15                If we could pull out the section entitled Medical --

    16    the billing agency information.

    17    BY MR. RAFFERTY:

    18    Q.   And you see, once again, there's a biller here.

    19         Do you see that?

    20    A.   That's correct.

    21    Q.   This biller is located in Athens, Georgia, right?

    22    A.   Yes.

    23    Q.   So it appears this is the billing agency that's going to do

    24    the billing for LabSolutions now.

    25    A.   Yes.
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                                                                                  47


      1   Q.     And they're also the same company that's doing the

      2   credentialing for LabSolutions, right?

      3   A.     Yes.

      4   Q.     You look at the email address, it says credentialing, and I

      5   think we both were having trouble reading the latter part of

      6   that?

      7   A.     Mmm-hmm.

      8   Q.     Is that right?

      9   A.     Yes.

    10    Q.     Okay.

    11                  MR. RAFFERTY:   If we can go to page 20 of this

    12    document.

    13    BY MR. RAFFERTY:

    14    Q.     Now, this is a new company.     It's different than the last

    15    one.

    16           Suzanne Holliday did the last couple I've shown you, right?

    17    A.     Yes.

    18                  MR. RAFFERTY:   If I could approach the screen again,

    19    Your Honor.

    20                  THE COURT:   You may.

    21    BY MR. RAFFERTY:

    22    Q.     This is the same certification statement we've seen before,

    23    right?

    24    A.     Yes.

    25    Q.     This particular company also appears to have typewritten
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                                                                                  48


      1   Mr. Patel's name; is that right?

      2   A.   Yes.

      3   Q.   They put his phone number there?

      4   A.   Yes.

      5   Q.   They put his title, right?

      6   A.   Yes.

      7   Q.   This time instead of using an asterisk, they used an X.

      8   A.   That's correct.

      9   Q.   Appears to be the same practice, just signed next to the X.

    10    A.   Yes.

    11    Q.   You don't think Mr. Patel put the X there, do you?

    12    A.   No.

    13    Q.   Okay.

    14                MR. RAFFERTY:   If we go to 212-B, please.

    15    BY MR. RAFFERTY:

    16    Q.   This is another one of these letters, again, about the

    17    application.     This one is actually being sent to that same

    18    address in Saco, Maine, right?

    19    A.   Yes.

    20    Q.   And not to Mr. Patel.

    21    A.   That's correct.

    22                MR. RAFFERTY:   If we can go to 213-A, page 17, please.

    23    BY MR. RAFFERTY:

    24    Q.   And this is entitled the third -- the Third Amended

    25    LabSolutions Medicare Enrollment form, dated 6/5 of 2015.
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                                                                                  49


      1        Do you see that?

      2   A.   Yes.

      3   Q.   And if you look at the top left-hand corner you can see

      4   that date?

      5   A.   Yes.

      6   Q.   6/5 of 2015.

      7        And if I once again approach the screen, this is that same

      8   certification statement you saw before; is that right?

      9   A.   Yes.

    10    Q.   And there is a date here, 5/26/2015?

    11    A.   Yes.

    12    Q.   This apparently has something to do with a change, right?

    13    A.   Yes.

    14    Q.   And you see his name in this case is handwritten, right?

    15    A.   Yes.

    16    Q.   Very neat handwriting.      You can read that, right?

    17    A.   Yes.

    18    Q.   It sure is.    And his phone number is handwritten, right?

    19    A.   Yes.

    20    Q.   This time they call him the CEO, right?

    21    A.   Yes.

    22    Q.   And there's once again an X next to his signature, right?

    23    A.   Yes.

    24    Q.   Same question.     Do you think Mr. Patel put the X there?

    25    A.   No.
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                                                                                  50


      1   Q.   You think the company told him to sign right here?

      2   A.   Yes.

      3   Q.   Okay.    And that's consistent with your experience we talked

      4   about, doing closings on houses or filling out documents;

      5   lawyers, others tell you, just sign right here?

      6   A.   Yes, but they're signing that they -- clearly they can't --

      7   Q.   That's not my question, ma'am.       My question is --

      8               MS. DE BOER:    Your Honor, can the witness be allowed to

      9   finish her answer?

    10                THE COURT:   Go ahead and state the question again,

    11    Mr. Rafferty.

    12    BY MR. RAFFERTY:

    13    Q.   The question is yes or no, this is consistent with the

    14    experience you talked about where you go into a lawyer's office

    15    or somebody else, they put an X next to a place, and they tell

    16    you to sign it, right?

    17    A.   Yes.

    18    Q.   Okay.

    19                MR. RAFFERTY:   If we can go to 213-D, page 2.

    20    BY MR. RAFFERTY:

    21    Q.   And I'm not going to approach the screen.         I'm just going

    22    to ask you to look at his signatures there.

    23         You're familiar with this kind of document, aren't you?

    24    A.   Yes.

    25    Q.   And at the signature line you see Mr. Patel's name is once
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                                                                                  51


      1   again handwritten?

      2   A.   Yes.

      3   Q.   And you see the date there, 10/22 of '15?

      4   A.   Yes.

      5   Q.   And once again you see the X next to where his name is

      6   signed?

      7   A.   Yes.

      8               MR. RAFFERTY:   If we can go to 214-A, page 22.

      9   BY MR. RAFFERTY:

    10    Q.   And this is a different person on this document, right?           It

    11    says Sonal?

    12    A.   Yes.

    13    Q.   Sonal Jariwala.

    14    A.   Yes.

    15    Q.   She's listed here as the CFO, right?

    16    A.   Yes.

    17    Q.   And same practice here.      There's an X next to her name.

    18         Do you see that?

    19    A.   Yes.

    20    Q.   Do you agree with me, again, that somebody put the X there

    21    and said sign right here?

    22    A.   Yes.

    23    Q.   Okay.

    24                MR. RAFFERTY:   If we can go to 214-B.

    25    BY MR. RAFFERTY:
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                                                                                  52


      1   Q.   This is another one of these letters, right?

      2   A.   Yes.

      3   Q.   And this one is sent to LabSolutions, this time in Athens,

      4   Georgia.

      5        Do you see that?

      6   A.   Yes.

      7   Q.   Different person, no longer that lady, Suzanne Holliday.

      8        This one is to Kelly Minish, I think?

      9   A.   I agree.

    10    Q.   Yeah.    And that's not Minal Patel, right?

    11    A.   That's correct.

    12    Q.   Okay.

    13                MR. RAFFERTY:   214-C, please.

    14    BY MR. RAFFERTY:

    15    Q.   It's another one of these letters that we talked about,

    16    correct?

    17    A.   Yes.

    18    Q.   And this was a letter sent to, again, that Athens, Georgia,

    19    address, Kelly Minish, correct?

    20    A.   Yes.

    21                MR. RAFFERTY:   If we can go to 214-D.

    22    BY MR. RAFFERTY:

    23    Q.   And this one here is another letter from CMS to a

    24    LabSolutions address in Athens, Georgia, right?

    25    A.   Yes.
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                                                                                  53


      1   Q.   And we've already covered, I think, that LabSolutions is

      2   not in Athens, Georgia, is it?

      3   A.   No.

      4   Q.   It's sent to Kelly Minish, right?

      5   A.   Yes.

      6   Q.   And not to Mr. Patel.

      7   A.   That's correct.

      8   Q.   And this is the rejection of the Medicare enrollment form,

      9   correct?

    10    A.   Yes.

    11    Q.   Okay.

    12                MR. RAFFERTY:   If we can go to page 215 -- I mean,

    13    Exhibit 215, page 22.

    14    BY MR. RAFFERTY:

    15    Q.   This is another one of these certification statements,

    16    right?

    17    A.   Yes.

    18    Q.   I'm not going to try and pronounce that first name there,

    19    but the last name seems to be Jariwala.

    20         Do you see that?

    21    A.   I agree.

    22    Q.   And this is the CFO.      Do you see that?

    23    A.   Yes.

    24    Q.   Same issue we've talked about many times, there's an X next

    25    to the signature.
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                                                                                  54


      1        Do you see that?

      2   A.   Yes.

      3   Q.   And the X next to the date, do you see that?

      4   A.   Yes.

      5   Q.   Do you think that whoever -- Jariwala put the "Xs" on that

      6   document?

      7   A.   Someone put the "Xs" on the document.        I don't know who.

      8   Q.   Do you think it was the person who signed it?

      9   A.   No.

    10    Q.   Okay.

    11                MR. RAFFERTY:    If we can go to 213 -- did I put up

    12    213-B, D.J.?     No?   No.   Can you put up 213-B?

    13                And if we can go to the second page.

    14                And actually, go back to the first page for a minute.

    15    BY MR. RAFFERTY:

    16    Q.   This is the electronic funds transfer authorization

    17    agreement you talked about yesterday, right?

    18    A.   Yes.

    19    Q.   And if we can go to the second page, this is how you get

    20    paid?

    21    A.   Yes, where your money goes.

    22    Q.   If you look to the authorization signature, there's an X

    23    next to that signature too, right?

    24    A.   Yes.

    25    Q.   And it's, again, for Mr. Patel?
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                                                                                  55


      1   A.   Yes.

      2   Q.   Okay.   So you'd agree with me there was a whole lot of

      3   correspondence from CMS about these applications that all went

      4   to people other than Mr. Patel?

      5   A.   Yes.

      6   Q.   Okay.   We have this list so we can kind of keep track.

      7        So we covered credentialing, right?

      8   A.   Yes.

      9   Q.   And the fact that there were experts who helped with these

    10    applications, right?

    11    A.   Yes.

    12    Q.   Okay.   I want to talk to you about genetics.        I mean,

    13    obviously a lot of what you talked about yesterday has to do

    14    with genetics; is that right?

    15    A.   Yes.

    16    Q.   Now, genetics is a new technology, right?

    17    A.   Yes.

    18    Q.   You talked about panels, right?

    19    A.   Panels.

    20    Q.   Panels are different ways in which genes get tested?

    21    A.   Panels is a grouping of tests that are run together, and

    22    they either have a similar sample or similar clinical situation

    23    which you apply them to.

    24    Q.   And the folks that develop these panels and do all this

    25    testing, they're typically Ph.D.'s?
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                                                                                  56


      1   A.   I don't know.

      2   Q.   They're scientists, for sure, right?

      3   A.   I don't know.

      4   Q.   But they'd have to be pretty sharp, you'd think, to be able

      5   to develop the panels, right?

      6   A.   They're developed by multiple people.        So there's a couple

      7   of different types of panels.       The panels that are developed by

      8   CPT are developed by those physicians that are involved in that

      9   CPT editing panel.

    10    Q.   Okay.

    11    A.   And just because you bill a group of tests together, if a

    12    lab calls it a panel, that would be different than a CPT panel.

    13    Q.   Is a panel a bunch of different kind of genes?

    14    A.   It can be several different tests.        It doesn't necessarily

    15    need to be genes.

    16    Q.   Do you know anything about the development of the panels

    17    that were being done at LabSolutions?

    18    A.   The requisitions I saw listed several different tests that

    19    they were asking to be done.

    20    Q.   Did the government tell you anything about Dr. Bernadette

    21    Wildemore?

    22    A.   I don't know that name.

    23    Q.   Did you know her to be a Ph.D.?

    24    A.   I don't know that name.

    25    Q.   Did you know her to be the person in charge of the lab
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      1   there at LabSolutions, the LabSolutions person who helped

      2   develop these tests?

      3   A.   I don't know anything about that.

      4   Q.   Did you know a person by the name of -- and forgive me if I

      5   get this wrong -- Madhuri Hegde?

      6   A.   I've never heard of that name.

      7   Q.   Okay.   Do you know if Madhuri Hegde was employed by

      8   LabSolutions?

      9   A.   I don't know of him.       I've never heard of --

    10    Q.   Do you know if she's a world-renowned --

    11               MS. GURSKIS:   Objection, Your Honor.      She just said she

    12    has not heard of this person.

    13               THE COURT:   Yeah.    Let's move on.   That's going to be

    14    sustained.

    15               Go ahead.    Your next question.

    16    BY MR. RAFFERTY:

    17    Q.   Do you know of a company named PerkinElmer?

    18    A.   No, I don't know that.

    19    Q.   Never heard of that company either?

    20    A.   No.

    21    Q.   And you don't know if Madhuri had a contract --

    22               MS. GURSKIS:   Objection, again, Your Honor.

    23               THE COURT:   Let's move on.    She doesn't know that

    24    entity.

    25    BY MR. RAFFERTY:
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      1   Q.   Okay.   So you don't know anything about any experts that

      2   might have been retained by LabSolutions to develop the genetic

      3   panels that it did?

      4   A.   No, I don't know anything about that.

      5   Q.   But you don't disagree with me that experts are typically

      6   involved in those panels?

      7   A.   I don't know in regards to this case who was involved in

      8   that.   I am a medical reviewer and look at documentation.

      9   Q.   Forget about this case for a minute, though.

    10         Would you agree with me that there are experts out there

    11    that develop panels in genetics?

    12    A.   There are people out there that build panels, yes.

    13    Q.   The next subject I want to talk to you about is legal.

    14         You talked about -- as I said before, you talked a lot

    15    about the law, right?

    16    A.   Yes.

    17    Q.   And you went through a whole bunch of statutes and sections

    18    and things of that nature that govern healthcare, correct?

    19    A.   Yes.

    20    Q.   And as you said, you are -- you're not a lawyer, right?

    21    A.   No, I'm not.

    22    Q.   There are lawyers, though, that specialize in healthcare,

    23    correct?

    24    A.   Yes.

    25    Q.   Lawyers that are out there that specialize in compliance.
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      1   A.   Yes.

      2   Q.   Lawyers that are out there that specialize in the

      3   Stark Act?

      4   A.   Yes.

      5   Q.   There are lawyers out there that, in particular, specialize

      6   in the Anti-Kickback Statute, correct?

      7   A.   Yes.

      8   Q.   Because these statutes are all very complicated, right?

      9   A.   I wouldn't say they're all very complicated.         No, I

    10    wouldn't say that.

    11    Q.   Well, would you agree with me that the Anti-Kickback

    12    Statute is pretty complicated?

    13    A.   No bribes.    No bribes.

    14    Q.   I understand that's your position, but you agree with me

    15    that there are lawyers that specialize in the Anti-Kickback

    16    Statute?

    17    A.   Yes, I would agree with that.

    18    Q.   That read guidance about the Anti-Kickback Statute all day

    19    long?

    20    A.   Yes.

    21    Q.   And that's all they do?

    22    A.   That is correct.

    23    Q.   And these folks have gone to law school, right?

    24    A.   Yes.

    25    Q.   And they're some Harvard-trained lawyers who do nothing but
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      1   study the Anti-Kickback Statute.

      2        Do you agree with me on that?

      3   A.   I would surmise that, yes.

      4   Q.   Okay.    There are such things as safe harbors with respect

      5   to the Anti-Kickback Statute?

      6   A.   Yes.

      7               MS. GURSKIS:   Objection.

      8               THE COURT:   Overruled.

      9               Go ahead and finish your question.

    10    BY MR. RAFFERTY:

    11    Q.   And there are all sorts of aspects of the Anti-Kickback

    12    Statute other than what you just said; is that fair?

    13    A.   Yes.

    14    Q.   With respect to LabSolutions, did the government tell you

    15    about an individual by the name of Tobin Watt?

    16    A.   No.

    17    Q.   Did they tell you about a law firm called Fox Rothschild?

    18    A.   No.

    19    Q.   Did they tell you about a lawyer named Steve Petersen?

    20    A.   No.

    21    Q.   Did they tell you about a law firm named Baker Donelson?

    22    A.   No.

    23    Q.   Did they tell you about a lawyer named Craig Holden?

    24    A.   No.

    25    Q.   Did they tell you about any lawyers that provided advice to
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                                                                                  61


      1   Mr. Patel and LabSolutions about compliance?

      2   A.   No.

      3   Q.   About the Anti-Kickback Statute?

      4   A.   No.

      5   Q.   About the Stark Act?

      6   A.   No.

      7   Q.   About any aspect of the legality of the operations of

      8   LabSolutions?

      9   A.   No.

    10    Q.   Did they tell you that LabSolutions and Minal Patel spent

    11    $350,000 on lawyers during the time period at issue in this

    12    case?

    13               MS. GURSKIS:   Objection.

    14               THE COURT:   Overruled.

    15               You may answer.

    16               THE WITNESS:   No.

    17    BY MR. RAFFERTY:

    18    Q.   They didn't tell you about any of that?

    19    A.   No.

    20    Q.   Did they tell you about the 30,000 emails between

    21    Fox Rothschild and LabSolutions about compliance?

    22    A.   No.

    23    Q.   They didn't show you any of those?

    24    A.   No.

    25    Q.   Okay.   You talked a little bit about -- in addition to the
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      1   Anti-Kickback Statute, you talked about telemedicine or

      2   telehealth?

      3   A.   Telehealth, yes.

      4   Q.   And you went through a bunch of different statutes and

      5   talked about what applies and when you can use telemedicine,

      6   correct?

      7   A.   That's correct.

      8   Q.   And you said that once the COVID -- COVID hit, some of

      9   those rules and regulations were relaxed --

    10    A.   Yes.

    11    Q.   -- in order to allow folks to see their doctors and be

    12    treated, right?

    13    A.   Yes.

    14    Q.   And some of those relaxed rules allowed for folks to just

    15    talk on the phone and not have the video?

    16    A.   Yes.

    17    Q.   So there were different things that were done in order to

    18    allow people to continue to receive their care?

    19    A.   Yes --

    20    Q.   And --

    21    A.   -- during the public health --

    22    Q.   And those rules continue to be relaxed, aren't they?

    23    A.   Currently, right now.

    24    Q.   Currently, they are, right?

    25    A.   Yes.
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                                                                                  63


      1   Q.     You testified about the audiovisual component, among other

      2   things, right?

      3   A.     Yes.

      4   Q.     There needs to be both an audio and a visual component of

      5   this in order for it to be covered?

      6   A.     At that time, yes.

      7   Q.     If one part of that for some reason doesn't happen, then

      8   the particular encounter between the doctor and patient is not

      9   covered, correct?

    10    A.     In addition to the other things that they would have had to

    11    be doing, yes.

    12    Q.     Let's assume all the other things are in place, but if

    13    there's only a phone call during this time frame, your position

    14    is that the interaction between the doctor and the patient is

    15    not covered?

    16    A.     It would not qualify for payment as telehealth.

    17    Q.     Okay.   As telehealth, that's right.     Okay.

    18           I want to ask you an example:     So suppose I'm really sick

    19    during this time frame in this case.        I'm feeling really sick

    20    and I'm at home, and I schedule a telehealth visit and I meet

    21    all the other requirements for telehealth.

    22           Can we assume that?

    23    A.     And you're at home?

    24    Q.     I'm at home or somewhere else, whatever the requirements

    25    are.    I'm somewhere and I just feel lousy, and I schedule a
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      1   telehealth visit that qualifies for all other reasons under

      2   Medicare.

      3          Can you accept that?

      4   A.     So I can only accept that the qualification -- you would

      5   have to meet all of the qualifications for payment.          So --

      6   Q.     Let's assume I do meet all those qualifications.

      7   A.     And you're not at home?

      8   Q.     And I'm not at home.

      9   A.     Okay.

    10    Q.     And I'm not feeling well and I schedule this visit, and I'm

    11    just not up for the video part of this.        I'm just laying in

    12    bed.    I just get on the phone, and I say, Doc, I feel really

    13    lousy.    I feel really sick.     I got whatever the symptoms are.

    14    Can you help me?

    15           So the doctor talks to me for a while, hears all about what

    16    my problems are, and at the end of the day says here's what I

    17    want you to do.       I want you to go to this lab, and I want you

    18    to get this test, blood test, urine test, whatever it is.

    19           Do you get all that?

    20    A.     Yes.

    21    Q.     Okay.    So the lab runs whatever the test is and gets a

    22    result.       Okay?

    23           Under those facts, because I did not have the video

    24    component with my doctor, the doctor can't bill for that

    25    telemedicine visit, right?
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                                                                                  65


      1   A.   He can't get paid.

      2   Q.   He can't get paid.     But the laboratory that runs the test

      3   that the doctor ordered, that laboratory can get paid for

      4   running the test.

      5   A.   If they are submitting claims according to the regulations

      6   and following the regulations, they could get paid.

      7   Q.   Correct.    So telemedicine applies to the interaction

      8   between the physician and the patient, correct?

      9   A.   Restate that question, please.

    10    Q.   In terms of coverage, telemedicine and telehealth apply to

    11    the interaction between the patient and the physician, right?

    12    A.   The billing for that service is done from the telehealth

    13    provider and that they would have to meet coverage payment

    14    conditions.

    15    Q.   But that doesn't necessarily apply to whatever tests might

    16    result from the encounter, correct?

    17    A.   Well, of course the medical necessity would have to be met,

    18    and the lab is responsible for submitting claims that meet

    19    those regulations.

    20    Q.   Understood.    With respect to lab tests, though, typically

    21    what happens is the doctor orders the test, right?

    22    A.   Yes.

    23    Q.   And the doctor says it's medically necessary, right?

    24    A.   Hopefully he would only be ordering those medically

    25    necessary tests.
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                                                                                  66


      1   Q.   Yes.    So in my example, the doctor said it was medically

      2   necessary that I get whatever test is given, right?          I said

      3   that, didn't I?

      4   A.   Yes.

      5   Q.   And so the lab that ran that test can get reimbursed if it

      6   bills Medicare, whether or not the doctor can get reimbursed

      7   for his encounter with me, right?

      8   A.   So the lab is responsible for the claims that they are

      9   submitting, and the physician is responsible for the claims

    10    that he is submitting.

    11    Q.   Exactly.

    12         With respect to this particular issue, do you know whether

    13    or not Mr. Patel sought advice from Tobin Watt about that

    14    aspect of telehealth?

    15    A.   I don't know anything about that.

    16    Q.   Thank you.    We talked a little bit about this already,

    17    but -- billing.

    18         You talked a lot about billing during your examination,

    19    right?

    20    A.   Yes.

    21    Q.   And as an initial matter, I think you said that bills to

    22    Medicare are typically submitted -- or for Part B, on a 1500

    23    form, right?

    24    A.   Yes.

    25                MR. RAFFERTY:   If we could bring up Government
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                                                                                  67


      1   Exhibit 243, please?

      2   BY MR. RAFFERTY:

      3   Q.   This is a sample of a paper copy of a 1500 form, right?

      4   A.   Yes, this is the information that they would be putting in

      5   electronically.

      6               MR. RAFFERTY:   If I can approach the screen for a

      7   second.

      8               THE COURT:   You may.

      9               MR. RAFFERTY:   Thank you, Your Honor.

    10    BY MR. RAFFERTY:

    11    Q.   There's a whole bunch of information on here, beginning at

    12    the top with the patient's name.

    13         Do you see that?

    14    A.   Yes.

    15    Q.   And there's boxes all the way down to the bottom, right?

    16    A.   Yes.

    17    Q.   This is a paper form, right?

    18    A.   Yes.

    19    Q.   Folks don't submit these typically on paper anymore, right?

    20    A.   That's correct.

    21    Q.   Everything is submitted electronically?

    22    A.   Yes.

    23    Q.   Bunch of rows and columns that get sent to somebody, a MAC,

    24    to process, right?

    25    A.   Yes.
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      1   Q.   Bunch of numbers and information about the patient,

      2   correct?

      3   A.   Yes.

      4   Q.   And on here are different codes.       I think you called them

      5   CPT codes, right?

      6   A.   Yes.

      7   Q.   And I think that's -- I can't really see the box numbers

      8   here.   Which box number would that -- there we go.         Thank you.

      9        So you see Box 21 appears to be diagnosis.         Those are the

    10    diagnosis codes?

    11    A.   Yes.

    12    Q.   And Box 24-D, those are the CPT codes, you said, right?

    13    A.   Yes.

    14    Q.   What it says right here.

    15    A.   Yes.

    16    Q.   Right, right there in the middle of the page?

    17    A.   Yes.

    18    Q.   And both the diagnosis code and the CPT code needs to be on

    19    the document, right?

    20    A.   Yes.

    21    Q.   Okay.   Now, you talked a little bit about when it comes to

    22    billing and coding and how to bill and what's covered.

    23         LCDs and NCDs, right?

    24    A.   Yes.

    25    Q.   And you said that each MAC has the authority to implement
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      1   its own LCDs, right?

      2   A.   They have the authority to publish.

      3   Q.   To publish.    And there's a process they follow to help

      4   provide guidance on coverage, right?

      5   A.   Yes.

      6   Q.   As part of -- you said you're a certified coder?

      7   A.   Yes.

      8   Q.   And there are a lot of certified coders out there?

      9   A.   Yes.

    10    Q.   It's not easy to get, is it?

    11    A.   It's not.

    12    Q.   You had to take a bunch of courses and classes?

    13    A.   Yes.

    14    Q.   And you had to take a test?

    15    A.   Yes.

    16    Q.   I'm sure that test was not easy?

    17    A.   You would be correct.

    18    Q.   How long did you study for that test?

    19    A.   Probably a couple of months.

    20    Q.   Couple of months.

    21    A.   Mmm-hmm.

    22    Q.   And you had to learn all about, you said, the CPT codes,

    23    right?

    24    A.   Yes.

    25    Q.   And the ICD-10 codes?
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                                                                                  70


      1   A.   Yes.

      2   Q.   Those are the diagnosis codes?

      3   A.   Yes.

      4   Q.   So you had to study both those things, right?

      5   A.   Yes.

      6   Q.   Did you also have to study LCDs and NCDs?

      7   A.   No.

      8   Q.   Okay.   But you had to study a bunch of different things in

      9   order to understand -- or make sure that you passed that test?

    10    A.   Yes.

    11    Q.   And you did pass it?

    12    A.   Yes.

    13    Q.   But even after you passed it, you have to keep getting

    14    educated about what CPT codes to use and when, right?

    15    A.   Yes.

    16    Q.   And what diagnosis codes to use and when, right?

    17    A.   Yes.

    18    Q.   Okay.   With respect to LabSolutions, do you know if

    19    LabSolutions had a revenue cycle management?

    20    A.   I do not know.

    21    Q.   Do you know what revenue cycle management is?

    22    A.   Yes.

    23    Q.   What is it?

    24    A.   They're looking at the inflow and outflow of money and, you

    25    know, how they're managing that.
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                                                                                  71


      1   Q.   Okay.    And do you know if LabSolutions had revenue cycle

      2   managers on staff?

      3   A.   I don't know.

      4   Q.   Did you ever hear of a company called Comtron?

      5   A.   No.

      6   Q.   Did you know that LabSolutions used a company called

      7   Comtron to do its billing?

      8   A.   No.

      9   Q.   Did you know that LabSolutions had weekly calls about

    10    billing with Comtron and the revenue cycle managers?

    11               MS. GURSKIS:   Objection.

    12               THE COURT:   Overruled.

    13               You may answer if you know.

    14               THE WITNESS:   No, I did not know.

    15    BY MR. RAFFERTY:

    16    Q.   Did you know that Comtron provided interpretations of the

    17    LCDs?

    18    A.   No, I did not know.

    19    Q.   Did you see any of the emails between Comtron and

    20    LabSolutions about the LCDs and the NCDs?

    21    A.   No.

    22    Q.   The government chose not to show you those either.

    23    A.   That is correct.

    24    Q.   Okay.    You don't know an individual named David Lowsar

    25    (phonetic)?
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                                                                                  72


      1   A.   No.

      2   Q.   You don't know an individual named Harry Miles?

      3   A.   No.

      4   Q.   You don't know an individual named Kate Zakh (phonetic)?

      5   A.   No.

      6   Q.   You don't know that they all worked at Comtron?

      7   A.   No.

      8   Q.   Billing companies, they do a lot of advertising to

      9   advertise to healthcare providers to do their billing, right?

    10    A.   I would guess so.     I don't know.

    11    Q.   Right?    A lot of healthcare providers use outside billers

    12    to do their billing?

    13    A.   Yes.

    14    Q.   Because it's a complicated process, right?

    15    A.   Yes.

    16    Q.   It's not easy.

    17    A.   Yes.

    18    Q.   Picking the right codes is not easy?

    19    A.   Well, the codes should be coming from the physicians.

    20    Q.   Okay.    But the billing process itself, as you said, is

    21    pretty complicated.     You had to take a test that you studied

    22    for months to become a certified coder.

    23    A.   Yes.

    24    Q.   Okay.    With respect to the billing at LabSolutions, did you

    25    know that Minal Patel had almost nothing to do with it?
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      1   A.   I have no knowledge of his interactions with it.

      2   Q.   Okay.   Did you know that these companies that are online,

      3   that advertise their services, they talk about their experience

      4   in the industry, don't they?

      5   A.   I have no knowledge about that, but I would guess so, yes.

      6   Q.   They talk about years and years of experience in billing,

      7   right?

      8   A.   I would be guessing, but I would imagine so.

      9   Q.   And billing for labs can be especially complicated at

    10    times, can't it?

    11    A.   It can.

    12    Q.   Is it more complicated than other forms of billing?

    13    A.   I wouldn't say yes or no on that.

    14    Q.   Well, with respect to the new technology with CGx testing,

    15    has that created challenges with billing?

    16    A.   It does.

    17    Q.   It has?

    18    A.   Yes.

    19    Q.   Because new technology results in the issuance of new CPT

    20    codes, right?

    21    A.   Yes.

    22    Q.   And new coverage requirements and determinations, right?

    23    A.   The coverage requirements really haven't changed.

    24    Q.   Okay.   But things change with respect to genetic testing?

    25    A.   The CPT codes get updated.
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                                                                                  74


      1   Q.   And it creates challenges for everyone, doesn't it?

      2   A.   Yes.

      3   Q.   And there are coders and experts out there that work

      4   regularly on trying to make sure they keep up to speed on the

      5   right codes to bill for genetic testing.

      6   A.   Yes.

      7   Q.   Okay.    Now, I think that when you testified -- the early

      8   part of this case involves a MAC called Cahaba, right?

      9   A.   Yes.

    10    Q.   And Cahaba was replaced by another MAC called Palmetto; is

    11    that right?

    12    A.   Yes.

    13    Q.   And did Palmetto -- did Palmetto replace Cahaba because

    14    Cahaba screwed something up?

    15    A.   I don't know about that.

    16    Q.   Okay.    Do you know if they were covering things that

    17    shouldn't have been covered?

    18    A.   I don't know about that.

    19    Q.   Now, Cahaba was in the business of deciding if something

    20    was covered or not at that time, though, right?

    21    A.   They had the Medicare administrative contract for that --

    22    Q.   But you don't know if they were covering things related to

    23    genetic testing that they shouldn't have been covering.

    24    A.   I have no knowledge of that.

    25    Q.   Okay.    With respect to claims data --
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                                                                                  75


      1   A.   Yes.

      2   Q.   -- you talked about the claims data.        I think the

      3   government introduced into evidence what's been marked as

      4   201-A.

      5               MR. RAFFERTY:   Would you bring that up for me, please?

      6   Just the first page.

      7   BY MR. RAFFERTY:

      8   Q.   Okay.    So this is a spreadsheet, I guess, of billing data;

      9   is that right?

    10    A.   Yes.

    11                MR. RAFFERTY:   If I can approach the screen again,

    12    Your Honor.

    13                THE COURT:   You may.

    14                MR. RAFFERTY:   I'll take this microphone.

    15    BY MR. RAFFERTY:

    16    Q.   And there's a whole lot of information starting from the

    17    left here, right?

    18    A.   Yes.

    19    Q.   You've got a member -- it says beneficiary claim.

    20    Something number -- HTC number?

    21    A.   HIC number.

    22    Q.   What's that?

    23    A.   Health Information Control Number.

    24                MR. RAFFERTY:   I'm not going to use any of the names in

    25    here to protect their privacy.       So if we identify any patients,
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      1   I'll identify them by initials, Your Honor.

      2               THE COURT:   Turn it on.   I think it may not be on.

      3               MR. RAFFERTY:   I'm not going to use their names.       I'm

      4   just going to use initials.

      5   BY MR. RAFFERTY:

      6   Q.   Looking at that first one, you see the initials KM?

      7        Do you see that?

      8   A.   Yes.

      9   Q.   And there's a whole bunch of stuff that goes across that

    10    includes their birth date, their address, where they live.           All

    11    the way across to the right, there's a whole bunch of stuff?

    12                MR. RAFFERTY:   If we can keep going to the right, D.J.,

    13    if you can keep going.

    14    BY MR. RAFFERTY:

    15    Q.   There's all kinds of additional information here.

    16                MR. RAFFERTY:   Hold on a second.    Stop for a second.

    17    BY MR. RAFFERTY:

    18    Q.   So you've got some procedural codes.

    19         These are what are called CPT codes; is that right?

    20    A.   Yes.

    21    Q.   And this information that's on this form, this is

    22    information that's collected based on what's been submitted as

    23    part of the bill; is that right?

    24    A.   That's correct.

    25    Q.   So whatever -- in this case, whether it was LabSolutions or
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      1   another entity that billed for LabSolutions, this is the

      2   information that was captured by Medicare or one of the MACs,

      3   correct?

      4   A.   That's correct.

      5   Q.   Okay.    And I think you testified during the course of your

      6   direct yesterday -- direct examination yesterday that with just

      7   a few exceptions, screening tests are not covered; is that

      8   right?

      9   A.   That's correct.

    10    Q.   Okay.    Are there specific codes for screening tests?

    11    A.   Yes.

    12    Q.   Are there actually diagnosis codes that would tell Medicare

    13    that it's a screening test?

    14    A.   There can be.

    15    Q.   Okay.    I want to see if I can bring up an example for you.

    16                MR. RAFFERTY:   Can we bring up -- I wrote this name

    17    down, R. C-x-x-x -- can you bring up that name?          I think I gave

    18    it to you before.

    19    BY MR. RAFFERTY:

    20    Q.   Okay.    Do you see --

    21                MR. RAFFERTY:   If I can approach that screen again.

    22                THE COURT:   Yeah.

    23                MR. RAFFERTY:   Okay.

    24    BY MR. RAFFERTY:

    25    Q.   So this looks like R.C.        I think I misspelled it.
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      1               MR. RAFFERTY:   And I'm sorry, Your Honor.     I shouldn't

      2   have used the name.

      3   BY MR. RAFFERTY:

      4   Q.   R.C. is the beneficiary, right?

      5   A.   Yes.

      6   Q.   And her date of birth is listed there, and she's from North

      7   Carolina.

      8        Do you see that?

      9   A.   Yes.

    10                MR. RAFFERTY:   And Column K -- D.J., what is Column K?

    11    Is that a ZIP code?      It's a ZIP code.

    12                Could you go back to Ms. C.?     If we can just keep going

    13    to the right.       Actually, go to the top for a second.

    14                Okay.   Can we scroll to the right?

    15                Can you find the diagnosis codes?     There they are.

    16    BY MR. RAFFERTY:

    17    Q.   Those are the different codes that were submitted by

    18    LabSolutions or somebody on its behalf; is that right?

    19    A.   Yes.

    20    Q.   Okay.

    21                MR. RAFFERTY:   If we go down -- if you can try and find

    22    Ms. C. on this document, and go to that -- that's AP.           Okay.

    23    If we go to Column AP under Ms. C.

    24                I keep saying the last name.     C.

    25    BY MR. RAFFERTY:
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      1   Q.   Okay.    So we have a bunch of diagnosis codes here.

      2        Do you see that?

      3   A.   Yes.

      4   Q.   And you see one that says Z-1379.        Do you see that?

      5   A.   Yes.

      6   Q.   And do you see next to it, the description of what that is?

      7   A.   Encounter for screening for genetic -- and I can't read the

      8   rest of it.

      9   Q.   Now, I believe you said that Medicare as a whole does not

    10    cover generally screening tests, right?

    11    A.   That is correct.

    12    Q.   In this particular case, LabSolutions has billed a CGx test

    13    and has told Medicare that it's a screening, right?

    14    A.   Yes.

    15                MR. RAFFERTY:   And if we can go all the way to the

    16    right.

    17    BY MR. RAFFERTY:

    18    Q.   Is there a column here for payment?

    19    A.   Yes.

    20    Q.   Okay.    Was this one paid?

    21    A.   You would have to scroll to the top so I could see the paid

    22    amount.

    23                MR. RAFFERTY:   I think you have to keep going to the

    24    right, perhaps.     Oh, there it is.     I'm sorry.   It's BG.

    25    BY MR. RAFFERTY:
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      1   Q.   See BG?

      2   A.   Okay.

      3               MR. RAFFERTY:   If we can go down again now.      Okay.

      4   BY MR. RAFFERTY:

      5   Q.   So for this screening test -- and it just says family

      6   history.

      7        Do you see that?

      8   A.   Yes.

      9   Q.   It says family history.      We saw screening test.      And we see

    10    that Medicare paid it?

    11    A.   Yes.

    12    Q.   Thousands of dollars, right?

    13    A.   Yes.

    14    Q.   And this is a screen, right?

    15    A.   That's what it indicates.

    16    Q.   And it's a screen that says it's just family history,

    17    right?

    18    A.   Yes.

    19    Q.   Which I think you said yesterday, family history is not

    20    covered, right?

    21    A.   That is correct.

    22    Q.   So this particular claim, LabSolutions told Medicare, we

    23    did a screening test, right?

    24    A.   Yes.

    25    Q.   For family history, right?
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                                                                                  81


      1   A.   Yes.

      2   Q.   And it was paid, right?

      3   A.   So it was processed, and money was put in the provider's

      4   account.     But going through the claims system does not in any

      5   way indicate that it complies with payment conditions.

      6   Q.   Let me ask my question again.

      7        That document right there shows that it was paid, right?

      8   A.   It was, yes.

      9   Q.   It was paid?

    10    A.   It was paid.

    11    Q.   Okay.    And if I told you that if I did the same thing on

    12    this document, in 201-B and 201-C, that there were 21,561 times

    13    where LabSolutions told Medicare we did a screening, would that

    14    surprise you?

    15    A.   No.

    16    Q.   It wouldn't.

    17         21,000 times they told Medicare, we're doing a screening.

    18    A.   Yes.

    19    Q.   Didn't conceal anything.

    20    A.   Yes.

    21    Q.   Okay.    I covered that last one.     One more I want to cover.

    22         We talked about billing experts.       We talked about legal

    23    experts.     We talked about genetics experts.      We talked about

    24    credentialing experts.

    25         I want to ask you about these LCDs.        Okay?
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      1   A.   Yes.

      2   Q.   And you went through a bunch of different LCDs during the

      3   course of your testimony, right?

      4   A.   Yes.

      5   Q.   For different things and provided a lot of explanations of

      6   what they all mean, right?

      7   A.   Yes.

      8   Q.   And LCD means local coverage determination, right?

      9   A.   Yes.

    10    Q.   And what that refers to, I guess, in insurance is whether

    11    something is covered or not, right?

    12    A.   It helps to explain the context.

    13    Q.   And they're issued by the MACs, right?

    14    A.   Yes.

    15    Q.   And you said -- and I just want to quote you from your

    16    direct yesterday.     You said that -- in response to a question,

    17    that wherever you live, your Medicare benefit is the same; is

    18    that right?

    19    A.   Yes.

    20    Q.   But you also said that some -- I think you said that

    21    some -- the MACs communicate a little bit differently, and they

    22    might edit out claims a little more aggressive or less

    23    aggressive, right?

    24    A.   Yes.

    25    Q.   So some MACs are more aggressive than others?
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      1   A.   Yes.

      2   Q.   Do you think that Palmetto was more aggressive than Cahaba?

      3   A.   I know they were.

      4   Q.   They were.    They asked and made labs get Z codes, right?

      5   A.   Yes.

      6   Q.   Through a MolDX process?

      7   A.   Yes.

      8   Q.   And, in fact, LabSolutions went through the MolDX process

      9   too, didn't it?

    10    A.   I don't know.

    11    Q.   You don't know?

    12    A.   I don't know.

    13    Q.   So the government didn't tell you that LabSolutions went

    14    through Palmetto's MolDX program?

    15    A.   I don't know.

    16    Q.   Did the government tell you that LabSolutions got Z codes?

    17    A.   I don't know.     I don't know that.

    18    Q.   Explain to the jury, in order to bill in Palmetto, you have

    19    to apply for the Z codes, right?

    20    A.   Yes.

    21    Q.   Until you have get those Z codes, you can't bill, right?

    22    A.   That's right.

    23    Q.   And in this particular case, LabSolutions told Palmetto we

    24    want the Z codes.     Here's our test, right?

    25    A.   I don't know, but that would have to occur.         And Palmetto
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      1   uses Z codes to bill for their genetic testing.

      2   Q.   If they got Z codes -- if LabSolutions got Z codes, they

      3   told Palmetto what they were doing, right?

      4   A.   They would have to get those Z codes from Palmetto.

      5   Q.   Okay.    But you said during your testimony that regardless

      6   of where you live, your Medicare benefits are the same, right?

      7   A.   Yes.

      8               MR. RAFFERTY:   I'm going to approach the witness, if I

      9   could.

    10                THE COURT:   You may.

    11                MR. RAFFERTY:   This is a paper copy.     Maybe I can just

    12    give it to the clerk, Your Honor.        This is a paper copy of

    13    Defense Exhibit 200.

    14                THE COURT:   You can approach and hand it to her.

    15                MR. RAFFERTY:   Thank you.   If we can bring up 200 up on

    16    the screen, I'll pull the LCD thing down.

    17    BY MR. RAFFERTY:

    18    Q.   This is a document that was issued by the Department of

    19    Health and Human Services, right?

    20    A.   Yes.

    21    Q.   And CMS is under that particular agency; is that right?

    22    A.   Yes.

    23    Q.   Okay.    And the Office of Inspector General is an

    24    investigative agency that works within HHS?

    25    A.   Yes.
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      1   Q.   And the title of this document is Local Coverage

      2   Determinations.

      3        Do you see that?

      4   A.   Yes.

      5   Q.   That's LCDs, right?

      6   A.   Yes.

      7   Q.   Create inconsistencies in Medicare coverage.

      8   A.   That's what it says.

      9   Q.   Right?    And it's dated January of 2014; is that right?

    10    A.   Yes.

    11    Q.   Now, I don't want to go back through all these documents,

    12    but Mr. Patel first signed one of those 855s that subjected him

    13    to LCD coverage back in December of 2013.

    14         Do you remember that?

    15    A.   Yes.

    16    Q.   There was another one he signed in January of 2014.

    17         Do you remember that?

    18    A.   Yes.

    19    Q.   There was another one in July of 2014.        Remember that?

    20    A.   Yes, there were several.

    21    Q.   And then 212-A was October of 2014.        Do you remember that?

    22    A.   Yes.

    23    Q.   All of those were signed in around the same time that this

    24    report was issued by the Office of the Inspector General.

    25    A.   Yes.
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      1   Q.   Okay.

      2               MR. RAFFERTY:   If we can go to the next page, please,

      3   and if we could highlight the section that says, "What we

      4   found."

      5   BY MR. RAFFERTY:

      6   Q.   Do you see that?

      7   A.   Yes.

      8   Q.   If you can read that into the record?

      9   A.   Yes.    In October of 2011, over half of Part B procedure

    10    codes were subject to an LCD in one or more states.          The

    11    presence of these LCDs was unrelated to the cost and

    12    utilization of items and services.

    13    Q.   Can we stop there for a second?

    14    A.   Sure.

    15    Q.   One of the things I think you talked about yesterday was

    16    that LCDs were designed to help cost and utilization.

    17         Did you say that yesterday?

    18    A.   Cost and -- no, guidance.

    19    Q.   Okay.    Keep reading, then.

    20    A.   Furthermore, LCDs limited coverage for these items and

    21    services differently across states.        LCDs also defined similar

    22    topics inconsistently.

    23    Q.   Similar clinical topics inconsistently, right?

    24    A.   Oh, did I say that?

    25    Q.   No, you didn't say that.
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      1   A.     Let me reread it.      LCDs also defined similar clinical

      2   topics inconsistently.        Finally, CMS has taken steps to

      3   increase consistency among LCDs, but it lacks a plan to

      4   evaluate new LCDs for national coverage as called for by the

      5   MMA.

      6   Q.     Okay.

      7                 MR. RAFFERTY:   And if we can go to page -- hang on a

      8   second -- page 11.

      9   BY MR. RAFFERTY:

    10    Q.     And these are the findings of the OIG's report.        Now, this

    11    is an analysis of codes going back to 2011, but it was issued

    12    in 2014?

    13    A.     Okay.

    14    Q.     Right?

    15    A.     The report was issued in 2014.     Yes.

    16    Q.     Do you need me to go back to the first page?

    17    A.     No.    I got it.

    18    Q.     It was about stuff in 2011, but it was issued in 2014,

    19    meaning this was a continued problem, right?

    20    A.     Yes.

    21    Q.     Okay.    So if we look at the findings, and it says, In

    22    October of 2011, over half of Part B procedure codes were

    23    subject to an LCD in one or more states, right?

    24    A.     Yes.    Where are you reading from?    Can you just point --

    25    Q.     The heading right under findings.      Do you see that?
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      1   A.   Okay.

      2               MR. RAFFERTY:   If we can go to the next page, on the

      3   top there.

      4   BY MR. RAFFERTY:

      5   Q.   And it says, The presence of LCDs was unrelated to the cost

      6   or utilization of Part B item services.

      7        Do you see that?

      8   A.   I see it.

      9   Q.   Okay.    And it says in the first sentence, Although MACs may

    10    develop LCDs to prevent overutilization and the misuse of items

    11    and services, we found no correlation between the number of

    12    states with LCDs for items and services and the unit cost or

    13    utilization rate of those items or services.

    14         Do you see that?

    15    A.   Yes.

    16    Q.   Do you understand what that means?

    17    A.   They're not correlating the LCDs to cost and utilization.

    18    Q.   Okay.    If we can go to the next bullet point there, it

    19    says, LCDs' limited coverage for these procedure codes

    20    differently across states.

    21         Do you see that?

    22    A.   Okay.    Yes, I see that.

    23    Q.   And it says in the second sentence, All but two of these

    24    procedure codes were subject to one or more LCDs that limited

    25    coverage in some, but not all states.
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      1        Do you see that?

      2   A.   Where are you reading?

      3   Q.   The second sentence under LCDs limited coverage for these

      4   procedure codes differently across states?

      5   A.   All but two of these procedure codes were subject to one or

      6   more LCDs that limited coverage in some but not all states.

      7   Q.   And if you can read the sentence after that?

      8   A.   Thus, coverage for a given service may be restricted in one

      9   state where the LCD is in place and completely unrestricted in

    10    another state where the [sic] LCD is in place.

    11    Q.   So you testified earlier that wherever you lived, your

    12    Medicare benefit is the same; is that right?

    13    A.   That is right.

    14    Q.   This suggests that because of the problem with LCDs, at

    15    least at this point in time, that was not the case, correct?

    16    A.   All I can tell you is that the PIM states that the LCDs

    17    cannot override or supersede higher-up legislation.

    18    Q.   But this particular document -- and let me read it again.

    19    It says, Coverage for a given service may be restricted in one

    20    state where an LCD is in place and completely unrestricted in

    21    another state where no LCD is in place, right?

    22    A.   It looks like based on what the HHS was looking at, that is

    23    their conclusion.

    24    Q.   Which suggests that at least then, wherever you lived, your

    25    Medicare benefit was not the same.
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                                                                                  90


      1   A.   According to this report, but I'm not quite sure exactly

      2   what they were looking at.

      3   Q.   Well, it was issued by HHS, right?

      4   A.   Yes.

      5   Q.   They're the ones that govern CMS, right?

      6   A.   They have input as to what CMS is doing.

      7   Q.   Okay.

      8               MR. RAFFERTY:   If we can go to the last bullet.

      9   BY MR. RAFFERTY:

    10    Q.   You talked about new technology and that CGx presents

    11    unique problems because it's a unique and growing technology

    12    for medicine, right?

    13    A.   Yes.

    14    Q.   Okay.    And this is back in 2014, when this was issued, this

    15    report, right?

    16    A.   Yes.

    17    Q.   And they're specifically talking about the very unique

    18    problems created by LCDs when it comes to new technology.

    19    A.   Yes.

    20    Q.   Okay.    And it reads, LCDs prohibited coverage for some

    21    procedure codes, often those for new technology, in some states

    22    but not in others.

    23         Right?

    24    A.   They were editing them out.

    25    Q.   And that's what it says in this heading here, right?
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      1   A.   Yes.

      2   Q.   And in particular, if you can read the last sentence of

      3   this page, beginning with the word "for," onto the next page.

      4   A.   For example, during the period of our review, an LCD

      5   prohibited coverage in three states for CPT Code 86141 for

      6   high-sensitivity C-reactive protein.

      7   Q.   And then into the next page at the top?

      8   A.   Hs-CRP test.

      9   Q.   And then the next sentence?

    10    A.   At the same time, LCDs allowed coverage of hs-CRP tests in

    11    20 other states, but only for beneficiaries with certain

    12    clinical indications.      MACs did not issue any LCDs or hs-CRP

    13    tests in the remaining states, leaving coverage for it open

    14    without restriction.

    15    Q.   So what this is saying is there was some sort of new test

    16    which they describe here as C-reactive protein hs-CRP test at

    17    this time, right?

    18    A.   That is correct.

    19    Q.   And what it says here is that in some states you can't have

    20    those tests at all, right?

    21    A.   That's what this report is saying.

    22    Q.   And in other states it says you can, but only if you have

    23    certain clinical indications, right?

    24    A.   Yes, and it's talking about what the local coverage

    25    determination is saying.
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      1   Q.   And in other states, there's no restrictions at all, right?

      2   A.   That's what this is saying.

      3   Q.   And so you can have the same test, but whether you can get

      4   it covered by Medicare or not depended on where you lived.

      5   A.   I would disagree.

      6   Q.   Well, isn't that what it says?

      7   A.   That's what this report says.

      8   Q.   And who wrote it?

      9   A.   The HHS.

    10    Q.   Got it.

    11         So if we go down to the next bullet point, that's LCDs'

    12    limited coverage for many Part B items and services in some

    13    states and few items and services in others.

    14         Do you see that?

    15    A.   Yes.

    16    Q.   That's once again saying that there were certain areas of

    17    the country where LCDs were more prevalent and more used than

    18    in others?

    19    A.   There -- some MACs publish more LCDs than other MACs.

    20    Q.   So, for example, it says here, 50 percent of items and

    21    services in some states were affected by LCDs, while 5 percent

    22    of items and services in other states were covered.

    23         Do you see that?

    24    A.   I do see that.

    25    Q.   Okay.   If you go to the last sentence there, they talk
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      1   about the states where there aren't very many LCDs.

      2          Do you see that sentence that says "conversely"?

      3   A.     Yes.

      4   Q.     Conversely, in three states, Alabama, Georgia, and

      5   Tennessee, only 5 percent of procedure codes were subject to an

      6   LCD?

      7   A.     Yes.

      8   Q.     Do you see that?

      9   A.     Yes.

    10    Q.     And what state did you say LabSolutions was in?

    11    A.     It was in Georgia and Pennsylvania.

    12    Q.     Okay.    But in 2014 it was just in Georgia, wasn't it?

    13    A.     Yes.

    14    Q.     Okay.

    15                  MR. RAFFERTY:   If we can go to the next page, please.

    16    BY MR. RAFFERTY:

    17    Q.     And do you see the heading there under the MAC?

    18    A.     Yes.

    19    Q.     It reads, LCDs defined similar clinical topics

    20    inconsistently.

    21           Do you see that?

    22    A.     Yes.

    23    Q.     And if you go to the second-to-last paragraph, can you read

    24    the first sentence beginning with "a total of"?

    25    A.     A total of 319 of the 540 clinical topics, or 59 percent,
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      1   were addressed by more than one LCD.        However, 134 were

      2   addressed inconsistently among LCDs.

      3        You want me to keep reading?

      4   Q.   Please.

      5   A.   This means that different LCDs used different procedure

      6   and/or diagnostic codes to address the same clinical topic.

      7        One example is blepharoplasty, a surgery to correct

      8   drooping eyelids that impair vision.        At the time of our

      9   review, LCDs addressed blepharoplasty in 32 of the --

    10    Q.   You can stop reading.      I appreciate it.

    11    A.   Okay.

    12                MR. RAFFERTY:   If we can go to -- I actually didn't

    13    flag this page.     Hang on a second.     If we can go to page 19.

    14    BY MR. RAFFERTY:

    15    Q.   And this is the agency comments.       Do you see that at the

    16    top, Appendix A?

    17    A.   Yes.

    18    Q.   And it appears that they were given a copy -- if you look

    19    at the subject, they were given a copy of this report about

    20    local coverage determinations creating inconsistency in

    21    Medicare coverage policy, right?

    22    A.   Yes.

    23    Q.   And this is actually written by CMS.        Do you see that?

    24    A.   Yes.

    25    Q.   And it goes through the various recommendations.
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      1        Do you see that in the middle -- or towards the bottom of

      2   the page, OIG recommendations?

      3        Do you see that?

      4   A.   Yes.

      5   Q.   And throughout this document, beginning with that CMS

      6   response, it says CMS concurs.

      7        Do you see that?

      8   A.   Yes.

      9   Q.   If you go to the next page, CMS responds that CMS concurs.

    10         Do you see that?

    11    A.   Yes.

    12    Q.   And then the last paragraph there, CMS responds that CMS

    13    concurs.

    14         Do you see that?

    15    A.   Yes.

    16    Q.   And so at least --

    17                MR. RAFFERTY:   If we can go to the first page of this

    18    document again.     The first page of the whole document.        I'm

    19    sorry, D.J.

    20    BY MR. RAFFERTY:

    21    Q.   At least in 2014, January, the same time Mr. Patel was

    22    signing all these forms you've went through, the 855s, CMS

    23    itself was concluding that local coverage determination created

    24    inconsistency in Medicare coverage.

    25         Do you see that?
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      1   A.   Yes.

      2               MR. RAFFERTY:   If I could have a moment, Your Honor.

      3               THE COURT:   You may.

      4   BY MR. RAFFERTY:

      5   Q.   The name at the bottom of this document, do you see that,

      6   Daniel Levinson?

      7   A.   Yes.

      8   Q.   Do you know who Daniel Levinson is?

      9   A.   The inspector general.

    10    Q.   Do you know him personally?

    11    A.   No.

    12    Q.   Now, you said in advance of your testimony here today that

    13    you read a bunch of different documents?

    14    A.   Yes.

    15    Q.   You read a bunch of different statutes?

    16    A.   Yes.

    17    Q.   You did a bunch of different research?

    18    A.   Yes.

    19    Q.   Did you read this document before you testified?

    20    A.   No.

    21    Q.   Have you seen this document before?

    22    A.   No.

    23                MR. RAFFERTY:   One more moment, Your Honor.

    24                THE COURT:   Sure.

    25                MR. RAFFERTY:   Thank you, Your Honor.     Thank you,
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      1   ma'am.

      2             I pass the witness.

      3             THE COURT:    Thank you.

      4             Redirect, please.

      5             MS. GURSKIS:    Your Honor, could we approach briefly?

      6             THE COURT:    Sure.

      7          (The following proceedings were held sidebar:)

      8             MS. GURSKIS:    I think I've got about 30 minutes of

      9   redirect, and I just didn't know if you wanted to break now.

    10              THE COURT:    Let's do it so we can take it up to lunch,

    11    and then we can get rid of the witness.

    12              MS. GURSKIS:    Okay.

    13           (Proceedings returned to open court.)

    14              THE COURT:    Ladies and gentlemen of the jury, we're

    15    going to go ahead and complete the redirect.         We expect to

    16    complete the redirect of this witness and then go to lunch.

    17              Thank you all for your patience.

    18              You may proceed when you're ready.

    19              MS. GURSKIS:    Thank you, Your Honor.

    20                             REDIRECT EXAMINATION

    21    BY MS. GURSKIS:

    22    Q.   Good afternoon, Ms. McMillan.

    23    A.   Good afternoon.

    24    Q.   Mr. Rafferty concluded his questioning of you by asking you

    25    about this report, Defense Exhibit No. 200.
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      1        Do you recall that?

      2   A.   Yes.

      3   Q.   Have you read that report prior to your testimony today?

      4   A.   No.

      5   Q.   And the date on the front of the report, I believe, is

      6   January 2014.

      7        But can you read under where it says how he did this study,

      8   that first sentence?

      9   A.   Yes.   We analyzed a -- does that say one?        I can't

    10    really -- --

    11    Q.   I could zoom in.

    12    A.   We analyzed a one-week period within the Medicare coverage

    13    database to determine that LCD caused variation in coverage of

    14    Part B items and services.

    15    Q.   And in the what we found section, do you see the time

    16    period in which that one week-analysis occurred?

    17    A.   Yes, October 2011.

    18    Q.   Do you know approximately when Medicare coverage of genetic

    19    testing began?

    20    A.   So there was a massive change of the way the codes were

    21    done by CPT in 2012.

    22    Q.   And that was prior -- that was after this particular report

    23    was issued; is that right?

    24    A.   Yes.

    25    Q.   And Mr. Rafferty also asked you about this code, 86141.
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                                                                                  99


      1        That is not a genetic testing code, is it?

      2   A.   No.

      3   Q.   And Mr. Rafferty asked you a lot of questions about the 855

      4   manuals that we also spent some time going over yesterday.

      5        Do you recall that?

      6   A.   Yes.

      7   Q.   This is Government's Exhibit 209-A.

      8        Ms. McMillan, can you read the first sentence under first

      9   authorized signature?

    10    A.   I have read the contents of this application.         My signature

    11    legally and financially binds the supplier to laws,

    12    regulations, and program instructions of the Medicare program.

    13    Q.   This is Government's Exhibit 210-A.

    14         Can you read that first sentence again?

    15    A.   I have read the contents of this application.         My signature

    16    legally and financially binds the supplier to the laws,

    17    regulations, and program instructions of the Medicare program.

    18                MR. RAFFERTY:   Your Honor, I'm going to object.      We

    19    went through this same document with this same highlighting

    20    yesterday.

    21                THE COURT:   That'll be overruled.

    22                Okay.   Go ahead.

    23                MS. GURSKIS:    Thank you, Your Honor.

    24    BY MS. GURSKIS:

    25    Q.   This is Government's Exhibit 220.
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    1         I'm not going to make you read through all these, but we

    2    went through a lot of 855s today and yesterday.

    3         Does this promise about reading the contents of the

    4    application and the signature legally binding the signer to

    5    that application, does that appear on every single 855B?

    6    A.   Yes.

    7    Q.   Who is responsible for what a lab is submitting, a contact

    8    person or the authorized signer?

    9    A.   The authorized official signer.

   10    Q.   Would Medicare enroll a provider if there was no authorized

   11    signer on the 855?

   12    A.   No.

   13    Q.   Does Medicare need a contact person in order to enroll

   14    someone with Medicare?

   15    A.   It is available for the authorized signer to put on there,

   16    but they do not have the same legal responsibilities.

   17    Q.   So if these promises are not made and these 855s are not

   18    signed in this section, can a lab submit a single bill?

   19    A.   No.

   20    Q.   Mr. Rafferty asked you some questions about buying a house.

   21         Do you recall that?

   22    A.   Yes.

   23    Q.   And potentially having a lawyer to assist you with

   24    paperwork.

   25         Do you recall that?
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    1    A.   Yes.

    2    Q.   And if you're signing a piece of paperwork, once your

    3    signature is on the dotted line, who is responsible, the person

    4    whose signature is on the dotted line or the lawyer?

    5    A.   It would be my responsibility, if I was signing those

    6    documents.

    7    Q.   And when you bought your house, did you lie to the bank?

    8    A.   Did I -- I'm sorry, what?

    9    Q.   Did you lie to the bank?

   10    A.   No.

   11    Q.   Why not?

   12    A.   Well, because it might end me up in jail.

   13    Q.   Mr. Rafferty also asked you some questions about CPT codes.

   14         Do you recall that?

   15    A.   Yes.

   16    Q.   How should CPT codes be selected?      Should it be selected to

   17    target what will be reimbursed?

   18    A.   So CPT directs you, the user, according to the guidelines,

   19    to select the code to the highest specificity.

   20    Q.   And would it be appropriate to have somebody in sales or

   21    finance selecting the CPT codes and kind of back-dooring in

   22    what Medicare would pay?

   23                MR. RAFFERTY:   I'm going to object to the form of the

   24    question, Your Honor.

   25                THE COURT:   Overruled.
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    1                You may answer, ma'am.

    2                THE WITNESS:   Can you repeat the question?

    3    BY MS. GURSKIS:

    4    Q.   Yes.

    5         Would it be appropriate to have somebody in perhaps the

    6    sales or finance field back-dooring in codes and selecting

    7    codes according to what Medicare would pay?

    8    A.   You want the most highly capable people selecting those

    9    codes, and they should be selected by the documented medical

   10    information that has occurred because you are submitting them

   11    to the government for payment.

   12    Q.   And you need a CPT code or CPT codes on a claim in order to

   13    bill Medicare, right?

   14    A.   Yes.

   15    Q.   And Medicare does not automatically deny claims; is that

   16    right?

   17    A.   They can, but they do not do that as a routine.

   18    Q.   Why not?

   19    A.   Well, because -- well, a couple of reasons.       One, they're

   20    trying to move the claims through the system so that healthcare

   21    providers are providing the care.      But also, the claim system

   22    is not thinking about the information in there.

   23         It's clearly moving the claims through, and just because

   24    the information is on that claim, it may not necessarily

   25    recognize it and deny it.
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    1    Q.     And we spent some time yesterday talking about the

    2    trust-based system that Medicare is founded on.

    3           Do you recall that?

    4    A.     Yes.

    5    Q.     Is that automatic payment in connection to that trust-based

    6    system that you talked about?

    7    A.     Yes.

    8    Q.     And are these signatures, the certification statements, are

    9    those also in connection to that trust-based system?

   10                  THE COURT:   Yes.   Let me do -- if I could, just take a

   11    quick break.       I think a couple of our jurors need to use the

   12    restroom before we complete this examination.

   13                  Let me have you leave your notepads on your chairs.

   14    We'll take a brief break, and we'll come back and finish and

   15    then go to lunch.

   16                  You are excused.

   17                  THE COURT SECURITY OFFICER:   All rise.

   18            (Jury exits at 12:11 p.m.)

   19                  THE COURT:   If anyone needs to use the restroom as

   20    well.    Five-minute break here before we bring the jury back

   21    out.

   22                  You may step down, Ms. McMillan.

   23            (Court recessed at 12:11 p.m.)

   24            (Back on the record at 12:19 p.m.)

   25                  THE COURT SECURITY OFFICER:   All rise.
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    1            (Jury enters at 12:19 p.m.)

    2                  THE COURT:   Please be seated, everyone.

    3                  All right, ladies and gentlemen, we're going to turn it

    4    back to Ms. Gurskis who will continue on with her redirect of

    5    Ms. McMillan.

    6                  Counsel, the floor is yours.

    7                  MS. GURSKIS:   Thank you, Your Honor.

    8    BY MS. GURSKIS:

    9    Q.     Ms. McMillan, I have up on the screen Government's

   10    Exhibit 110.

   11           You were asked by Mr. Rafferty about the selection of

   12    panels that were used in this case.

   13           Did you see certain procedure codes that were billed

   14    together in this case?

   15    A.     Yes.

   16    Q.     What type of codes was that?

   17    A.     So when I was looking at the data, there seemed to be

   18    specific orders or requisitions for the test in groupings.

   19    Q.     And were there certain tiers or types of codes that you

   20    saw?

   21    A.     Yes, a combination of Tier 1 and Tier 2, molecular

   22    pathology codes.

   23    Q.     What was the significance of that?

   24    A.     Oh, it was a lot of genetic testing on one patient, on one

   25    sample, on one day.
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    1    Q.   What about the tier specifically?

    2    A.   And the tier -- so the Tier 1 is --

    3                MR. RAFFERTY:   Your Honor, I'm going to object.     I

    4    didn't ask at all about Tier 1 or Tier 2 or anything else.

    5                THE COURT:   I'm going to allow it.   I know it's a

    6    little bit on the edges of the scope of the cross-examination,

    7    but let's go ahead and continue.       That's fine.

    8                THE WITNESS:    Can you restate the question?

    9    BY MS. GURSKIS:

   10    Q.   Thinking about Tier 2 specifically, what was significant

   11    about that to you?

   12    A.   The fact that, you know, the beneficiaries were getting

   13    several codes from the Tier 2 selection, which would indicate

   14    multiple different procedures of very highly specialized

   15    nature, and that were out of the section where CPT stated that

   16    you would rarely see these because they were for disease

   17    processes that were rare.

   18         And furthermore, that the local coverage article described

   19    Tier 2 codes as that you would rarely see those.

   20    Q.   And Mr. Rafferty also asked you some questions about

   21    Z Codes.

   22         Do you recall that?

   23    A.   Yes.

   24    Q.   I think on Government's Exhibit 110 you see some mention of

   25    Z Codes on there.
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    1         Do you see that as well?

    2    A.   Yes.

    3    Q.   Z Codes aren't a blank check, right?

    4    A.   No.

    5    Q.   And you were also asked some questions about the claims

    6    that were submitted in this case.

    7         Did those claims cross state lines?       Did they cross

    8    interstate wires?

    9    A.   Yes.

   10    Q.   Mr. Rafferty also asked you some questions about the length

   11    and the complexity of Medicare regulations.

   12         Do you recall that?

   13    A.   Yes.

   14    Q.   Let me ask you something:        What's so complicated about the

   15    concept that in order to bill a lab --

   16                MR. RAFFERTY:   Your Honor, I'm going to object to the

   17    question and the form.

   18                THE COURT:   Overruled.    Overruled.

   19                Go ahead.

   20    BY MS. GURSKIS:

   21    Q.   What's so complicated about the concept that in order to

   22    bill a lab test to Medicare, the doctor who orders the test

   23    needs to be actually involved in the patient's care?

   24    A.   That's not complicated.

   25    Q.   Is there anything complicated about the concept that the
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    1    test results need to actually be used in the patient's

    2    treatment?

    3    A.   That's not complicated.

    4    Q.   Is there anything complicated about the fact that a doctor

    5    shouldn't be paid a kickback to secure an order for a genetic

    6    test?

    7    A.   No, kickbacks are not allowed with the federal healthcare

    8    system.

    9    Q.   Are kickbacks complicated?

   10    A.   No.

   11    Q.   You heard a lot about regulations from Mr. Rafferty, but

   12    what's the law that makes all of that clear?

   13    A.   The law that makes the --

   14    Q.   The law that governs these regulations.

   15    A.   The Social Security Act.

   16    Q.   And who is the person who promised time after time after

   17    time that he would comply with the rules and with the law in

   18    connection with the submissions to Medicare by LabSolutions?

   19    A.   The authorized official, Minal Patel.

   20               MS. GURSKIS:   No further questions.

   21               THE COURT:   Thank you.

   22               Thank you, Ms. McMillan.    You're excused.

   23               THE WITNESS:   Thank you.

   24               THE COURT:   All right.   Ladies and gentlemen of the

   25    jury, we're going to take our lunch break at this time.         Thank
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    1    you for your undivided attention.

    2             As we did yesterday, we will have you all be back in

    3    the jury room, if you could, please, by 1:45.

    4             I expect that at around 1:45 someone from my staff will

    5    once again enter the jury room and bring you all coffee, for

    6    those who want it, before we have you guys seated this

    7    afternoon.

    8             We plan on covering a few witnesses this afternoon, so

    9    we have a busy rest of the day ahead of us.       So please make

   10    sure, as you take your break and have your lunch, that we all

   11    get back to the jury room at the allotted time.

   12             One thing of course I will remind you all, we've heard

   13    a lot of testimony from this initial government witness.

   14    Please continue to follow the Court's instructions.         Do not

   15    discuss anything you have heard or seen with each other, with

   16    family or friends, or do any independent research regarding any

   17    of the terms or concepts that have been discussed by

   18    Ms. McMillan throughout her examination.

   19             Certainly stay off social media.       And if the lawyers

   20    run into you when you are out and about having lunch, take no

   21    offense if they steer clear, as they must.

   22             So with that being said, make sure you leave your

   23    notepads in the jury room.     We're going to excuse you all, and

   24    see you back in the jury room at 1:45.       Have a great lunch.

   25             THE COURT SECURITY OFFICER:      All rise.
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    1          (Jury exits at 12:25 p.m.)

    2               THE COURT:   All right, everyone.    Please be seated.

    3    Briefly, before we excuse everyone else for lunch, I believe

    4    that my lineup then this afternoon would be the shorter

    5    witnesses first, C.N., and P.W.      I believe that's N. and Wulf;

    6    am I correct in that?

    7               MS. DE BOER:    That's correct, Your Honor.

    8               THE COURT:   All right.   So we will tackle those two

    9    witnesses, and then hopefully if that is relatively short, we

   10    can begin with Mr. Ramamurthy later this afternoon.         All right?

   11               MS. DE BOER:    Very good, Your Honor.

   12               THE COURT:   Okay.   Anything else before I let everybody

   13    go for lunch?

   14               MR. RAFFERTY:   One housekeeping matter, Your Honor.      I

   15    think I accidentally used a beneficiary's name from time to

   16    time, and I just would ask, I assume the government will join

   17    me in having their names redacted in some form in the

   18    transcript.

   19               THE COURT:   Correct.   And I'm assuming the government

   20    is on board with that as well.

   21               MS. DE BOER:    Yes, and we've spoken with the court

   22    reporter about that.

   23               THE COURT:   Yeah.   I figured Ilona would know.    No

   24    worries.    It happens.    We'll make sure we excise that.

   25               MR. RAFFERTY:   Thank you.
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                                     260                                      110


    1              MS. DE BOER:   Your Honor, just to confirm, after the

    2    second patient witness, we'll break.

    3              THE COURT:   Yes.   So the goal would be to do the two

    4    patient witnesses, break, restroom, get the next witness on the

    5    stand, and then I will check with Mr. Ramamurthy at that time

    6    regarding any concerns with diabetes, et cetera.        And then

    7    we'll bring in the jury, and we'll start with him.

    8              MS. DE BOER:   Okay.   Thank you.

    9              THE COURT:   All right.   We'll see each other about a

   10    quarter before 2:00 o'clock, 1:45.      You've got about an hour

   11    and 15.   We're in recess.

   12          (Court recessed at 12:27 p.m.)

   13          (Back on the record at 2:17 p.m.)

   14              THE COURT:   Let's go ahead and get our jurors.      Thank

   15    you, guys.

   16              THE COURT SECURITY OFFICER:     All rise.

   17          (Jury enters at 2:18 p.m.)

   18              THE COURT:   Please be seated, everyone.      Welcome back,

   19    ladies and gentlemen of the jury.      I hope you had a nice lunch

   20    break.    We're going to pick up where we left off, turn it back

   21    to the government so they can call the next witness.         All

   22    right?

   23              Government's next witness, please.

   24              MS. GURSKIS:   Thank you, Your Honor.     The United States

   25    calls C.N.
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                                     260                                      111


    1                THE COURT:   Come on up, Ms. N.     Make your way up here

    2    and we'll swear you in.

    3                THE COURTROOM DEPUTY:    Please raise your right hand.

    4          (Government witness, C.N., duly sworn.)

    5                THE COURTROOM DEPUTY:    Please be seated.    Speak into

    6    the microphone.     Say and spell your name for the record.

    7                THE WITNESS:    C.N., C-x-x-x-x-x-x, N-x-x.

    8                               DIRECT EXAMINATION

    9    BY MS. GURSKIS:

   10    Q.   Good afternoon, Ms. N.       What do you currently do for a

   11    living?

   12    A.   I am retired, but I do a little part-time job where I sit

   13    and educate patients.

   14    Q.   What did you do prior to your retirement?

   15    A.   My career was in the cardiac cath lab.

   16    Q.   Where do you reside?

   17    A.   Palm City, Florida.

   18    Q.   Were you married to D.N.?

   19    A.   Yes.

   20    Q.   Where does Mr. N. currently reside?

   21    A.   At the Cabanas which is an assisted living in Jensen Beach,

   22    Florida.

   23    Q.   Is Mr. New a Medicare beneficiary?

   24    A.   Yes.

   25    Q.   Are you involved in Mr. N.'s healthcare?
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    1    A.   Yes.

    2    Q.   Why is that?

    3    A.   I'm just the one that has always taken care of him.         We --

    4    we're married 38 years.

    5    Q.   Does he have some health issues that he's dealing with

    6    right now?

    7    A.   Oh, yes.

    8    Q.   Can you be a little more specific?

    9    A.   Well, he has several health issues, like diabetes and stuff

   10    like that, but he also has frontotemporal lobe dementia.

   11    Q.   What is frontotemporal lobe dementia?

   12    A.   It affects personality and judgment.

   13    Q.   Before Mr. N. moved to the assisted care facility, was his

   14    dementia effecting your day-to-day life with him?

   15    A.   Oh, yes.

   16    Q.   Can you explain that?

   17    A.   Frontotemporal lobe dementia affects personality and

   18    judgment, and basically it also presents almost like an

   19    addiction.   The person seems normal, but they focus on

   20    something that -- it can be overeating.       It can be gambling.

   21    For him, it was money or making money or any way to get rich

   22    fast.

   23    Q.   Do you know if Mr. N. ever received calls from

   24    telemarketers?

   25    A.   Nonstop, constantly, enough where I had to unplug the house
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    1    phone.

    2    Q.   You had to unplug the house phone; is that what you said?

    3    A.   Oh, yes.   Oh, yes.

    4    Q.   Do you recall any relating to healthcare items in

    5    particular?

    6    A.   Yes, many.

    7    Q.   What do you remember about those calls?

    8    A.   I know that he received several knee braces, back braces,

    9    neck braces, and some kind of cancer something, screening, or

   10    cancer test to tell him he did or did not have cancer or would

   11    or would not get it.

   12    Q.   Okay.    And that cancer test, do you recall when that was?

   13    A.   It was, I would say late '17 or early '18, but

   14    specifically, like, a date or -- no.

   15    Q.   Okay.    And that test was -- came from a call from a

   16    telemarketer?

   17    A.   I can't absolutely say it was a phone call.       It could have

   18    been a mailing or an email.     But I believe it was a phone call.

   19    Q.   Did Mr. N. ever tell you what he thought the test did?

   20    A.   Oh, yes.   It was gonna tell him if he had cancer or was

   21    going to get cancer.

   22    Q.   Do you know if Mr. N. ever received a phone call about his

   23    test results?

   24    A.   Well, he told me -- I don't know if it was a phone call,

   25    but he received his results, and he would not ever be getting
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    1    cancer.

    2    Q.   Did you see any paper document that said that?

    3    A.   No, I did not.

    4    Q.   Given your sense of involvement in Mr. N.'s healthcare, do

    5    you know all the doctors who treat Mr. N.?

    6    A.   Yes, I do.

    7    Q.   Is that because you bring him to his appointments?

    8    A.   Yes, I do.

    9    Q.   Has Mr. N. ever been treated by a doctor named Juan Sigh?

   10    A.   Not that I was involved with.

   11    Q.   Has Mr. N. ever had cancer?

   12    A.   No.

   13               MS. GURSKIS:    No further questions.

   14               Thank you, Your Honor.

   15               THE COURT:   Thank you.   Cross-examination?

   16               MR. RAFFERTY:   No questions, Your Honor.     Thank you,

   17    ma'am.

   18               THE WITNESS:    Thank you.

   19               THE COURT:   Thank you, Ms. N.   That's it.    You're free

   20    to go.

   21               Government's next witness.

   22               MR. RAFFERTY:   Your Honor, could I have a moment?

   23               THE COURT:   Sure.

   24               MS. ROOKARD:    Thank you, Your Honor.   The government

   25    calls P.W.
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                                     260                                      115


    1             THE COURT:     All right.   Ms. W., make your way up, and

    2    we'll swear you in.

    3          (Government witness, P.W., duly sworn.)

    4             THE COURT:     The government may proceed when you're

    5    ready.

    6             MS. ROOKARD:    Thank you, Your Honor.

    7             At this time, the government moves Exhibit 408-C into

    8    evidence.

    9             THE COURT:     Any objection?

   10             MR. RAFFERTY:    No objection.

   11             THE COURT:     All right.   That will be admitted.    408-C

   12    is in evidence.

   13             Go ahead.

   14          (Government Exhibit 408-C was received in evidence.)

   15                            DIRECT EXAMINATION

   16    BY MS. ROOKARD:

   17    Q.   Good afternoon, Ms. W.

   18    A.   Hello.

   19    Q.   Ms. W., where do you live?

   20    A.   Odessa, Florida.

   21    Q.   And what do you do for work?

   22    A.   I'm retired.

   23    Q.   And what did you do for work before you retired?

   24    A.   I was a security guard.

   25    Q.   And about when did you retire?
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    1    A.     About 20 years ago.

    2    Q.     And what kind of insurance do you have?

    3    A.     I have Medicare and Blue Cross/Blue Shield.

    4    Q.     And how long have you had that?    How long have you had

    5    Medicare?

    6    A.     Since I was 62, so that would be 12 years.

    7    Q.     Okay.   And so you had Medicare in 2018?

    8    A.     Yes.

    9    Q.     And turning to cancer genetic testing, what knowledge, if

   10    any, do you have about what cancer genetic testing is?

   11    A.     None.

   12    Q.     And was there a time when you came to learn about it at

   13    all?

   14    A.     Not really, no.

   15    Q.     Turning your -- turning to 2018, was there a time that you

   16    attended a senior exposition?

   17    A.     Yes, I did.

   18    Q.     And when was that?

   19    A.     June of 2018.

   20    Q.     And where did that take place?

   21    A.     Jacksonville, Florida.

   22    Q.     And what was the setup there?

   23    A.     It was a senior expo.    So you would go in, get your blood

   24    pressure taken, see what shoe soles you could have,

   25    chiropractor information.
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    1    Q.   And did you speak to anyone at that exposition?

    2    A.   Yes.

    3    Q.   Who did you speak to?

    4    A.   Well, when I took that saliva test.

    5    Q.   And when you say "that saliva test," you -- did you speak

    6    to someone at a booth at the fair?

    7    A.   Oh, at the booth, yes.

    8    Q.   And what did the person at the booth tell you?

    9    A.   I was walking --

   10                MR. RAFFERTY:   Your Honor, I'm going to object at this

   11    time.   Hearsay.

   12                THE COURT:   Sustained.

   13                Go ahead.

   14    BY MS. ROOKARD:

   15    Q.   What did you speak to the person in the booth about?

   16    A.   Well, I was walking past the booth and he stopped me and he

   17    said, would you like to see -- find out if you have cancer.

   18    All you have to do is spit in the tube.

   19                MR. RAFFERTY:   Your Honor, same objection.

   20                THE WITNESS:    Am I saying it wrong?

   21                THE COURT:   No.   Ms. W., you're doing nothing wrong.

   22    You're doing just fine.        Let's go ahead and move on from that.

   23    That's going to be sustained.         But let's not talk about what

   24    anybody told us outside of court.

   25                That's all right.    Go ahead.
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    1    BY MS. ROOKARD:

    2    Q.    Ms. W., did you take a test at that time?

    3    A.    Yes.

    4    Q.    What kind of test was that?

    5    A.    I had to spit in a tube.

    6    Q.    And you spit in a tube and handed it back to someone?

    7    A.    Yes.

    8    Q.    And what was your understanding of what that was going to

    9    do?

   10    A.    To see if I had -- it was a test to see if I had cancer.

   11    Q.    And did you speak to a medical professional there?

   12    A.    No.

   13    Q.    And did you have cancer at that time?

   14    A.    No.

   15    Q.    And did you make a payment at that time?      Did you pay for

   16    the test?

   17    A.    No.

   18    Q.    What was your understanding of if it would cost you any

   19    money?

   20    A.    I don't really remember that part.

   21    Q.    And do you recall receiving results of that test?

   22    A.    Yes, I got a letter a few weeks later.

   23    Q.    And what -- you received it how?

   24    A.    In the mail.

   25    Q.    Okay.
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    1                MS. ROOKARD:    At this time, could we publish 408-C?

    2                THE COURT:   There's no objection to that.    It's in

    3    evidence.     We can publish that.

    4                MR. RAFFERTY:   No objection.

    5    BY MS. ROOKARD:

    6    Q.   Ms. W., do you recognize this?

    7    A.   Yes.

    8    Q.   And what is this?

    9    A.   That's the letter I received.

   10    Q.   That you were just describing?

   11    A.   Yes.

   12                MS. ROOKARD:    Ms. Puntillo, could you zoom in on the

   13    top section?

   14    BY MS. ROOKARD:

   15    Q.   Do you know what this is, Lotus Health and Wellness?

   16    A.   Never seen that before until I got the letter.

   17                MS. ROOKARD:    Ms. Puntillo, could we go to the second

   18    page?   Could we go -- I'm sorry.      And blow up the top section,

   19    please.

   20    BY MS. ROOKARD:

   21    Q.   And where it says LabSolutions at the top, do you know what

   22    that is?

   23    A.   Never seen that before until the letter.

   24    Q.   And where it says on the left side, physician, what does

   25    that say?
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    1    A.   Farah Chaka.

    2    Q.   Do you know who that is?

    3    A.   Never -- no.

    4    Q.   Is that your doctor?

    5    A.   No.

    6    Q.   Has that ever been your doctor?

    7    A.   No.

    8               MS. ROOKARD:   And could we go to the middle section?

    9    BY MS. ROOKARD:

   10    Q.   And can you -- what does the top line of this say?

   11    A.   Variant of uncertain significance detected.

   12    Q.   And did you understand what this meant?

   13    A.   Not really.

   14    Q.   Did anyone -- the doctor or someone set up an appointment

   15    with you to explain what this meant?

   16    A.   No.

   17    Q.   A doctor?

   18    A.   No.

   19    Q.   A genetic counselor?

   20    A.   No.

   21               MS. ROOKARD:   Ms. Puntillo, could you go to the rest of

   22    the page?

   23    BY MS. ROOKARD:

   24    Q.   Did you understand what any of this meant?

   25    A.   No.
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                                     260                                      121


    1                MS. ROOKARD:    Could we go to the next page quickly?

    2    BY MS. ROOKARD:

    3    Q.    What about any of -- any of this?

    4    A.    No.

    5    Q.    Ms. W., did you speak to anyone at all about your results?

    6    A.    I brought this piece of paper to my diabetic doctor, and he

    7    looked at it and said I have no idea what it is.

    8                MR. RAFFERTY:   Your Honor, again, objection.

    9                THE COURT:    Ladies and gentlemen, I'm going to sustain

   10    it.   But just so we're clear, any out-of-court statements are

   11    not being offered here presumably for the truth of the matter

   12    asserted, correct?

   13                MS. ROOKARD:    Correct.

   14                THE COURT:    They're being offered to show the state of

   15    mind of the witness as to why she would spit in a tube or take

   16    any another action.

   17                Do you all understand?

   18                THE JURORS:    Yes.

   19                THE COURT:    All right.   Let's proceed.

   20    BY MS. ROOKARD:

   21    Q.    Did your doctor use your results in your care at all?

   22    A.    No.

   23    Q.    Did any doctor use your results at all?

   24    A.    No.

   25    Q.    And have you had cancer?
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    1    A.     No.

    2                 MS. ROOKARD:    Thank you.   I have no further questions.

    3                 MR. RAFFERTY:   No questions, Your Honor.

    4                 THE COURT:   Thank you, Ms. W.     you're free to go.

    5                 Ladies and gentlemen of the jury, what I would like to

    6    do at this time is I want you all to leave your notepads at

    7    your chairs.      There is going to be a brief break, but the next

    8    witness may be a little lengthier.         So I want you to all make

    9    sure that if you need to use the restroom that you use it now,

   10    so we don't break up any flow.         Okay?

   11                 We're going to come right back out.      Don't stray too

   12    far.    We'll be on to our next witness in just a moment.

   13                 You are excused.

   14                 THE COURT SECURITY OFFICER:       All rise.

   15            (Jury exits at 2:32 p.m.)

   16                 THE COURT:   All right.   Our next witness should be

   17    Mr. Ramamurthy; is that correct?

   18                 MS. DE BOER:    Yes, Your Honor.

   19                 THE COURT:   Do we have Mr. Ramamurthy here?

   20                 THE COURT SECURITY OFFICER:       Yes, Your Honor.   He's

   21    here.

   22                 THE COURT:   If we could escort Mr. Ramamurthy to the

   23    witness stand, please.

   24                 THE COURT SECURITY OFFICER:       Not a problem.

   25                 THE COURT:   Thank you, guys.     I appreciate your help on
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    1    this one.

    2              MR. RAFFERTY:   Your Honor, do we have a minute to step

    3    out?

    4              THE COURT:   Absolutely.   Go ahead while I get him set

    5    up, guys.

    6           (Court recessed at 2:33 p.m.)

    7           (Back on the record at 2:41 p.m.)

    8              THE COURT:   Let's see if our jurors are ready.

    9              THE COURT SECURITY OFFICER:     All rise.

   10           (Jury enters at 2:41 p.m.)

   11              THE COURT:   Please be seated, everyone.      All right.

   12    Ladies and gentlemen, we're going to turn it back to the

   13    government for our next --

   14              THE COURT SECURITY OFFICER:     Your Honor, we're missing

   15    one.

   16              THE COURT:   Oh, that's right.    Thank you, guys.     You

   17    guys are changing your seating arrangements during the day, so

   18    it's getting harder to see when you're all here.

   19              Now we have everybody.     Okay, folks.   So we'll turn it

   20    back to the government for our next witness, who has already

   21    taken the stand.

   22              Next witness.

   23              MS. GURSKIS:    Thank you, Your Honor.

   24              The Government calls Senthil Ramamurthy.

   25           (Government witness, SENTHIL RAMAMURTHY, duly sworn.)
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    1                             DIRECT EXAMINATION

    2    BY MS. GURSKIS:

    3    Q.   Good afternoon, Mr. Ramamurthy.

    4    A.   Good afternoon.

    5    Q.   How are you?

    6    A.   Very good.

    7    Q.   Where did you go to school?

    8    A.   I'm from Texas.

    9    Q.   How far did you go in school?

   10    A.   I dropped out of my fourth year of med school.

   11    Q.   Did you complete any residencies or clinical rotations when

   12    you were in medical school?

   13    A.   Yes, I did.

   14    Q.   And what was that?

   15    A.   I did a few clinical rotations, psychiatry, family

   16    medicine, surgery, a handful of rotations.

   17    Q.   Did you see patients during those rotations?

   18    A.   I saw patients during most of my rotations, except -- with

   19    the exception of when I was working in my psychiatry rotation

   20    for Compass Health Systems.

   21    Q.   And what were you doing during that psychiatry rotation

   22    that was not related to patient care?

   23    A.   Well, for a week I saw patients, and then afterwards the --

   24    my professor told me to work on the fourth floor, on the

   25    administrative level, where they do business development.         And
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    1    basically I was just coming up with ideas for Compass Health to

    2    make more money.

    3    Q.   And did that involve marketing particular products?

    4    A.   Yes.    I was working under John Schulte, who was an

    5    administrator there on the fourth floor, and we started

    6    throwing around ideas for marketing compounds and various types

    7    of genetic tests.

    8    Q.   And very briefly, Mr. Ramamurthy, what are compounds?

    9    A.   Compounds are customized creams with medication in them.

   10    It could be, like, a cyclobenzaprine for your back pain or it

   11    could be for a wound cream or a scar cream.

   12         They were supposed to be customized, but the ones that we

   13    marketed weren't really that customized.       They were more mass

   14    produced.

   15    Q.   And what did you do for a living after not returning to

   16    medical school?

   17    A.   I marketed pharmaceutical products including compounding

   18    and genetic testing.

   19    Q.   For approximately how many years did you work in that

   20    medical marketing field?

   21    A.   About three years.

   22    Q.   And that was roughly when?

   23    A.   This was 2015 onwards.

   24    Q.   Okay.   Where do you currently reside?

   25    A.   FDC Miami Prison.
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    1    Q.   Is that because you pled guilty to a crime?

    2    A.   This is correct.

    3    Q.   What did you plead guilty to?

    4    A.   Conspiracy to commit healthcare fraud.

    5    Q.   Did you admit to specific conduct when you pled guilty?

    6    A.   I did.

    7    Q.   Can you tell us in a couple of sentences what you did to

    8    violate the law?

    9    A.   Well, we marketed these very overpriced compounds and

   10    genetic tests to vulnerable populations, to poor people, to

   11    people who really -- there wasn't much of a resistance to

   12    market these products to, and we used telemedicine to get

   13    doctors to kind of just get as many prescriptions done as

   14    possible.     We billed a lot of money, so a lot of money, and

   15    took advantage of a lot of people.

   16    Q.   And the money that you're talking about, was there a

   17    particular health insurance or health insurance programs that

   18    were billed?

   19    A.   Medicare, Medicaid, TriCare, some private insurance.         But

   20    mostly government insurance.

   21    Q.   What was the company or entity that you worked for that was

   22    involved in that guilty plea?

   23    A.   Many companies.    As in the compounding, in the testing,

   24    in...

   25    Q.   Did you have a company?
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    1    A.   Oh, yeah.    I had a company called -- excuse me --

    2    SKR Services and Ventures, another one called Q Health

    3    Services.

    4    Q.   And what type of company were Q Health Services and

    5    SKR Ventures?

    6    A.   Pharmaceutical marketing.     We had contracts with many

    7    different vendors, laboratories, pharmacies, et cetera.

    8    Q.   Do you see anyone in the courtroom today who participated

    9    in that scheme with you?

   10    A.   Yes, I do.

   11    Q.   Can you identify that person based on an article of

   12    clothing he or she is wearing?

   13    A.   It's like a light blue shirt, grey suit.

   14             MS. GURSKIS:    May the record reflect that the witness

   15    has identified the defendant.

   16             THE COURT:    The record will reflect it.

   17    BY MS. GURSKIS:

   18    Q.   And I'm sorry.    What is the name of the person in the light

   19    blue shirt and grey suit?

   20    A.   His name is Minal Patel.

   21    Q.   Can you give us a two-or-three-sentence description of what

   22    Minal Patel did to further the scheme?

   23    A.   The genetic testing was Minal's brain child.        This was what

   24    he wanted.   This is what he figured out.      This is what he put

   25    together.    And he found the people that he needed to execute
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    1    his plan.    He was the architect of this whole thing.

    2    Q.   Are you testifying today pursuant to a plea agreement with

    3    the government?

    4    A.   I am.

    5    Q.   Have you agreed to cooperate with the government for that

    6    plea agreement?

    7    A.   I have.

    8    Q.   Have you promised to tell the truth if called to testify?

    9    A.   Yes, I have.

   10    Q.   Has the government or any government representative

   11    promised you anything in exchange for your testimony today?

   12    A.   No, they have not.

   13    Q.   Have you been sentenced for your crime?

   14    A.   I have.

   15    Q.   Did your plea agreement say that the government may make

   16    recommendations about a potential reduction in your sentence?

   17    A.   Yes.

   18    Q.   Is it fair to say you're hoping to receive a reduction in

   19    your sentence in exchange for your testimony today?

   20    A.   This is fair to say.

   21    Q.   Who will ultimately decide if your sentence does get

   22    reduced?

   23    A.   Only my judge.

   24    Q.   All right.   Let's move back to the genetic testing that you

   25    were mentioning a moment ago, Mr. Ramamurthy.
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    1         Approximately when did you first learn about genetic

    2    testing?

    3    A.   In 2015, John Schulte kept on telling me about PGx testing

    4    and pharmacogenomic testing.      He had a lab.   This is when I was

    5    in my clinical rotations.     And then, I guess a few months

    6    later, he discovered a lab in New Jersey, and we tried to send

    7    samples there, but none of them went through.

    8         And then in the summer of 2016, I had gotten a call from

    9    another friend of mine in the industry named Brett, and he told

   10    me that he had found a laboratory that was able to do the

   11    genetic testing, and he --

   12    Q.   Okay.   Let's just stop there for a moment.      You say Brett.

   13    Does Brett have a last name?

   14    A.   Brett Hirsch.

   15    Q.   Okay.   And you said this was in mid 2016?

   16    A.   Yes.

   17    Q.   Okay.   And you were about to say that -- I think you were

   18    talking about Mr. Hirsch calling you or reaching out to you?

   19    A.   Yes.    He gave me a call, and he said it was very urgent.

   20    He told me to fly to New York immediately.        So I hopped on a

   21    plane, and I met him at the Waldorf Hotel.        I had a suite

   22    there.   And Brett came to the meeting.      It was a very short

   23    meeting.

   24         He showed me what's called an EOB, an Explanation of

   25    Benefits.    It is basically like a receipt for what Medicare has
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    1    paid for, for something, right?      And I was going through it

    2    with Brett, and it had various gene markers on it, like BRCA,

    3    K-RAS, PTEN.    These are all different like alleles on your gene

    4    that you can test for, for some kind of mutation that could

    5    lead to cancer.

    6         And it was a list of all these different codes.        And next

    7    to it was a dollar amount, next to every single one.         And all

    8    the way at the bottom, I saw it said like $9,000, and I was,

    9    like, shocked.    I was, like, flabbergasted.     And I asked Brett

   10    about this.    And he was, like, yes, this is true.      It's a

   11    saliva sample.    We're making nine G's on it.      You need to go

   12    meet the guy who owns this laboratory.       The whole thing works.

   13    His name is Minal.    Go fly to Atlanta.

   14    Q.   Okay.    And how did you meet Mr. Hirsch initially?

   15    A.   I met him through John Schulte, back when I was doing

   16    compounding.    They kind of all ran in the same circle.

   17    Q.   Did Mr. Hirsch have a business partner who he worked with?

   18    A.   Yes, Keith Youngswick.

   19    Q.   Did you also interact with Mr. Youngswick?

   20    A.   I did, but to a more limited capacity.

   21    Q.   Okay.    Did you ultimately travel to see this lab, like

   22    Brett Hirsch had recommended?

   23    A.   I did, just a couple of days later.

   24    Q.   When did you first meet Minal Patel?

   25    A.   When he picked me up from the airport.
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    1    Q.   Can you describe that first meeting with Minal Patel?

    2    A.   Yeah.    He picked me up from the airport.     He had an Aston

    3    Martin Carbon Fiber.     It was very nice.    And we were driving

    4    around.     He was talking on like two cell phones at the same

    5    time, like, driving all over the place.

    6         And we got to his condo, and he confirmed to me, you know,

    7    that, yes, he's got a lab, it all functions, everything is

    8    billing, it all works.     So he said, I'll show you the lab

    9    tomorrow.

   10    Q.   When you say "everything is billing, it all works," what is

   11    the "it" that you're referring to?

   12    A.   Money, like it works.     You can get a sample from somebody,

   13    you can bill Medicare, and you can make $9,000 on it.

   14    Q.   What type of test on that sample?

   15    A.   This is a cancer hereditary test.       It will test for your

   16    propensity to get cancer based upon your family history of

   17    cancer.

   18    Q.   Did Mr. Patel say anything to you about how he got his

   19    start in genetic testing?

   20    A.   Yes.    He told me his origin story.    He had spinal surgery

   21    at some point, and then when he got the bill for his lab work

   22    during the surgery, it was, like, expensive.        It surprised him.

   23    So he decided to sell one of his hotels or motels, and he made

   24    a laboratory, and then eventually he bought the space that

   25    became LabSolutions that I visited.
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    1    Q.   Was the ride in the Aston Martin the only contact that you

    2    had with Minal Patel on that first trip to Atlanta?

    3    A.   No.   I was staying at his house, at his condo, yeah.

    4    Q.   And did you ever visit the lab?

    5    A.   I visited the lab the very next day.

    6    Q.   And did you meet anybody -- meet with anybody at the lab?

    7    A.   I did.    I met with a guy named Nicholas Vartanian, and

    8    later that evening I met someone named Omar, at his house.         I

    9    don't remember if Omar was at the initial meeting of the

   10    laboratory that day, but I interacted with Omar numerous times

   11    at the laboratory thereafter.

   12    Q.   Okay.    Who is Nicholas Vartanian?

   13    A.   He worked at LabSolutions.     I believe he was in charge of

   14    the billing.

   15    Q.   Did you have any meetings or discussions with Minal Patel

   16    and Nicholas Vartanian on that first lab visit?

   17    A.   Yes, I did.

   18    Q.   What did you talk about?

   19    A.   We talked about basically how this thing works.        We talked

   20    about billing, because that was kind of Nicholas' thing.         And

   21    Minal introduced us.     And Nicholas kind of broke it down.

   22    There was -- there was, like, a whiteboard in his office, and

   23    it had a bunch of codes on it.      These are what are called

   24    ICD-10 codes.    It's diagnosis codes, like, a patient has some

   25    kind of thing.     They got a cold, they have a flu, they have
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    1    psoriasis.    Every disease out there has an ICD-10 code.       It's

    2    how you bill things.     So they had figured out a way to make

    3    sure everything always goes through for these tests.

    4    Q.   And when you say "they," who are you referring to?

    5    A.   Minal and Nicholas Vartanian.

    6    Q.   And when you say that Minal Patel and Nicholas Vartanian

    7    figured out a way to make things go through for a test, can you

    8    be a little more specific about what you mean?

    9    A.   Like, I guess the best way to describe it is ICD-10 code

   10    hacking.    Like you will take the codes, like, some set of

   11    codes, and try to bill Medicare for the test.

   12         And then, depending on whether it works or not, they you

   13    reverse out the charges.     And then you try a different set of

   14    codes.    You keep doing this pilot testing until you come up

   15    with a list of codes that will always go through.        And Medicare

   16    is like a robot.    It just spits out money.

   17    Q.   You mentioned Medicare.     Did you have any discussion with

   18    Mr. Patel and Mr. Vartanian about any other health insurance

   19    program?

   20    A.   Medicaid and Blue Cross to, like, a lesser degree.        They

   21    were really interested in the Medicare and Medicaid samples,

   22    though.

   23    Q.   Did you discuss anything with Mr. Patel and Mr. Vartanian

   24    other than billing codes on that first visit?

   25    A.   Yes.    We talked about marketing strategy.
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    1    Q.   What marketing strategies did you discuss?

    2    A.   Well, there were a few things that I was directed to do as

    3    far as my company.    Minal had asked us to do a couple of

    4    things.

    5         The first was, he wanted samples from my mom, because my

    6    mom's a doctor, so he wanted all the samples from her office.

    7         The second thing is that he wanted -- he wanted to collect

    8    samples from, I guess, poor communities in Georgia or the

    9    Atlanta metropolitan area.     There's, like, a thing where people

   10    have prepaid cell phones.     Like, they get them free from the

   11    government if you're low income, and there are people that hand

   12    out those cell phones in those area, right?       So he wanted us to

   13    hire those marketers, and as they were passing out the cell

   14    phones, he wanted them to also collect saliva samples.

   15    Q.   Did you --

   16    A.   I'm sorry.   Did I say that clear?     I feel like I was

   17    stumbling or something.     Was I clear on that or --

   18    Q.   I think -- I believe that you stated that one of the

   19    marketing strategies that was being employed -- or was

   20    recommended to you by Mr. Patel and Mr. Vartanian was some sort

   21    of low-income, free cell phone business model.

   22         Is that what you were saying?

   23    A.   Yes, except it was not recommended.      I was ordered to do

   24    this.

   25    Q.   Okay.
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    1    A.    He was, like, this is what I need.     I need your mom's

    2    samples.     I need you to get a team out there, in Georgia, hit

    3    the ground, get those samples from poor people, with the

    4    prepaid cell phone hustle.

    5    Q.    And other than the prepaid cell phone hustle, as you

    6    described it, were there any other marketing strategies or

    7    locations that you discussed with Mr. Patel and Mr. Vartanian

    8    about where you could obtain samples?

    9    A.    Yes, older people, because Medicare is typically older

   10    people.      So he said, go to, like, bingo halls, nursing homes,

   11    adult day cares, anyplace that old people kind of congregate.

   12    Q.    And you mentioned your mother, Mr. Ramamurthy.       What does

   13    your mother do for a living?

   14    A.    She was a geriatrician; takes care of old people.

   15    Q.    Did you share that information with Mr. Patel during that

   16    initial meeting?

   17    A.    Yes.

   18    Q.    What type of patients did your mother primarily take care

   19    of?

   20    A.    Medicare patients.

   21    Q.    Did you ultimately start working with LabSolutions?

   22    A.    Yes, immediately.

   23    Q.    Did you end up getting your mother involved?

   24    A.    I did.

   25    Q.    How exactly did that come about?
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    1    A.   Well, I pitched her this test, and she said that she would

    2    do it for me.    So she did it for her patients.      And those are

    3    among the first samples that were collected, yeah.

    4             MS. GURSKIS:    Your Honor, may I approach the witness?

    5             THE COURT:    You may.

    6             MS. GURSKIS:    I just handed the defendant what's been

    7    marked for identification as Government's Exhibit 450.

    8    BY MS. GURSKIS:

    9    Q.   Mr. Ramamurthy, do you recognize this document?

   10    A.   I do.

   11    Q.   What is it?

   12    A.   This is a provider's preferred order form.       This basically

   13    signs up a physician's office and registers it with the

   14    laboratory so that now they are able to submit samples.

   15    Q.   And it relates to who -- which provider?

   16    A.   My mother and my father.

   17             MS. GURSKIS:    The government now moves to admit

   18    Government Exhibit 450.

   19             THE COURT:    Any objection?

   20             MR. SADOW:    Can we have the date on that, please?

   21             MS. GURSKIS:    September 22nd.

   22             THE COURT:    Yeah, September 22nd.

   23             MR. SADOW:    No objection.

   24             THE COURT:    All right.   That will be admitted at this

   25    time.
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    1                MS. GURSKIS:   Thank you, Your Honor.   May I publish it

    2    to the jury?

    3                THE COURT:   You may.

    4          (Government Exhibit 450 was received in evidence.)

    5    BY MS. GURSKIS:

    6    Q.   So, Mr. Ramamurthy, you were starting to describe this

    7    document.     I believe you said it was a preferred provider form?

    8    A.   Yes.

    9    Q.   Did you use this document in your business with Mr. Patel?

   10    A.   Yes.

   11    Q.   What was the purpose of it?

   12    A.   This will register you with the laboratory and will

   13    initiate the lab to send out kits to the office to begin

   14    collection.

   15    Q.   Do you recall if you ever signed a contract with

   16    LabSolutions, Mr. Ramamurthy?

   17    A.   I did.

   18                MS. GURSKIS:   Your Honor, may I approach the witness?

   19                THE COURT:   You may.

   20                MS. GURSKIS:   I'm showing the witness what has been

   21    marked for identification as Government's Exhibit 665 and

   22    665-A.

   23    BY MS. GURSKIS:

   24    Q.   Mr. Ramamurthy, do you recognize the documents that I just

   25    handed you?
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    1    A.   Yes, I do.

    2    Q.   What are they?

    3    A.   It's the contract that was signed between my company and

    4    Minal's company.

    5    Q.   Okay.    And what is the first document that's in front of

    6    it, 665?

    7    A.   Let's see.    It says DocuSign.      Then it goes through, and it

    8    says Laboratory Sales Representative Distribution Agreement.

    9    Q.   Okay.    Is the first document the transmittal email for the

   10    contract?

   11    A.   Yes.

   12    Q.   And what is the date on it?

   13    A.   The date is 11/1/2016.

   14                MS. GURSKIS:   Your Honor, the government moves to admit

   15    Government's Exhibits 665 and 665-A.

   16                THE COURT:   Any objection?

   17                MR. SADOW:   No objection.

   18                THE COURT:   Thank you.   That'll be admitted.

   19          (Government Exhibits 665 and 665-A were received in

   20         evidence.)

   21                MS. GURSKIS:   May I publish it to the jury, Your Honor?

   22                THE COURT:   You may.

   23    BY MS. GURSKIS:

   24    Q.   So, Mr. Ramamurthy, this is the agreement that you said

   25    that you signed with LabSolutions; is that right?
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    1    A.   That is right.

    2         Is this page 5?

    3    Q.   It is, Mr. Ramamurthy --

    4    A.   Okay.

    5    Q.   -- No. 8.

    6         What does Section 8 on page 5 state?

    7    A.   Section 8, indemnification --

    8    Q.   It should be up on the screen for you, Mr. Ramamurthy.

    9    A.   Oh, I'm sorry.

   10    Q.   I'm sorry.    Section G.   I apologize.

   11    A.   Section G.    Sales rep represents that neither sales rep nor

   12    any immediate family members are in a position to refer or

   13    influence the referral of testing services to laboratory other

   14    than through the provision of the duties, responsibilities, and

   15    services in accordance with the terms of this agreement.

   16    Q.   Is that true?    Did you follow that provision?

   17    A.   No.    I got samples from my mom.

   18    Q.   Did Mr. Patel know you were getting samples from your mom?

   19    A.   Absolutely.

   20    Q.   Did you ever discuss -- you mentioned that your mom had a

   21    geriatric practice.    Did you ever discuss marketing to other

   22    types of physicians with Mr. Patel?

   23    A.   Yes.    Primary care physicians.    Really any physician -- any

   24    physician who would be interested in marketing -- interested in

   25    using this test.
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    1         So I hired some direct-to-physician marketers.        I guess you

    2    would call them traditional pharma reps.

    3    Q.   Did you ever discuss marketing to oncologists or oncology

    4    practices?

    5    A.   Yes.    Yeah.    I didn't manage to get any, though.    But that

    6    wasn't -- really, he wanted the primary care physicians more,

    7    yeah.

    8    Q.   Did you discuss with Mr. Patel what types of tests in

    9    particular would be offered or what genes in particular would

   10    be tested?

   11    A.   Yeah.    There was -- there were a lot of different genes

   12    there, but when it came down to the genes, you know, it could

   13    be considered, like, a menu of different options.        Really, he

   14    wanted everything to be the whole menu.       And you call that,

   15    like, a bundle.      It's a comprehensive panel.    This will cover

   16    all the genes.       And that's what they wanted.

   17         That's what he wanted at the lab.      That's what Nicholas

   18    wanted.     They wanted as many comprehensive panels done as

   19    possible.

   20    Q.   Aside from that initial conversation about the paneling --

   21    the bundling of the tests, did you have other conversations

   22    with Mr. Patel about tests for particular genes?

   23    A.   Yes.    The BRCA gene is the most expensive.     BRCA is the

   24    gene that will detect a propensity for breast cancer and

   25    ovarian cancer.      And I think that was, like -- that gene alone
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    1    is, like, $3,000.    So they really wanted that gene to be

    2    included in any order.

    3    Q.   When you say they really wanted that gene to be included

    4    with each order, who are you talking about?

    5    A.   Minal and the laboratory administrators.

    6    Q.   Earlier you mentioned you also met somebody named Omar on

    7    that first trip to LabSolutions.

    8         What role did Omar have at LabSolutions?

    9    A.   Omar used to work at another lab.      He had lab experience in

   10    the field.    And he was the one that knew that this test

   11    actually worked.    He used to work at another lab, where they

   12    got the billing done right, and then Minal brought him over to

   13    his lab.     So he knew the business.

   14         Beyond that, I don't know what he did because I only met

   15    him a couple of times.     After about a month, he was let go.      So

   16    when I would go visit Atlanta, he wasn't there anymore.

   17    Q.   And thinking back to that first trip, when Omar was still

   18    working at LabSolutions, did you have any meetings with Omar

   19    and Minal Patel during that trip?

   20    A.   Yes, I did.

   21    Q.   Did you discuss anything in particular at those meetings or

   22    at that meeting --

   23    A.   I --

   24    Q.   -- if you can recall?

   25    A.   Yeah.    I had a hotel at one time, and it was Omar and
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    1    Nicholas that were there.     And I asked them, well, how many

    2    samples can I put in?     Like, how many do you want?     And they

    3    said, don't worry about it.     Send in as many as you want.      And

    4    I said, well, how is that possible?      Isn't that gonna raise any

    5    red flags?

    6         And they said, no, because -- they explained that they're

    7    already billing at a certain level.      Like, if you're billing

    8    millions of dollars every month and you throw in a few more

    9    million, that's not going to raise any red flags with auditors.

   10    It's not going to set off any alarm bells.

   11         Like, if your lab was zero, started with nothing in

   12    January, and February, all of a sudden you're billing

   13    $1 million, that's a red flag.      But he said because we're

   14    already billing millions of dollars, we're not going to meet

   15    the threshold for a Medicare audit.

   16         So the next day, I talked to Minal, and I broached this

   17    subject.    I was, like, so this is what they told me.       Is this

   18    actually true?    And he said, yes, because we're already billing

   19    so much, we can bill more, and this can go under the radar.

   20    Q.   And you said Mr. Patel said that they were already billing

   21    so much, it could go under the radar?

   22    A.   Yes.

   23    Q.   And "under the radar" means what?

   24    A.   That these activities would not be detected by Medicare or

   25    law enforcement.
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    1    Q.   For about how long was your working relationship with

    2    Minal Patel and LabSolutions?

    3    A.   Around two years.    Maybe less.

    4    Q.   And in that two-year period, how often were you

    5    communicating with Minal Patel?

    6    A.   Nearly daily.

    7    Q.   Did you have -- who was your primary, or who were your

    8    primary contacts at LabSolutions?

    9    A.   Minal.

   10    Q.   Can you describe Minal Patel's role at LabSolutions as a

   11    company?

   12    A.   He's the boss.    There may be people with their individual

   13    areas of expertise and their own projects, but Minal is the

   14    boss of the lab.     He owns the lab.

   15    Q.   You mentioned -- you mentioned a couple of times today

   16    genetic testing, kind of generally speaking.        Can you explain

   17    for us how the genetic testing operation actually worked

   18    between Q Health and LabSolutions?

   19    A.   Okay.    So I'll explain the telemedicine, kind of, supply

   20    chain first.

   21         So we have collectors that will go out into the community

   22    and collect these samples from people, and tell them that

   23    they're going to get a call from a telemedicine physician to

   24    schedule a consult.

   25         So first we have the sample now.      We already have the
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    1    sample.    And just, like, some background information on the

    2    person.    Really, these people that we sent out there, they're

    3    not really medically trained.      They're not -- they don't have

    4    that knowledge base that would -- you know, that would be

    5    needed for something of this magnitude.       They wouldn't know the

    6    ramifications of this test, really.      They were just kind of

    7    grabbing the samples.

    8         And then the telemedicine doctor will call.       And this is,

    9    like, an exercise in box checking, because this is not a long

   10    call.   This is a very short, you want the test, yes, okay,

   11    done.   You got the test.

   12         Then all that is put together, and it is -- the data is

   13    pushed to the lab with the sample.      Then the lab will assess

   14    the sample, and they will put it into something, what's called

   15    ascension.   Ascension is when a sample goes from like just

   16    sitting there to being, okay, we can put this through the

   17    process.   We think this is a good sample and it's billable.         So

   18    now it's an ascension.

   19         So this takes like two or three weeks.       It gets run.    Then

   20    they get the report back that has the interpretation of the

   21    test.   And then they give that to the billing company, or they

   22    bill it in-house, and they will send that to Medicare.         And

   23    then Medicare will decide, okay, we're gonna pay for this,

   24    we're not gonna pay for this.      Okay, we're paying for this.

   25    Then Minal will get the money, and then he'll send me my
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    1    portion of the money.

    2    Q.   Okay.   And you said that -- so this was the process for the

    3    telemedicine side of business.      And I think I also heard you

    4    say that the sales rep did not really have medical training.

    5         Did they have any medical training?

    6    A.   No.

    7    Q.   And was there another side to the business in addition to

    8    the telemedicine side that you worked on with Mr. Patel?

    9    A.   There is the direct-to-physician side.

   10         So the physician will go through all of his charts and will

   11    kind of say, okay, all of these people meet the criteria.         So

   12    on one day, he'll start calling his patients into the office

   13    and collect all the samples.

   14         And maybe there will be a member of the staff that's like a

   15    collector, that's his or her job, is to collect the samples.

   16    And they'll collect them, and then fill the paperwork out, and

   17    then FedEx it to the lab.

   18    Q.   And in addition to this, the method of using the

   19    physicians' offices themselves, what other strategies did you

   20    end up actually employing to find beneficiaries to collect

   21    samples from?

   22    A.   Health fairs, at bingo halls, or adult day cares,

   23    television commercials.     Direct-to-patient marketing on the

   24    ground, to I guess disadvantaged communities.        I guess we -- we

   25    call this low-hanging fruit.      This is where -- there's not a
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    1    lot of resistance from people in these communities because you

    2    kind of just throw some jargon at them, and they kind of go

    3    with it.

    4         And then once you get that initial sample, in a sales

    5    funnel, that builds commitment, like you come back at them

    6    three days later and you'll say, oh, the doctor's ready to have

    7    a call with you.    This is what you wanted, right?      Because you

    8    already have your sample.     So it kind of, like, well, I've

    9    already given the sample.     It's building commitment.      So

   10    through your own internal consistency, you kind of go along

   11    with the process.

   12    Q.   You said we employ this strategy of targeting the

   13    low-hanging fruit.    Who is "we"?

   14    A.   My company and Minal's company.

   15    Q.   Did you ever discuss with Mr. Patel that -- the fact that

   16    you were going to adult day cares and bingo halls and some of

   17    these other places to try to collect samples?

   18    A.   Yes, this is what he told me to do.

   19    Q.   What type of training did the reps receive who were

   20    collecting the samples?

   21    A.   Not a lot of training, unfortunately.       We gave them the

   22    LabSolutions brochure.     Maybe we had a brochure also.      That was

   23    kind of it.

   24    Q.   Did they ever have any kind of in-person meetings or

   25    anything like that?
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    1    A.   We had a meeting -- because I hired a team of those Georgia

    2    reps, and we had a meeting in the lobby of LabSolutions.         And I

    3    was there.   It was a short meeting.      Minal was there.    It was

    4    just kind of "welcome to the team" kind of meeting, and then we

    5    let them go to work.

    6             MS. GURSKIS:    May I approach the witness, Your Honor?

    7             THE COURT:     You may.

    8             MS. GURSKIS:    I've handed the witness what's previously

    9    been marked for identification as Government's Exhibit 1123.

   10    BY MS. GURSKIS:

   11    Q.   Mr. Ramamurthy, do you recognize what I just handed you?

   12    A.   I do.   This is the conference room where the meeting took

   13    place on the first floor.

   14    Q.   Where you were with Mr. Patel?

   15    A.   That is correct.

   16             MS. GURSKIS:    Your Honor, the government moves to admit

   17    Government's Exhibit 1123.

   18             THE COURT:     Any objection?

   19             MR. SADOW:     No objection.    And to move things along, I

   20    know the government's got lots of different exhibits.         I don't

   21    object to any of them.     So you can just move them all in.

   22             MS. GURSKIS:    Thank you.

   23             THE COURT:     Very good.   Thank you, Mr. Sadow.    That,

   24    1123, will be admitted at this time.

   25          (Government Exhibit 1123 was received in evidence.)
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    1                MS. GURSKIS:   I'm sorry, Your Honor, may I publish

    2    that exhibit?

    3                THE COURT:   You may.

    4    BY MS. GURSKIS:

    5    Q.   Mr. Ramamurthy, is this the conference room in the lobby

    6    that you were just describing?

    7    A.   Yes.

    8    Q.   And what do you recall about that meeting in the lobby

    9    area?

   10    A.   It was a brief meeting.        I had, maybe, seven of the reps

   11    that we hired there.       It was just welcome to the team, this is

   12    the lab, just to kind of show them, yeah, this is a real lab,

   13    and it's functioning, and you guys are getting paid to do this.

   14    This is a real job.

   15         And we gave them, I think, some brochures, and then -- my

   16    office would follow up with them, you know, maybe once a week,

   17    and just kind of see how things were going.        And that's it.

   18    Q.   A moment ago you were describing the steps of the process

   19    in terms of getting the sample and getting the sample to

   20    LabSolutions.

   21         Did I hear you correctly that the sample is obtained in the

   22    telemedicine space before a doctor is ever signing a form?

   23    A.   Yes.

   24    Q.   And before a doctor is ever treating or contacting a

   25    patient?
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    1    A.   Yes.

    2    Q.   Did you ever discuss that order of operations with Minal

    3    Patel?

    4    A.   Yes.    We came up with it together on what order, what

    5    should be when and where, to streamline the process to increase

    6    conversions, like, people who go through all the steps of the

    7    process, to increase billing.

    8    Q.   So that order of business of getting the sample and then

    9    getting a doctor's order, you did that with Mr. Patel to

   10    increase billing?

   11    A.   Yes.

   12    Q.   Were you aware of LabSolutions ever receiving any

   13    complaints about the sales reps?

   14    A.   Yes.

   15                MS. GURSKIS:   Your Honor, may I approach the witness?

   16                THE COURT:   You may.

   17                MS. GURSKIS:   I'm showing the witness what's been

   18    marked for identification as Government's Exhibits 1351 and

   19    1351-A which we'll now move into evidence.

   20                THE COURT:   Those will be admitted without objection.

   21                MS. GURSKIS:   Thank you, Your Honor.   May I publish to

   22    the jury?

   23                THE COURT:   Yes, you may.

   24          (Government Exhibits 1351 and 1351-A were received in

   25         evidence.)
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    1    BY MS. GURSKIS:

    2    Q.   What's the date on this email, Mr. Ramamurthy?

    3    A.   Monday, 16 of January, 2017.

    4    Q.   And who is this email from?

    5    A.   This is from me to Minal.

    6    Q.   And who is Letoria Cooke (phonetic)?

    7    A.   She's one of our community outreach specialists, one of our

    8    people on the ground in Atlanta doing the prepaid cell phone

    9    hustle.

   10    Q.   Do you know why Ms. Cooke sent you this email?

   11    A.   Yes.   There was some kind of a complaint or an incident,

   12    and she's kind of defending or giving us the -- her version of

   13    what happened.

   14         Let's see.   A new rep I trained on Friday was telling

   15    people to spit in this cup to draw people to listen to what I

   16    was telling them.    Believe it or not, people came to listen.

   17    Michael and I signed up over ten people in less than three

   18    hours.    I did explain to my patients what the test was and gave

   19    them my card, if they had any questions.       Hopefully the lab

   20    only had one complaint for Friday.      I will make sure this

   21    doesn't happen again.

   22         So as I remember, she -- they were just kind of collecting

   23    samples and there was a complaint because they weren't really

   24    fluent or knowledgeable in their sales pitch or medical

   25    knowledge, and I think that's where the complaint came from.
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    1    Q.   Okay.   There's an attachment to this email, so I'm just

    2    going to pull that out, Government's Exhibit 1351-A.

    3         So looking at this document, Mr. Ramamurthy, is this a

    4    truthful advertisement piece?

    5    A.   There are bits of truth in here, but some of these things,

    6    like the fun fact here -- okay.      So Stage I colon cancer,

    7    90-95 percent survival rate, Stage IV, 10 percent, early

    8    detection will save lives and this test will help.        Okay.

    9         Early detection saves lives and this test will help.         But

   10    this test does not detect if you have cancer.        It detects your

   11    likelihood that you may get cancer in the future based upon the

   12    genes you inherited from your parents.

   13         So that is misleading, deliberately.       And it kind of,

   14    like -- it kind of puts a little bit of fear into a person,

   15    when they read that.     It's -- it kind of makes them --

   16    that brings a sense of urgency to, like, you need to get this

   17    test, and don't ask too many questions kind of thing.

   18    Q.   And why were you being deliberately misleading when

   19    plugging these tests to beneficiaries?

   20    A.   To reduce resistance, to get samples easier and faster.

   21    Q.   You mentioned a moment ago that you spoke to Minal Patel

   22    nearly every day for two years.

   23         What did you typically discuss on those calls?

   24    A.   Oh, we talked about plans for vacations, or hanging out.

   25    But mainly, business.     We talked about business nearly every
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    1    day, just about how things are going at the lab.        Are there new

    2    ICD-10 codes I need to know about?      Are there changes to

    3    requirements, or is there marketing things you want me to do

    4    differently?    That sort of thing.

    5    Q.   So I think I heard you say marketing, changes to

    6    regulations, and coding.

    7         How often were you talking about care of the patients?

    8    A.   You know, it may have came up a couple of times, but I

    9    really can't recall so well.

   10    Q.   Sorry.    Did you say it may have come up a couple of times?

   11    A.   Yeah, it's possible, but it doesn't stick in my mind.

   12    Q.   And when you were talking about the steps of the process on

   13    the telemedicine side of business, did you have visibility into

   14    what doctors said on the calls with the patients?

   15    A.   No, I did not.

   16    Q.   What was -- did you have visibility into the expectation

   17    for the doctors who were involved in that piece of the

   18    business?

   19    A.   Yeah, I knew the expectations.      Because John Schulte, who

   20    was still working with me at this time, he was my med school

   21    administrator, he was handling day-to-day business and he was

   22    in charge of talking to the telemedicine vendors, one of them

   23    being Shawn Griner.    And the expectation was that a certain

   24    number of scripts need to be approved based on what we're

   25    paying the telemedicine people.      Otherwise, we're going to pay
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    1    a different telemedicine company.

    2         So we need a high percentage of all these things that we

    3    send at you to go through.

    4    Q.   And in terms of the high percentage, how is that -- did you

    5    ever communicate that with Mr. Patel?

    6    A.   Yes.

    7    Q.   Can you be more specific?

    8    A.   Well, the telemedicine platform needed to be effective, and

    9    we all wanted to work with a telemedicine platform that got the

   10    prescriptions through, a high percentage.       And that was able to

   11    actually cover the business.      But what we would later find out

   12    that the telemedicine company we hired was not even able to

   13    handle the volume, and it just became chaos.

   14    Q.   What do you mean, it became chaos?

   15    A.   There were a lot of complaints that people were not getting

   16    their second call from the doctor.      The second call is the call

   17    with the results and the interpretation of the -- what it

   18    means.   And that's alarming, because you're going around

   19    collecting all these samples, and then months go by and you

   20    have no idea -- like you're sitting in the hot pan, so to

   21    speak.   Like, you don't know what's going on.

   22         Like, do I have this cancer thing, propensity, do I have

   23    this gene?   And no one's telling me.      Because the telemedicine

   24    platform dropped the ball.

   25    Q.   Did you ever discuss the situation with patients not
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    1    receiving phone calls with Mr. Patel?

    2    A.    I did.

    3    Q.    What do you recall about that?

    4    A.    He was very angry about it.    He was very, very angry about

    5    it.   I remember that.

    6    Q.    Anything in particular that you remember about that

    7    conversation or conversations?

    8    A.    Well, he called Shawn to yell at him and to fix it, but

    9    beyond that, I don't know what else was done to rectify the

   10    situation.

   11    Q.    And were you there when Mr. Patel called Mr. Griner, or is

   12    that something that he -- that Mr. Patel relayed to you?

   13    A.    This was something he relayed to me.

   14    Q.    Okay.    And earlier this afternoon, you mentioned that

   15    Brett Hirsch pulled you in or got you involved with -- with

   16    this business.

   17          Was he -- did he stay involved in the business?

   18    A.    Yes.    He made money off every sample that I sent in as a

   19    broker.

   20    Q.    Can you explain that?

   21    A.    Because he introduced me and Minal, he made a 5 percent

   22    override on all samples that I submitted.

   23    Q.    A 5 percent cut; is that what you mean?

   24    A.    Correct.

   25    Q.    What about Keith Youngswick?
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    1    A.   Keith is kind of, like, the partner of Brett.        I don't know

    2    too much about what he does, but they're just kind of buddies,

    3    and they hang out, and they're kind of in the business

    4    together.

    5         I didn't talk to Keith so much, and he kind of felt bad

    6    about that sometimes, and I'd kind of leave him out.         So I'd

    7    always have to text him and say, hey, buddy, you're part of

    8    this too.    I mean, the competent person to deal with was Brett.

    9    I knew that Brett knew everything that was happening with this

   10    lab and that lab, and any pharmacy, Brett knows what's

   11    happening.

   12    Q.   Earlier you were talking about one of your first meetings

   13    at the lab when you met somebody named Omar who was involved in

   14    the LabSolutions.

   15         Do you remember that?

   16    A.   Yes.

   17    Q.   I think you said he was there for roughly a month, or

   18    overlapped with you for a month?

   19    A.   Yes.

   20    Q.   Did anybody replace him after he left?

   21    A.   Yes.    A guy named Nick Saliba.

   22    Q.   Do you know where Mr. Saliba had worked prior to

   23    LabSolutions?

   24    A.   He had worked at a lab that was raided by the FBI called

   25    Confirmatrix.
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    1    Q.   How did you learn he was worked at a lab that was raided by

    2    the FBI?

    3    A.   Because Minal showed me a video on his phone of a news

    4    story -- like, a local news story, about that whole story,

    5    like, 40 FBI agents raiding Confirmatrix.

    6    Q.   Did you discuss that with Mr. Patel after watching that

    7    video?

    8    A.   I did.   I was, like, why are you hiring this guy, dude?

    9    Wasn't he just in this lab where all that melee was happening

   10    and all that?    Then he was, like, no, this is the opportunity

   11    to get all these people from Confirmatrix so we can get all

   12    their -- so I'm getting all the good people from that company

   13    and bringing them to us.

   14    Q.   And what was your reaction to that?

   15    A.   Yeah, I kind of went along with it because Minal pays the

   16    bills.

   17    Q.   How often would you communicate with Mr. Saliba?

   18    A.   Not so often.      Maybe once a week.   Really, John Schulte,

   19    from my company, would interface with Nick Saliba.        They would

   20    do day-to-day stuff.      Maybe, if there was an issue, I would

   21    talk to Nick twice a month, maybe once a week.

   22               MS. GURSKIS:    Your Honor, may I approach the witness?

   23               THE COURT:    You may.

   24               MS. GURSKIS:    I've just handed the witness subsets of

   25    Government's Exhibit 1245, 1245-A, 1245-B, and 1245-C.
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    1    BY MS. GURSKIS:

    2    Q.   Mr. Ramamurthy, do you recognize what I just handed you?

    3    A.   Yes.

    4    Q.   Are those text messages between you and Mr. Saliba?

    5    A.   Yes.

    6                MS. GURSKIS:    Your Honor, the government moves to admit

    7    Exhibits 1245-A, 1245-B, and 1245-C.

    8                THE COURT:    I believe those will be admitted without

    9    objection, right, Mr. Sadow?

   10                MR. SADOW:    Right.   As I've said before, whatever they

   11    got, put it in.

   12                THE COURT:    Thank you.   Those will be put in at this

   13    time.    Permission to publish, if you desire.

   14                MS. GURSKIS:    Thank you.

   15            (Government Exhibits 1245-A, 1245-B, and 1245-C were

   16         received in evidence.)

   17    BY MS. GURSKIS:

   18    Q.   What's going on in this text exchange between you and

   19    Mr. Saliba, Mr. Ramamurthy?

   20    A.   This is, like, a New Year's kind of salutation.        Happy New

   21    Year's Eve, Nick.        Lots of new samples coming in, looking

   22    forward to seeing you, da, da, da.        Flying to Atlanta.   Got

   23    20 more reps.     Let's bring in 100 million.

   24    Q.   Did you actually have 20 new reps?

   25    A.   No.    Maybe I had, like, five or something.
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    1    Q.    So why did you tell Mr. Saliba that you had 20?

    2    A.    I like to tell them things like this so they kind of know

    3    that I'm thinking of them, that they're my priority, that I'm

    4    working on this thing, so that they don't stiff me.        So that I

    5    make sure that my company gets paid, so I can pay my employees.

    6    I do this a lot.

    7          I do a lot of things like this, where I will just throw

    8    things out there, that I'm working on this, I'm working on

    9    that.   So that way, they know that -- that I'm in their mind,

   10    that I'm doing things, so don't stiff Rama, pay Rama, because

   11    he's working on this for us.

   12              MS. GURSKIS:    I'm turning to 1245-B, that April 28,

   13    2017 text exchange.

   14    BY MS. GURSKIS:

   15    Q.    Mr. Ramamurthy, do you know what that text was about?

   16    A.    (Witness reading sotto voce.)

   17          Okay.   Yes.   April 28, 2017.   So it looks like this is

   18    around the period when there was some trouble with the billing.

   19    And I use the word "adjudicate."       Adjudicate means when

   20    Medicare approves something on that Explanation of Benefits, it

   21    adjudicates.    That means, Medicare has agreed to pay that

   22    amount, and that means it's good as gold.       That money's coming

   23    in.

   24          So I say, this month's numbers are flop.      Like, what's

   25    going on?     There's really nothing showing up.     Nothing
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    1    adjudicated yet.    And then it looks like he's gonna call me in

    2    a little bit.

    3    Q.   And is this just a continuation of that conversation?

    4    A.   Yes.

    5    Q.   And turning to 1245-C.

    6    A.   Yeah.   I'm in Monaco, Monte Carlo, with a friend of mine,

    7    on his yacht.

    8    Q.   Were you actually sailing around the South of France?

    9    A.   Yes.

   10    Q.   Did you leave the dock?

   11    A.   No, we didn't sail.    We just partied on his boat.      It

   12    didn't leave the dock, though.

   13    Q.   Is this a continuation of that text exchange?

   14    A.   Yes.

   15    Q.   Why were you sending these messages to Mr. Saliba?

   16    A.   This is more of, kind of, what I do to just know that I'm

   17    moving in circles with very wealthy people so that they know

   18    not to stiff me.    Send Rama the money because you don't know

   19    what he might -- what kind of connection he might have, what he

   20    might bring to the table in the future.

   21         So I showed them little vignettes of my life, then they

   22    wouldn't stop the money to send to me, because then I'd be in a

   23    problem to pay all the employees that I had running around,

   24    that I was kind of fronting money to.

   25    Q.   So you were exaggerating to get paid?
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    1    A.   Yes.

    2    Q.   In terms -- you mentioned Nicholas Vartanian earlier.

    3         How often were you communicating with Mr. Vartanian?

    4    A.   For the time that he was working there, I think maybe twice

    5    a week, he would send me emails or a text exchange.

    6    Q.   What kinds of things would you talk about?

    7    A.   Mainly, billing, ICD-10 codes, CPT-10 codes.

    8                MS. GURSKIS:   Your Honor, at this time, the government

    9    would like to introduce Exhibits 1318, 1319 -- sorry -- 1318

   10    and 1318-A, 1319, 1324 and 1324-A, 1325 and 1325-A, and 1338

   11    and 1338-A.

   12                THE COURT:   Those are all being admitted without

   13    objection as Mr. Sadow stated earlier.       So you may proceed.

   14          (Government Exhibits 1318, 1318-A, 1319, 1324, 1324-A,

   15         1325, 1325-A, 1338, and 1338-A were received in evidence.)

   16                MS. GURSKIS:   May I approach the witness, Your Honor?

   17                THE COURT:   You may.

   18    BY MS. GURSKIS:

   19    Q.   I just handed the witness what's just been admitted as

   20    Government's Exhibit 1318 and 1318-A.

   21                MS. GURSKIS:   May I publish to the jury?

   22                THE COURT:   You may.

   23    BY MS. GURSKIS:

   24    Q.   Who is this email from, Mr. Ramamurthy?

   25    A.   This is from Nicholas Vartanian.
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    1    Q.   And what is he e-mailing you about?

    2    A.   He is e-mailing me the best ICD-10 codes to use so that all

    3    of our samples go through.

    4    Q.   Turning to 1318-A.     Did you do anything with this

    5    information that you received from Mr. Vartanian?

    6    A.   Yes.    I distributed this to all of my marketing reps.

    7    Q.   And did they do anything with the information?

    8    A.   They distributed it to their physicians.

    9    Q.   What about the marketing reps who were not involved with

   10    the brick-and-mortar doctors?

   11    A.   They used this information, although to what extent, I

   12    don't know.

   13    Q.   Okay.    Could you read the second sentence beginning with

   14    educate?

   15    A.   Educate all of your collectors that if one of the following

   16    codes is used for a PGx sample, it gives the specimen -- it

   17    gives a specimen -- that's not even right.       Okay.   Hold on --

   18    it gives the specimen the best chance to be paid.

   19                MS. GURSKIS:   May I approach the witness, Your Honor?

   20                THE COURT:   You may.

   21                MS. GURSKIS:   May I publish Government's Exhibit 1319?

   22                THE COURT:   You may.

   23    BY MS. GURSKIS:

   24    Q.   Is this a continuation of that email we just looked at,

   25    Mr. Ramamurthy?
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    1    A.   Yes.

    2    Q.   What's happening in this email exchange?

    3    A.   Good morning.       I think this would be better discussed over

    4    the phone.     Whenever you're free, just give me a call.

    5         I'm asking him how many of the codes do we need -- do you

    6    need to have a cardiac diagnosis code and a behavioral

    7    diagnosis code or either-or.         I'm trying to ask him

    8    specifically what's needed for this to go through.

    9    Q.   And then he says, this would be best discussed over the

   10    phone?

   11    A.   Yes.

   12    Q.   Did you ever have a conversation with him about why it

   13    would be best discussed over the phone, if you can recall?

   14    A.   No, I cannot.

   15    Q.   Okay.    Did you ever discuss the PGx codes with Mr. Patel?

   16    A.   I don't remember if I did.

   17                MS. GURSKIS:    May I approach the witness, Your Honor?

   18                THE COURT:    You may.

   19                MS. GURSKIS:    May I publish Government's Exhibit?

   20                THE COURT:    You may.

   21                MS. GURSKIS:    I'm showing the witness what's just been

   22    admitted as Government's Exhibit 1324 and 1324-A.

   23    BY MS. GURSKIS:

   24    Q.   Who is this email from, Mr. Ramamurthy?

   25    A.   Nicholas Vartanian.
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    1    Q.   And what is the subject of the email?

    2    A.   Cancer genetic testing codes.

    3    Q.   What was -- did you do anything with the information

    4    conveyed in this email?

    5    A.   Yes.    This is important because you can see all these CPT

    6    codes here.     These are codes that are -- that you can bill for.

    7    Each one of these represents an allele on a human genome, on a

    8    chromosome.     So you can see there's an APC gene up here.

    9    There's a PTEN gene down here.        Then you can see there's a

   10    BRCA1 down here.

   11         These are all responsible for different inheritable

   12    cancers.     They can -- they cover many different organs or

   13    different types of cancers depending on whatever family history

   14    you have.     You may a mutation in any of these places, and each

   15    one of these CPT codes is money.

   16         And the most money is BRCA.       If you see predict B with

   17    breast, BRCA1, BRCA2, that in itself is, like, two grand.          So

   18    really, I told the reps to focus on the predict B panel with

   19    the BRCA in it, because that's the full ticket.

   20                MS. GURSKIS:   May I approach the witness, Your Honor?

   21                THE COURT:   You may.

   22                MS. GURSKIS:   May I publish Government's Exhibit 1325

   23    and 1325-A?

   24                THE COURT:   You may.

   25                THE WITNESS:   Oh, wow.
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    1    BY MS. GURSKIS:

    2    Q.   What's going on in this email, Mr. Ramamurthy?

    3    A.   This is including the charge amounts for each of these

    4    CPT codes.

    5    Q.   So this is the attachment to the email that I have on the

    6    screen, Mr. Ramamurthy, Government's Exhibit 1325-A?

    7    A.   (No verbal response.)

    8    Q.   What did you do with this information?

    9    A.   I'm not particularly proud of this bit.       I think here you

   10    can see the real magnitude of what is possible.        The BRCA is

   11    5,000.     The full PTEN, that's 1,500.    If you order a

   12    comprehensive panel, you put all this together, this is upwards

   13    of $9,000 from just someone's saliva.       Imagine you collect ten

   14    of these an hour, you might have made yourself a hundred

   15    thousand dollars.

   16    Q.   I heard you say you're not particularly proud of this?

   17    A.   No.

   18    Q.   What do you mean?

   19    A.   This is a lot of money, and a lot of people we took

   20    advantage of.

   21               MS. GURSKIS:   May I approach the witness, Your Honor?

   22               THE COURT:   You may.

   23               MS. GURSKIS:   May I publish to the jury?

   24               THE COURT:   You may.

   25    BY MS. GURSKIS:
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    1    Q.   What's going on in this email, Mr. Ramamurthy?

    2    A.   More CPT codes.

    3    Q.   And you mentioned you weren't sure if you discussed the PGx

    4    coding specifically with Mr. Patel.

    5         Did you discuss coding generally with Mr. Patel?

    6    A.   Yes.    With cancer genetic testing, absolutely.

    7    Q.   Okay.    Can you be more specific about that?

    8    A.   I would ask him what pays the most, and he would tell me.

    9    Q.   And did Mr. Vartanian work at LabSolutions the entire time

   10    that you were there?

   11    A.   No.    I believe he dropped off after a few months.

   12    Q.   Did anybody else take over for him?

   13    A.   A guy named John Berarducci.

   14    Q.   And how often did you communicate with Mr. Berarducci?

   15    A.   I really only liked to talk to him around payday time.

   16    Q.   Okay.    And what would you talk to him about?

   17    A.   Getting paid.

   18                THE WITNESS:   I'm sorry.   Is it possible to take a

   19    quick one-minute bathroom break?

   20                THE COURT:   Yes, absolutely.   We can do that.

   21                Folks, go ahead and leave your notepads on your chairs

   22    so we can take a brief bathroom break for the witness.         And

   23    let's take advantage of that.      We'll come back in just a

   24    moment.     All rise for the jury.

   25                THE COURT SECURITY OFFICER:     All rise.
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    1          (Jury exits at 3:54 p.m.)

    2                THE COURT:   We'll go ahead and give ourselves a

    3    restroom break, if anyone needs it.

    4          (Court recessed at 3:54 p.m.)

    5          (Back on the record at 4:10 p.m.)

    6                THE COURT:   Let's go ahead and bring in our jurors.

    7                THE COURT SECURITY OFFICER:   All rise for the jury.

    8          (Jury enters at 4:11 p.m.)

    9                THE COURT:   Be seated, everyone.   Ladies and gentlemen

   10    of the jury, we will resume with direct examination right now.

   11                Go ahead, Ms. Gurskis.

   12                MS. GURSKIS:   Thank you, Your Honor.

   13                At this time the government would like to move in

   14    Government's Exhibits 1866 and 1337.

   15                THE COURT:   Those will be admitted as we heard earlier,

   16    without objection.

   17          (Government Exhibits 1866 and 1337 were received in

   18         evidence.)

   19    BY MS. GURSKIS:

   20    Q.   Mr. Ramamurthy, when we left off you were mentioning that

   21    you had communicated sometimes with Mr. Berarducci at

   22    LabSolutions.

   23         Did you ever meet someone named Sonal Jariwala?

   24    A.   Yes.

   25    Q.   Who is she?
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    1    A.   That is Minal's sister.

    2    Q.   Did she have a role at LabSolutions?

    3    A.   Yeah, kind of.    I communicated with her sometimes.      I would

    4    send her physician registration forms.       But really, I didn't

    5    communicate with her that much.

    6    Q.   A little bit earlier you were talking about the way in

    7    which you and your company were paid, and I believe you said

    8    that you and Q Health received a cut of Medicare

    9    reimbursements?

   10    A.   That is correct.

   11             MS. GURSKIS:    Your Honor, may I publish Government's

   12    Exhibit 1337?

   13             THE COURT:     You may.

   14    BY MS. GURSKIS:

   15    Q.   Who is this email from, Mr. Ramamurthy?

   16    A.   It's from me to Nicholas.

   17    Q.   And who's copied?

   18    A.   Minal.

   19    Q.   And who is Frank?

   20    A.   Frank works for me.    He's, like, our numbers guy.      He'll

   21    interface with Nicholas if there's missing data, or if he's

   22    trying to pull some data from adjudications for Nicholas.         So

   23    they're, like, numbers people.

   24    Q.   Can you explain what's being shown on the screen right now,

   25    on Government's Exhibit 1337?
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    1    A.   This is a commission breakdown.      45 percent is what I make.

    2    The cost of goods per test is $600.      So it looks like there was

    3    total, 150 samples, 32 of them were paid out, total payments

    4    received, 126,000.    Then they deduct the cost of goods.       It

    5    looks like 48,000 is the commission calculation.        And it says

    6    50,000 paid to date.

    7    Q.   Okay.    And what is cost of goods?

    8    A.   Cost of goods is, like -- it's a fixed cost that is

    9    incurred with every test.     It includes the kit, but to what

   10    else it includes, I'm not sure.      But it happens with every

   11    sample you do.    There is a cost of goods that my company has to

   12    take.

   13    Q.   Did you ever discuss the cost of goods with Mr. Patel?

   14    A.   I did.   You know, I always wanted to get a lower cost of

   15    goods.   But I remember, when I was at LabSolutions, in the

   16    kitchen, I overheard a conversation between Minal and Nick

   17    Saliba --

   18    Q.   Okay.    And just one moment, Mr. Ramamurthy.

   19             MS. GURSKIS:    Your Honor, may I publish a portion of

   20    what's already been admitted of Government's Exhibit 1123?

   21             THE COURT:    You may.

   22    BY MS. GURSKIS:

   23    Q.   Do you recognize this, Mr. Ramamurthy?

   24    A.   This is the kitchen that I would often sit at at

   25    LabSolutions.
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    1    Q.    Okay.   And I think you were about to talk about a

    2    conversation that you remember in the kitchen.

    3    A.    Yeah.   I was over here in front of the island, and I

    4    overheard Nick and Minal discussing that Medicare was inquiring

    5    what their cost of goods was.      And they had discussed or

    6    decided that they're going to tell Medicare that their costs of

    7    goods was a thousand per test.

    8    Q.    Okay.   And that should be a touchscreen.     Can you circle on

    9    the screen where Mr. Patel was and where Mr. Saliba was during

   10    that conversation?

   11    A.    They were actually in front.     So all the way in front of

   12    this area, over here -- am I doing anything with this touch?

   13    No?   All the way in front of the area is an open area that has

   14    some windows.     So they were in kind of that open space and I

   15    was standing right in front of this island right here.

   16    Q.    Okay.   And did they say anything else beyond the fact that

   17    they were going to announce that it was a $1,000 cost of goods?

   18    A.    Yes.    I asked Minal why, and he said it's to keep the

   19    billing amount where it is, because if they tell Medicare that

   20    the cost of goods is less, then Medicare will reduce the

   21    billing amount.

   22    Q.    How often did you speak to Mr. Patel about Medicare

   23    reimbursement?

   24    A.    Couple of times a week.

   25    Q.    How often did you discuss the quality of the tests?
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    1    A.    Not as much.    It came up.   You know, they were -- it came

    2    up.   He would often brag that the machines were really good,

    3    the sequencers were state of the art.       But that didn't come up

    4    very often.

    5              MS. GURSKIS:    Your Honor, at this time the government

    6    would like to move into evidence Government's Exhibit 1364 and

    7    1364-A, as well as Government's Exhibit 1369.

    8              THE COURT:    Those will be admitted without objection.

    9           (Government Exhibits 1364, 1364-A, and 1369 were received

   10          in evidence.)

   11              MS. GURSKIS:    May I publish?

   12              THE COURT:    You may.

   13    BY MS. GURSKIS:

   14    Q.    I have on the screen Government's Exhibit 1364.

   15          Mr. Ramamurthy, who is this email from?

   16    A.    This is from John Berarducci.

   17    Q.    And who else is on the email?

   18    A.    Me, Minal, Tushar, Nick, and Sonal.

   19    Q.    Who's Tushar?

   20    A.    That's Minal's brother.

   21    Q.    And what is John emailing you about?

   22    A.    My commission.   It looks like I made 74,000 for the second

   23    half of January.

   24    Q.    Is that a good month, a bad month, an average month?

   25    A.    This is an average month.
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    1    Q.     And now it's showing you Government's Exhibit 1369.

    2           Who is this email from?

    3    A.     This is from me to Minal and Nick and Sonal, and I've put

    4    John Schulte on this from my company as well.

    5    Q.     Why were you sending this email?

    6    A.     Good morning, buddy.    My payment report is extremely low

    7    this period.      I was averaging 75K.   This month only -- period,

    8    only 17.       Can we discuss why the billing is so low when we are

    9    only increasing the number of samples we are doing?

   10           Yeah.    So it looks like there was a period where the

   11    billing kind of got off track, and I had a lot of samples

   12    sitting there, and they were not getting billed.

   13    Q.     Why were you contacting Mr. Patel about that?

   14    A.     I usually contact him directly on things, because I don't

   15    want to have someone else to have a go-between between me and

   16    him.    And I told him this from the very beginning, that it

   17    doesn't really matter to me who he brings on.        I'm going to

   18    deal directly with him.

   19           If it comes -- about money, business, marketing,

   20    adjudications, I'm going to come directly to you because you're

   21    the one I started doing business with, and I don't want to be

   22    moved around to different people in kind of a shuffle of trying

   23    to figure out what's happening, am I getting paid, is your lab

   24    going under.      I'm just going to ask you directly.

   25    Q.     Shifting gears for a moment, how long have you been in
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    1    custody, Mr. Ramamurthy?

    2    A.   Three years and a few months.

    3    Q.   Since about October of 2019; does that sound right?

    4    A.   That's right.

    5    Q.   Have you been in custody since before your sentencing date?

    6    A.   Yes.

    7    Q.   Why?

    8    A.   I violated my bond.

    9    Q.   Can you tell us, in a few sentences, what you did to

   10    violate your bond conditions?

   11    A.   I was prohibited from doing healthcare business, or

   12    engaging in any kind of healthcare conspiracy, and -- and

   13    taking meetings outside of the area that I'm supposed to be at

   14    during my probation period.     And I violated both.     I set up

   15    another deal with Brett, with a different lab, to try to get

   16    some samples, and I took a meeting with him in Fort Lauderdale,

   17    which is outside of my area that I'm allowed to be in.

   18    Q.   So while you were on bond, you tried to get more samples,

   19    you said.

   20         What type of samples?

   21    A.   Cancer genetic test samples.

   22    Q.   So you continued to do this while out on bond.

   23    A.   I did.

   24    Q.   Why?

   25    A.   Money, greed.
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    1    Q.   Did you think you wouldn't get caught?

    2    A.   I didn't think I would get caught, but when I took that

    3    meeting with Brett, I was really nervous.       Like, I knew I had

    4    messed up.    I knew I had taken it too far.

    5    Q.   Okay.   And turning back to this scheme, you mentioned

    6    earlier -- actually, just a moment ago -- that LabSolutions

    7    paid your company based on Medicare reimbursements?

    8    A.   Yes.

    9    Q.   Were you paid at regular intervals?

   10    A.   In the beginning, I was paid twice a month, and then after

   11    that I was paid every month.      But sometimes it didn't always

   12    end up that way.    A lot of times, I was paid late.      There was

   13    some problem with this or that in the lab.       They were always

   14    shifting around with the money, which made me uncomfortable.

   15    Q.   You spoke a moment ago about the average amount you were

   16    collecting in a month, I think you said was about $75,000.

   17         Do you remember that?

   18    A.   (No verbal response.)

   19    Q.   Did that amount fluctuate, or was it pretty consistently

   20    hovering around $75,000?

   21    A.   No.    Some months I'd brought in a quarter million.      Some

   22    months, less.    When the billing wasn't working correctly, or

   23    there was some problem with the telemedicine, everything would

   24    plummet, and I would walk out with, maybe, 10 grand, 17 grand.

   25    But the number fluctuated.     But I think at the high point, it
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    1    was a quarter of a million a month.

    2    Q.   A quarter of a million a month?

    3    A.   Yes.

    4    Q.   How much of that quarter of a million a month was

    5    LabSolutions samples?

    6    A.   All of it.

    7    Q.   You mentioned earlier that you sometimes spoke about

    8    regulations with Minal Patel.      Do you recall that earlier

    9    today?

   10    A.   Yes.

   11    Q.   Do you ever remember discussing with him any shift in

   12    regulations or shift in coverage, anything like that?

   13    A.   So there was a push for -- to do this expeditiously, to do

   14    this very fast, very quickly, because we didn't know when the

   15    regulations would change.     Minal made this very clear to me

   16    that there was this window of opportunity where the criteria

   17    was very open.    It's something called a MAC LCD.

   18         I don't know what MAC stands for, but LCD is local coverage

   19    determination in this place called Cahaba.       Cahaba is like a

   20    territory in America.     There's, like, different territories in

   21    America, right?    Maybe five or six of them for Medicare

   22    coverage.   And Minal's lab is located in the Cahaba district.

   23    And the requirement for this test, the criteria in Cahaba, is,

   24    like, no criteria.    It's, like, just a family history of

   25    cancer, you can get the test.
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    1         They didn't know how long this was going to last.        And

    2    eventually, there was a change.      But in that meantime, they

    3    were, like, just get as many samples as possible.

    4    Q.   And the information about the criteria under Cahaba, who

    5    did you receive that from?

    6    A.   From Minal, from Brett, from Nicholas Vartanian, Omar.

    7    Everyone told me that.

    8    Q.   Was there any discussion about how this might affect

    9    reimbursement or the business model, anything like that?

   10    A.   Yeah, this would collapse the business model.        I mean, as

   11    soon as it changes, there's no more business.

   12    Q.   Did you discuss that with Mr. Patel specifically?

   13    A.   I did, and -- because there came a point -- yeah.        There

   14    came a point when I was going to switch to Palmetto.         Palmetto

   15    was going to absorb Cahaba, and Palmetto's criteria is very

   16    strict.   It would eliminate 95 percent of all the samples that

   17    we could submit.

   18         But Minal told me he wasn't worried.       His exact phrase

   19    was -- I remember this -- it was at the Setai hotel.         He told

   20    me I'm not a one -- the lab is not a one-trick pony.         Like, I

   21    got a backup license.     In case anything happens to this lab

   22    license, I have another lab license in a place that'll work, or

   23    that will -- we'll find a way for it to work.

   24         So if any audit happens or if the billing doesn't work

   25    anymore in this area, I have a backup plan.
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    1    Q.   Did he say where that other location was?

    2    A.   I want to say Pennsylvania, but I'm not 100 percent.         So I

    3    don't want to say anything, actually.

    4    Q.   Okay.    Did you discuss the shift from Palmetto to Cahaba, I

    5    think you said, with Mr. Hirsch?

    6    A.   Yes, I did.

    7    Q.   Do you recall ever discussing it with Mr. Youngswick?

    8    A.   Yes, we were all in the loop about this.       We were all very

    9    anxious about what was going to happen.

   10              MS. GURSKIS:   Your Honor, the government would like to

   11    admit two subsections of Government's Exhibit 1214, 1214-A and

   12    1214-B.

   13              THE COURT:   That will be admitted without objection at

   14    this time.

   15          (Government Exhibits 1214-A and 1214-B were received in

   16         evidence.)

   17              MS. GURSKIS:   May I publish 1214-A, Your Honor?

   18              THE COURT:   You may.

   19    BY MS. GURSKIS:

   20    Q.   Mr. Ramamurthy, can you read what you wrote on February 27,

   21    2018, where I just put a little dot?

   22    A.   Sure.    I heard Cahaba ends July.    Is CGx over?    He responds

   23    not at all.    PGx is ending, which is a different kind of test.

   24    CGx moved from Cahaba to Palmetto.

   25              MS. GURSKIS:   May I publish 1214-B, Your Honor?
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    1               THE COURT:   You may.

    2    BY MS. GURSKIS:

    3    Q.   And looking at the text message beginning March 13, 2018,

    4    where that blue line is, Mr. Ramamurthy, can you read that?

    5    A.   Minal just called me, said he is struggling with Palmetto.

    6    Keith says, yes, hopefully can be fixed.       I say, oh, wow.    Does

    7    Clio have it figured out?

    8         This is a different lab.

    9         And then, I've got many samples on the way.

   10         Keith says, there are issues.      I'll call you.

   11    Q.   Do you remember anything specific about those conversations

   12    with Minal Patel about Palmetto other than what you just told

   13    us about?

   14    A.   No.

   15    Q.   Aside from Minal Patel, did anyone else at LabSolutions

   16    educate you on potentially changing MAC coverage or LCDs?

   17    A.   Nick Saliba.

   18    Q.   Anybody else?

   19    A.   Jon Berarducci.    Everyone -- this was issues on the front

   20    of everyone's minds at the lab.

   21    Q.   Speaking more broadly, did LabSolutions have any type of

   22    training program that you were aware of?

   23    A.   I think towards the end, there were some webinars, some

   24    seminars -- webinars that salespeople could go to, yeah.

   25    Q.   Towards the end?
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    1    A.   Yeah.    Probably towards the end of our business

    2    relationship, maybe a year and a half into this.

    3    Q.   Do you know what those webinars were about?

    4    A.   I honestly never went to them, so, no.

    5    Q.   Was there anything else that was part of any type of

    6    training or compliance program that you can recall?

    7    A.   Yeah.    Towards the end, before you got paid, you would be

    8    sent this one-page thing that said something about compliance,

    9    and you would have to click the DocuSign in order to get paid.

   10    So you would just click the thing, and it would register in the

   11    system, and it would send you a wire.

   12                MS. GURSKIS:   Your Honor, at this time, the government

   13    would like to move into evidence Government's Exhibit 667-A and

   14    667-B.

   15                THE COURT:   That will be admitted at this time.

   16          (Government Exhibits 667-A and 667-B were received in

   17         evidence.)

   18                MS. GURSKIS:   May I publish, Your Honor?

   19                THE COURT:   You may.

   20    BY MS. GURSKIS:

   21    Q.   Showing you Government's Exhibit 667-A, is this in

   22    reference to what you were just describing?

   23    A.   Yes.    This is exactly what I was talking about.

   24    Q.   And this is Government's Exhibit 667-B.       Is this the

   25    agreement you were referencing?
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    1    A.     Yes.

    2    Q.     And here it says, The following compliance rules are to be

    3    agreed upon and adhered to by the distributor.        Each business

    4    associate distributor acting as an independent contractor

    5    agrees they will not and have not, and there is a list of

    6    criteria, and I just highlighted influence test ordering

    7    patterns that would lead to medically unnecessary tests.

    8           What is your reaction to seeing that on the screen here,

    9    Mr. Ramamurthy?      Is that true?

   10    A.     Oh.    Well, I mean, they were giving us the ICD-10 codes,

   11    and they were telling us what CPT codes to use to bundle it, so

   12    that's not true at all.      We were totally influenced on ordering

   13    patterns.

   14    Q.     Was that something that Mr. Patel was aware of?

   15    A.     Absolutely.

   16    Q.     How would you describe the compliance program overall at

   17    LabSolutions?

   18    A.     Window dressing.

   19    Q.     What do you mean "window dressing"?

   20    A.     It's the appearance of compliance without there actually

   21    being any compliance enforcement or anything.        I mean, Minal

   22    said he had a lawyer, but I never talked to him.        I never met

   23    him.    There was no compliance, auditing.     There was nothing.

   24    Q.     No compliance training that you had to complete?

   25    A.     No.
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    1    Q.   Earlier today, you had discussed some of the marketing

    2    strategies, including advertising?

    3    A.   Yes.

    4                MS. GURSKIS:   Your Honor, at this time the government

    5    moves to admit Government's Exhibit 1875, 1334.

    6                THE COURT:   Those will be admitted without objection.

    7          (Government Exhibits 1875, 1334 were received in

    8         evidence.)

    9                MS. GURSKIS:   And 1004 as well.

   10                THE COURT:   Also admitted without objection.

   11          (Government Exhibit 1004 was received in evidence.)

   12                MS. GURSKIS:   Your Honor, may I publish Exhibit 1875?

   13                THE COURT:   Yes, you may.

   14    BY MS. GURSKIS:

   15    Q.   Mr. Ramamurthy, can you explain what's going on in this

   16    email?

   17    A.   This is an email that I'm sending Minal about ad time that

   18    I was buying for a commercial, that my company produced, to be

   19    aired on Univision, and I asked him for 50 grand because we had

   20    already sent in samples.      So I was asking for an advance on

   21    those samples that I've already sent in.

   22    Q.   And what is Univision?

   23    A.   Univision is, I guess, Hispanic television network with a

   24    very large viewership in the area of Texas that I live in.

   25    Q.   I'm showing you now Government's Exhibit 1334.        What is
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    1    this email?

    2    A.   This is a script that I sent to Minal of the commercial.

    3    Q.   Who is Meenakshi Ramamurthy?

    4    A.   That's my sister.

    5    Q.   Who wrote this script?

    6    A.   My sister.

    7    Q.   Turning down the page here where it says, female patient, I

    8    knew I had cancer in my family, and I was worried.

    9         What was your -- what was the purpose of having that kind

   10    of language in this commercial?

   11    A.   To provide urgency for someone who saw this.        Provoke a

   12    reaction for them to get the test, because this was -- there

   13    was a limited window of time for us to get these tests done.

   14             MS. GURSKIS:    Your Honor, at this time we would like to

   15    play a short video for the jury, Government's Exhibit 1004.

   16             THE COURT:    You may proceed.

   17             MR. SADOW:    I assume we're playing the entire video?

   18             MS. GURSKIS:    It's 30 seconds long.

   19             THE COURT:    Yes, you may proceed.

   20          (Video was published.)

   21          (Video was paused.)

   22             MR. SADOW:    Excuse me.   It's unclear.    I can't hear it.

   23             THE COURT:    I can hear it.    It just has a little bit of

   24    an echo folks.

   25             MS. GURSKIS:    It might be the mic.
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    1                THE COURT:   Yeah, the mic might be picking it up.     If

    2    you can start from the beginning, please.

    3            (Video was published.)

    4            (Video was paused.)

    5    BY MS. GURSKIS:

    6    Q.   And you said this ad was played on Univision?

    7    A.   That's correct.

    8    Q.   What is Univision?

    9    A.   It's a Hispanic network in our area that's very popular.

   10    Q.   In your area of Texas where you're from?

   11    A.   Yes.

   12    Q.   And did this ad end up airing?

   13    A.   It did.

   14    Q.   Did you share the ad with Mr. Patel or just the script?

   15    A.   I don't remember.

   16    Q.   And what was the goal of the ad?

   17    A.   The goal of the ad was to get awareness of this test in the

   18    community, so we would be met with less resistance when we

   19    would have health fairs or solicit people for the test.

   20                MS. GURSKIS:   And at this time, Your Honor, the

   21    government would like to admit Government's Exhibit 1247 and

   22    1234.

   23                THE COURT:   Those will be admitted at this time without

   24    objection.

   25            (Government Exhibits 1247 and 1234 were received in
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    1         evidence.)

    2                MS. GURSKIS:   May I publish, Your Honor?

    3                THE COURT:   You may.

    4    BY MS. GURSKIS:

    5    Q.   Mr. Patel [sic], in addition to advertising, do you recall

    6    any other marketing projects that you and Minal Patel

    7    discussed?

    8    A.   Was that for me?

    9    Q.   Yes.    Mr. Ramamurthy, do you recall any other marketing

   10    projects that you and Mr. Patel discussed?

   11    A.   Yes.    There was talk of -- let's see.     Let's see.   I know

   12    there was an oncology group in California that he wanted to do

   13    some kind of a research study with, so that all their patients

   14    in that group would get their testing done at LabSolutions.

   15    And he was very excited about that.      That would have been a lot

   16    of samples.

   17         There was talk of getting all of the samples from the

   18    Hard Rock Casino Hotel, because all the employees there had

   19    United, and United covered the test.       So there was -- there was

   20    talk of that -- he really got excited when there were projects

   21    that involved getting a lot of samples, like, 10,000 samples,

   22    20,000 samples, because you could imagine the numbers that that

   23    would equate to.

   24                MS. GURSKIS:   May I publish Government's Exhibit 1247?

   25                THE COURT:   You may.
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    1    BY MS. GURSKIS:

    2    Q.   Is this text message in reference to the model you were

    3    just talking about at Hard Rock?

    4    A.   Yes.    This is in reference to the Hard Rock hotel hustle.

    5    Q.   Who is Mike L?

    6    A.   This is very funny, actually.      Mike L is Michael Lohan,

    7    Lindsey Lohan's father.

    8    Q.   And why were you and Mr. Patel discussing the Hard Rock

    9    Casino with Lindsey Lohan's father?

   10    A.   Well, the story is that Michael Lohan owned a rehab because

   11    of his daughter, obviously; she had struggled with addiction.

   12    So that brought him into the medical business.        That's how he

   13    knew Brett.

   14         And Brett and Michael started thinking about ways to

   15    generate a lot of samples, and I think they knew -- between the

   16    two of them, they had a contact at United Healthcare, and they

   17    had a contact at the Hard Rock.      Because Brett was always at

   18    the Hard Rock gambling in the high roller area.        I've been

   19    there with him a couple of times.      They all know him there.

   20    He's there all the time.

   21         So he had been there.     Someone else had him in at United,

   22    and they were discussing how to do this thing, where they would

   23    just get an obscene amount of samples.

   24    Q.   Okay.    So this text is from Mike L.    And you said his

   25    daughter's name is -- who is his daughter?
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    1    A.   Lindsey Lohan.

    2    Q.   The actress?

    3    A.   That's correct.

    4    Q.   And great idea with the donations, every cancer foundation

    5    will jump onboard.

    6               MR. SADOW:    Could you show, please, the last one, what

    7    message number that was?

    8               MS. GURSKIS:    Sure.   That was Message No. 91.

    9    BY MS. GURSKIS:

   10    Q.   And it looks like the next message is from you,

   11    Mr. Ramamurthy.     I'll zoom in so you can read that.

   12    A.   We need full access and cooperation from their human

   13    resources department.      Let's shoot for a pilot health fair

   14    December 13th.

   15    Q.   And that pilot health fair was going to be where?

   16    A.   At the Hard Rock, for the employees.

   17    Q.   So shifting a little bit in the chain here, this is

   18    line 116, from Mike Lohan.

   19         Can you read that message, Mr. Ramamurthy?

   20    A.   From what I understand, the Hard Rock has already reached

   21    out to Nick to make the connection between United Healthcare

   22    and LabSolutions.       I told you so.   So much for the naysayers.

   23    Q.   And the next message is also from him, and he says what?

   24    A.   I just hope the point person at LabSolutions follows

   25    through.
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    1    Q.     Okay.    Again, what's he talking about here?

    2    A.     We have David behind us.   I don't remember who David is.

    3    From here, make the necessary calls, set it up with Fred, tell

    4    him to use my reps, we need to discuss.       I'm not giving away

    5    30 percent if we can do it ourselves for less.

    6           I remember this.    Mike Lohan was very aggressive with

    7    business terms.      He really wanted everyone to do the work

    8    and he would keep all the money, or he was just fine with it if

    9    he could do it himself and had to cut everyone out.        And this

   10    was not really my deal.

   11           I'm just volunteering to help if I can, you know, so I

   12    didn't really push the agenda one way or the other.        I was

   13    ready, of course, to take money, but I could sense that Mike

   14    was very, very territorial and protective about this deal.

   15    Q.     Okay.    So the next two messages are from you, lines 119 and

   16    120.    Can you read those two lines?

   17    A.     I can handle all the logistics with my reps.      I got this

   18    covered.       It's all good.

   19    Q.     And then this final message from Mike Lohan, on line 121,

   20    can you read that?

   21    A.     Hey guys, as I told you, the deal with the Hard Rock will

   22    go through, and this is only the beginning because I am getting

   23    all the rest.      There seems, however, to be some confusion.

   24    This is my deal with the Hard Rock.      Yes, Brett, you are my

   25    partner but when the money was needed, no one came up with it.
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    1    As far as I'm concerned, the upcoming meeting on Thursday is

    2    between the Hard Rock, United Healthcare, Minal, and me.         If

    3    anyone else wants to be involved, we can discuss it and come to

    4    terms with it.

    5    Q.    Do you know if this Hard Rock campaign ever took off?

    6    A.    No -- well, actually I don't know.     I was out of the loop

    7    before any of that kind of happened.

    8              MS. GURSKIS:   Your Honor, may I publish Government's

    9    Exhibit 1234?

   10              THE COURT:   You may.

   11    BY MS. GURSKIS:

   12    Q.    Can you read the message from you and then I'll read the

   13    response?

   14    A.    I just had a meeting with Rick Hilton of the Hilton family.

   15    He's very interested in the lab stuff, especially CGx.

   16    Q.    That's pretty cool.

   17    A.    Paris Hilton's father, LOL.    He thinks this is a home run.

   18    Q.    Did you actually have this meeting with Mr. Hilton?

   19    A.    I did.

   20    Q.    And then what's the next message that you send?

   21    A.    Let's plan for meeting tonight in Brickell, Miami.       They

   22    have a meeting with Brett's connect as well as ^ * Levine's

   23    (phonetic) rep group.

   24    Q.    And then you send this message.     What's the caption beneath

   25    it?
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    1    A.   Look who Nyan (phonetic) brought to the club last night.

    2    Q.   And then you see Minal Patel says LOL.       And then you say?

    3    What do you say?

    4    A.   Oh, nine.

    5    Q.   Who is the guy with nine?

    6    A.   Jermaine Dupri, famous music producer.       He discovered

    7    Usher, was married to Janet Jackson.

    8    Q.   Yes.

    9    A.   He's from Atlanta also.     Money bag, money bag.

   10    Q.   Does he want to do CGx?

   11         And then you respond?

   12    A.   Yes, he does.    Nine is on it.

   13    Q.   There we go.    And then someone says, I have Tyson, Mike and

   14    his wife.   I have Holyfield.

   15    A.   Put them all together for a TV commercial.

   16    Q.   They should do one together.      Yes.

   17    A.   I'll cover costs of production.      My sister is working on a

   18    TV show right now.    I'll just hire them.

   19    Q.   You gonna invoice me?     LOL.

   20    A.   Ha ha ha.   Just keep an eye on the samples.      I'll handle

   21    the rest.

   22    Q.   And then you respond with a kiss face emoji, it looks like,

   23    and then Minal Patel responds, 10-4.

   24         What were you talking about in that conversation about Mike

   25    Tyson?
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    1    A.   We were talking about shooting a CGx commercial with some

    2    celebrities, Mike Tyson, Holyfield.

    3    Q.   Did that ever happen?

    4    A.   Not to my knowledge.

    5    Q.   How did your relationship with LabSolutions ultimately end?

    6    A.   Well, things stopped adjudicating, so there really wasn't

    7    any reason to send samples in anymore.       So that was it.    It

    8    ended.

    9             MS. GURSKIS:    Your Honor, at this time the government

   10    would like to move in Exhibits 1414, 1414-A, 1415, and 1416.

   11             THE COURT:    Those will be moved in at this time without

   12    objection.

   13          (Government Exhibits 1414, 1414-A, 1415, and 1416 were

   14         received in evidence.)

   15    BY MS. GURSKIS:

   16    Q.   Were you ever disciplined by LabSolutions, Mr. Patel (sic)?

   17    A.   This is for me?

   18    Q.   I'm sorry, Mr. Ramamurthy.

   19    A.   Not really disciplined.      I was served with a cease and

   20    desist order at one point in our relationship.

   21    Q.   Okay.

   22             MS. GURSKIS:    Your Honor, may I publish Government's

   23    Exhibit 1414 and 1414-A?

   24             THE COURT:    You may.

   25    BY MS. GURSKIS:
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    1    Q.   Who is this email from?

    2    A.   This is from Minal.

    3    Q.   To you?

    4    A.   That's correct.

    5    Q.   And what's the date?

    6    A.   Wednesday, the 26th of July, 2017.

    7    Q.   And, Mr. Ramamurthy, if you could read this letter.         So

    8    first, what's the subject on the re line?

    9    A.   Subject.   Termination of business relationship between

   10    LabSolutions, LLC and Q Health Services, LLC, cease and desist.

   11    Q.   Okay.   And then what does this say after that?

   12    A.   This correspondence is being written in order to inform you

   13    that effective immediately LabSolutions will no longer conduct

   14    business of any kind with Q Health.      Certain inconsistencies

   15    and discrepancies on the part of your office that were

   16    recognized by agents of LabSolutions that caused great concern.

   17         LabSolutions strives to comply with all laws and

   18    regulations surrounding molecular genetic testing specifically,

   19    and the healthcare industry generally.

   20         LabSolutions and its officers further demand that all

   21    parties with which it has done business similarly adhere to the

   22    strictest standards regarding compliance with relevant laws and

   23    regulations.    Accordingly, the relationship between Q Health,

   24    LLC, and LabSolutions must cease.

   25         Please cease and desist in the submission of any laboratory
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    1    testing, requisitions via referral sources associated with

    2    Q Health, LLC, immediately.     Any requisitions that are sent

    3    following this correspondence will be rejected and returned.

    4         Please discontinue the use of any LabSolutions equipment

    5    and discontinue any and all association between Q Health and

    6    LabSolutions immediately.

    7    Q.   And whose name is at the bottom?

    8    A.   Minal Patel.

    9    Q.   Did that letter -- did you ever discuss that letter with

   10    Mr. Patel?

   11    A.   I did.   I took a phone call with him and Nick immediately

   12    upon receipt of that letter.

   13    Q.   What do you remember happening during that call?

   14    A.   I remember that they told me that there is, like, a pile of

   15    my samples at the lab that are trash, that they weren't going

   16    to take them, that the information is wrong, the ICD-10 codes

   17    are not correct, it's not billable, that they didn't want

   18    anymore of my samples because it was too much of a headache to

   19    sort through, to see if they were good to bill or not to bill.

   20         And, of course, there were complaints about, like,

   21    collection methods as well.     But generally, they couldn't bill

   22    a lot of my samples because the ICD-10 codes were not the ones

   23    that always went through all the time.

   24    Q.   And what happened after that call?

   25    A.   Nothing.   We continued business for months and months.
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    1              MS. GURSKIS:   May I publish Government's Exhibit 1415?

    2              THE COURT:   Yes, you may.

    3    BY MS. GURSKIS:

    4    Q.   What's the date on this email, Mr. Ramamurthy?

    5    A.   This is the same month, July, 31, 2017, the Monday.

    6    Q.   So a few days after you received the cease-and-desist

    7    letter?

    8    A.   That is right.

    9    Q.   And who is this email to?

   10    A.   This is to Minal from me.

   11    Q.   And what are you sending him?

   12    A.   This is my itinerary for a reservation at the Faena Hotel

   13    in Miami Beach.

   14    Q.   Do you remember why you were sending that to him?

   15    A.   Yeah.   I was inviting him to come along with me because

   16    usually we would hang out every month, and hang out and party.

   17              MS. GURSKIS:   Your Honor, may I publish Government's

   18    Exhibit 1416?

   19              THE COURT:   You may.

   20    BY MS. GURSKIS:

   21    Q.   And this is also from that day, I believe, Mr. Ramamurthy.

   22         And what is this email about?

   23    A.   So Nick says, I'll be in the office.       Safe travels.    I say,

   24    Hi, guys, I land at noon tomorrow.      See you in the afternoon.

   25         Frank is in this one also, my numbers guy.       He says, Hello,
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    1    Nick and Minal, I'll be flying into town late tonight.         When

    2    will you be available to meet with Rama and I tomorrow?         My

    3    flight back to Los Angeles is around 7:00 p.m. on Tuesday.

    4    Thanks, Frank.

    5         So it looks like Frank was sent to the lab to work on

    6    samples, numbers, any discrepancies.       I don't know if I went to

    7    this meeting or not, but I went to Miami.       I know that.

    8    Q.   And you continued to do business with Mr. Patel?

    9    A.   Absolutely.

   10               MS. GURSKIS:    If I could have a moment, Your Honor?

   11               THE COURT:    You may.

   12    BY MS. GURSKIS:

   13    Q.   So who is in charge at LabSolutions, Mr. Ramamurthy?

   14    A.   Minal is in charge, but Nick Saliba runs like the

   15    day-to-day stuff.       In the beginning, Minal was really, really

   16    hands-on.    He was not so much hands-on towards the end.       He was

   17    really flying around and partying a lot, hanging out with me.

   18         He was still in the loop, though, because he would always

   19    peel off and take phone calls.      He knew what was happening at

   20    the lab.    But, yeah, he ran things at the lab, but Nick was

   21    really in charge of the day-to-day stuff towards the end.

   22    Q.   And who designed this whole operation?

   23    A.   Minal designed this entire thing.      He's the architect of

   24    the whole thing.

   25               MS. GURSKIS:    No further questions.   Thank you, Your
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    1    Honor.

    2               THE COURT:    Thank you.    Sidebar for a second, please.

    3            (The following proceedings were held sidebar:)

    4               THE COURT:    Mr. Sadow, I don't want to break up your

    5    flow.

    6               MR. SADOW:    I have hours and hours.

    7               THE COURT:    Can you give me 30 minutes to --

    8               MR. SADOW:    Well, first thing we have to do is I'll be

    9    moving in about 30 government exhibits, so we'll have to deal

   10    with that first.

   11               THE COURT:    Let's try and take advantage and try to

   12    advance the ball.       Give me until 5:30.

   13               MR. SADOW:    But I have to move these in.

   14               MS. GURSKIS:    I don't know if there's hearsay issues or

   15    anything like that.

   16               MR. SADOW:    No.   They're all -- we're going to need a

   17    few minutes to do that.

   18               THE COURT:    Move them in, even if I just get a little

   19    started.    I don't know how long it's going to take.       I'll give

   20    them a five-minute break.

   21            (Proceedings returned to open court.)

   22               THE COURT:    Folks, let me go ahead and do this:     If you

   23    would all indulge me, please.         I need to do a few minutes of

   24    housekeeping.    I know it's 5:00 o'clock, but we need to get a

   25    couple of things in place before we let you go at 5:30.
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    1              If you would leave your notepads, please, on your

    2    chairs.   Go ahead and go to the jury room, and I will bring you

    3    out momentarily.

    4              You are excused.

    5          (Jury exits at 5:02 p.m.)

    6              THE COURT:   Please be seated, everyone.      As we were

    7    stating at sidebar, there are a number of exhibits that

    8    Mr. Sadow is going to request to be moved into evidence off the

    9    government's exhibit list, so let's go ahead and meet and

   10    confer right now and see if we can get agreement on what those

   11    are, and perhaps we can move those in similar to the way that

   12    we moved in the government's set of exhibits without objection.

   13              We can do that in the presence of jury before we break.

   14              MR. SADOW:   Okay.   So I'll start reading off the list.

   15              THE COURT:   Yes.

   16              MR. SADOW:   Let me know when you're ready.

   17              MS. GURSKIS:   I've got my list.

   18              MR. SADOW:   1326, 1327, 1327-A, 1328, 1328-A, 1329,

   19    1330, 1331, 1332, 1332-A, 1333, 1334-A, 1336, 1338-A, 1343,

   20    1343-A, 1345 --

   21              MS. GURSKIS:   Do you mind going a little slower,

   22    Mr. Sadow?

   23              THE COURT:   1335 is the last one I heard.

   24              MR. SADOW:   1345.

   25              MS. GURSKIS:   I believe you said 1336 and --
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    1             THE COURT:    1338-A after 1336.    1343, 1343-A, 1345, the

    2    last few.

    3             MR. SADOW:    Right.   That's where I stopped.

    4             THE COURT:    Yes.

    5             MR. SADOW:    You all up?

    6             MS. GURSKIS:    Yes.

    7             THE COURT:    Okay.

    8             MR. SADOW:    1360, 1375, 1376, 1382, 1385, 1385-A,

    9    1399-A through G, 1404, 1453, 1454, 1455, 1455-A, 1456, 1457,

   10    1460, and 1463.

   11             And then I have one, two, three -- then I have Defense

   12    Exhibits A-1 through A-5.

   13             And I would -- if those are admitted, we will be

   14    publishing those through the computer.       We will not go back and

   15    forth.

   16             THE COURT:    Okay.    Very good.   If I can get, as soon as

   17    the government's had a chance to look at those, a position from

   18    the government, if there's any objection to any of those listed

   19    exhibits.

   20             MR. RAFFERTY:    Your Honor?

   21             THE COURT:    Yes.

   22             MR. RAFFERTY:    I'm sorry to interrupt.     If there's

   23    going to be objections from the government, it seems like maybe

   24    the witness -- if the witness could be removed from the

   25    courtroom.
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    1               THE COURT:   Yes.    Let me go ahead and -- before I take

    2    him down, I'm trying to make it a little easier for my

    3    marshals.

    4               Let me just see if we even have objections.      If we do,

    5    we can litigate it outside his defense.

    6               MS. GURSKIS:   I looked at the hard copies from

    7    Mr. Sadow.    The defense exhibits are all fine.      I'm just now

    8    measuring up the other ones to my exhibit list for the

    9    government.

   10               THE COURT:   Okay.

   11            (Discussion was held off the record.)

   12               MR. SADOW:   Certainly, if we wind up breaking --

   13    because we're not going to have that much time.        To the extent

   14    the government wants to make copies of these, we can do that.

   15    Otherwise, of course, they're all -- they're exhibits, so...

   16               THE COURT:   Sure.

   17               MR. SADOW:   I'm sorry.   I put these together, as Your

   18    Honor may understand, at the last minute.

   19               THE COURT:   Sure.

   20               MS. GURSKIS:   So I just looked at the first set, 1326

   21    through 1334-A.    No objections.     And I do believe, according to

   22    my notes, that 1334 and 1334-A were actually already admitted.

   23               MR. SADOW:   I think 1334 was admitted.    At least on the

   24    list you gave me, 1334-A didn't appear.       So I just want to make

   25    sure.
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    1               THE COURT:   Okay.   So far, so good.   You only have a

    2    few more to review.

    3               MS. GURSKIS:    No objection to 1336 or 1338 or 1338-A or

    4    1343, 1343-A and 1345.      And no objection to 1360.

    5               No objection to 1375 or 1376 or 1382.

    6               These are all fine, Your Honor.

    7               THE COURT:   Very good.   So here's what we'll go ahead

    8    and do, Mr. Sadow.      Let's go ahead, and bring our jurors back

    9    in.   If you would like, perhaps just move in all those exhibits

   10    in their presence.      We'll move them into evidence.

   11               I think at this point that may be all we'll do, and we

   12    can start tomorrow at 10:00 with the cross-examination.         I

   13    think it just makes the most sense.

   14               So let me bring the jurors back in to give them some

   15    final instructions.       Thanks, guys.

   16               THE COURT SECURITY OFFICER:    All rise.

   17            (Jury enters at 5:11 p.m.)

   18               THE COURT:   All right.   Please be seated, everyone.

   19               So, ladies and gentlemen, we're going to do just a

   20    little bit of housekeeping, and then we're going to be done.

   21    Okay?

   22               As you all know, we'll be conducting the

   23    cross-examination of the witness next, by Mr. Sadow.         We're

   24    going to go ahead and allow Mr. Sadow to move some exhibits

   25    into evidence similarly to the way in which we allowed the
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    1    government to do so.

    2             Mr. Sadow, if you want to go ahead and formally move

    3    the list of exhibits into evidence that you will rely on for

    4    the cross-examination of the witness.

    5             MR. SADOW:    Thank you for your indulgence, Your Honor.

    6    It's a long list, but I'll go slow.

    7             These are all government marked exhibits that they have

    8    not put in:   1326, 1327, 1327-A, 1328, 1328-A, 1329, 1330,

    9    1331, 1332, 1332-A, 1333, 1334-A, 1336, 1336, 1338-A, 1343,

   10    1343-A, 1345, 1360, 1375, 1376, 1382, 1385, 1385-A, 1399-A

   11    and B and C and D and E and F and G, 1404, 1453, 1454, 1455,

   12    1455-A, 1456, 1457, 1460 and 1463.

   13             Those are the government exhibits that I moved into

   14    evidence.

   15             THE COURT:    And at this point, I believe there's no

   16    objection to any of those, correct?

   17             MS. GURSKIS:    That's correct, Your Honor.

   18             THE COURT:    All right.   Those will all be admitted at

   19    this time.

   20             (Government Exhibits 1326, 1327, 1327-A, 1328, 1328-A,

   21    1329, 1330, 1331, 1332, 1332-A, 1333, 1334-A, 1336, 1336,

   22    1338-A, 1343, 1343-A, 1345, 1360, 1375, 1376, 1382, 1385,

   23    1385-A, 1399-A and B and C and D and E and F and G, 1404, 1453,

   24    1454, 1455, 1455-A, 1456, 1457, 1460 and 1463 were received in

   25    evidence.)
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    1             And now you have a few defense exhibits?

    2             MR. SADOW:    Yes.   I have A-1, A-2, A-3, A-4, and A-5.

    3             THE COURT:    Any other ones?

    4             MR. SADOW:    That was it.

    5             THE COURT:    All right.   Any objection to those set of

    6    exhibits?

    7             MS. GURSKIS:    No, Your Honor.    Thank you.

    8             THE COURT:    All right.   Those will also be admitted

    9    without objection.

   10             (Defense Exhibits A-1, A-2, A-3, A-4, and A-5 were

   11    received in evidence.)

   12             MR. SADOW:    Thank you.

   13             I can do a couple of minutes, but I think it's probably

   14    better to break.

   15             THE COURT:    No.    I think it makes sense at this point,

   16    folks, so we don't have a disjointed examination that we break

   17    here.

   18             Okay.   So tomorrow, same schedule.      We'll have

   19    everybody report at 10:00 a.m.      Please be here by 10:00.     We

   20    will get you out as soon as we are ready to go, and we will

   21    pick up with the cross-examination of the witness by Mr. Sadow.

   22             Remember, of course, as I let you all head out this

   23    evening, you've heard quite a bit of testimony today.          By my

   24    count, we're on, I believe, our fourth witness.

   25             I want to make sure that you all remember that should
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    1    family and friends ask any of you what's going on and what the

    2    case is about, please continue to let them know that you are

    3    unable to discuss the case with them.       Similarly, do not

    4    discuss the case with one another.

    5             All your impressions about the evidence and what you've

    6    heard must be saved until the end of the case, when you are all

    7    deliberating, after you've heard all the evidence, instructions

    8    on the law and the closing arguments of the lawyers.

    9             Remember tomorrow morning, should you run into any

   10    lawyers, take no offense if they avoid you.       Ethical rules

   11    require that they do so.     And certainly, this evening, do not

   12    have any temptation to go online either for social media

   13    engagement regarding your service or, of course, to do any

   14    research regarding anything you may have heard, any people or

   15    places that you've seen in the exhibits, et cetera.         So please

   16    continue, as I know you have, to keep all of those rules.

   17             A few of you have needed some additional assistance

   18    from the Court.    This afternoon I drafted another letter.       I

   19    know that someone's employer was inquiring.       That's ready to

   20    go.   We'll get you that.    I know that we may not have heard

   21    back from certain other employers or professors.        If there's

   22    anything else I can do, let me know.       I think I drafted at

   23    least three or four letters for all of you specifically

   24    designed to help several of you who have had issues with your

   25    service and people asking about your service.        So hopefully
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    1    that'll take care of it.        But, of course, if anything else

    2    arises, just let my courtroom deputy know, and we'll see what

    3    we can do.

    4               So with that being said, I hope everyone gets home

    5    safe.    Have a great evening.     Please leave your notepads in the

    6    jury room.    We'll see you all back in there at 10:00 a.m.         You

    7    are excused.

    8               THE COURT SECURITY OFFICER:     All rise.

    9            (Jury exits at 5:16 p.m.)

   10               THE COURT:   We can go ahead and excuse the witness.

   11    Thank you, guys.    See you in the morning.

   12               MR. SADOW:   Your Honor, can we make sure that the --

   13    the witness needs to still be here for a second.

   14               THE COURT:   Give me one second.    Yes.

   15               MR. SADOW:   Just make sure the witness understands,

   16    between now and tomorrow morning --

   17               THE COURT:   Yeah.    Just, obviously, so you're aware,

   18    sir, no communication with anyone.       You're still under oath.

   19    You remain under oath until tomorrow, so you should not be

   20    discussing your testimony with anyone at all.

   21               You understand, right?

   22               THE WITNESS:   Okay.

   23               THE COURT:   Very good.    Thank you.

   24               All right.   Please be seated everyone.     Let's just

   25    briefly do some housekeeping.
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    1             So, Mr. Sadow, I imagine there's quite a bit of

    2    material you want to cover.     But just in large part, to

    3    realistically manage expectations for tomorrow, as we figure

    4    out the lineup, what do you estimate will be the amount of time

    5    you need for your cross, just realistically?

    6             I know that there's material you need to cover.         I'm

    7    not going to cut you short, but I want to make sure that we

    8    plan ahead, and hopefully we can get a sense of when we will be

    9    done with Mr. Ramamurthy's examination.

   10             What's your general sense?

   11             MR. SADOW:    If everything went perfect --

   12             THE COURT:    Yes.

   13             MR. SADOW:    -- I could be done by lunch.

   14             THE COURT:    Okay.

   15             MR. SADOW:    That having been said, perfection doesn't

   16    typically happen in cross-examination.       So we could go into at

   17    least a few minutes after the lunch hour.

   18             THE COURT:    I can live with that.     If we can at least

   19    focus our morning, and hopefully things do go smoothly, that's

   20    about two hours, give or take.      And my hope is that we'll get a

   21    lot covered.    If it spills over slightly, really almost two and

   22    a half, if I break at 12:30, as I've been doing, I think we may

   23    be able to make some headway, and perhaps by the early

   24    afternoon, we're turning it back to redirect.

   25             So assuming that's our perfect schedule, can I ask the
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    1    government who we have on standby, ready to go for tomorrow

    2    afternoon?   Because I don't think we will have anyone taking

    3    the stand outside from Mr. Ramamurthy until after lunch.

    4              MS. DE BOER:   Yes, Your Honor.    So we have five

    5    witnesses who are traveling in.      They're either here or will be

    6    here tonight and tomorrow morning.      Four of the five are fairly

    7    short, some perhaps as short as the shorter witnesses today.

    8    Some may be slightly longer than that, but still short.

    9              A fifth is Dr. Magliocco, who is our medical expert.

   10    We're obviously wise to the Court's admonition yesterday, not

   11    to repeat any testimony, and we'll endeavor not to do that.          So

   12    we will try to shorten him, but I think he's about two hours on

   13    direct.

   14              I don't know that we get through all five of those

   15    tomorrow, so we're going to have to do some work tonight to see

   16    whose travel schedules are the most flexible because many of

   17    these witnesses were supposed to go home tomorrow night.

   18              I know at least one of them, it's Dr. Slomovitz, he's a

   19    doctor for one of the account beneficiaries.        He's an

   20    oncologist that carved out a set window of a time.        So we may

   21    have to take him out of order, but he'll be short.

   22              So the witnesses I'm talking about are Dr. Magliocco,

   23    the medical expert, Kimberly Foss, who's a practitioner for a

   24    beneficiary, Dr. Slomovitz, patient W.H., Heller, who will be

   25    short, and Stacey Adair, who's a former employee.
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    1             THE COURT:    So I think what we should plan on,

    2    depending on the travel schedule, is we should have, I think,

    3    Ms. Foss, Adair, and W.H. would be a perfect world, I think if

    4    we can get two of them, at a minimum done, after we're done

    5    with Mr. Ramamurthy.     That would at least advance the ball.       In

    6    a perfect world, three of them.

    7             I think we can almost certainly bank on the fact that

    8    Dr. Magliocco and Dr. Slomovitz would not be on deck tomorrow.

    9    I don't realistically think that they're going to be testifying

   10    tomorrow.

   11             MS. DE BOER:    Sorry, Your Honor, if I wasn't clear.

   12    Slomovitz has to go tomorrow.       He's the oncologist who was a

   13    doctor for one of the account beneficiaries who has carved out

   14    a window of time to testify.

   15             THE COURT:    Yeah, that wasn't clear.     So he has to

   16    testify tomorrow.

   17             MS. DE BOER:    Correct.    And we'll work with the others,

   18    the other three, besides Magliocco, to figure out who can go,

   19    who could be moved, if we have to.      We'll sort that out between

   20    tonight and tomorrow.

   21             We'll endeavor to get as far as possible tomorrow,

   22    obviously, but we'll figure out who are the ones that have the

   23    flexibility if they have to carryover to the next day.

   24             THE COURT:    So our plan tomorrow is once we finish

   25    Mr. Ramamurthy, to put Dr. Slomovitz on after that; is that
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    1    right?

    2             MS. DE BOER:    Yes, Your Honor.

    3             THE COURT:    Okay.   And Dr. Slomovitz does not sound, to

    4    me at least, to be as short a witness as Foss and others; is

    5    that right?

    6             MS. GURSKIS:    He won't be, but he'll be fairly -- he

    7    won't be long.

    8             THE COURT:    Okay.   Well, let's see here.     I think then

    9    we should, just in the abundance of caution, if things go

   10    perfect, I don't want to lose any available time.        Perhaps we

   11    can have whoever of those remaining witnesses can be on

   12    the standby and available of the combination of Foss, Adair, or

   13    W.H.

   14             Maybe there's one that's quite short and doesn't have

   15    much of an issue being on standby.      If we can get through

   16    Slomovitz and we have any time, maybe we can take care of one

   17    of those witnesses.     And if that's the case, then it looks to

   18    me like Friday we're moving into the remaining folks.

   19             So whoever we don't reach between Foss, W.H., and

   20    Adair, and then presumably, Magliocco.       Is that the lineup that

   21    takes us to the end of the week?

   22             MS. DE BOER:    Correct, Your Honor.     We have two other

   23    potential witnesses for the rest of the week, or three others

   24    if we -- that's a bit ambitious.      But for Friday, we have Amy

   25    Roebuck who is a former employee.      She's flying in.     And then
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    1    we have Dr. Yogel, who is a doctor for one of the account

    2    beneficiaries.    Both should be relatively short.      And supposing

    3    we had extra time, we would probably start Marc Sporn.

    4             THE COURT:    Yeah.   I think, realistically, Sporn

    5    probably won't be testifying this week.       I find that hard to

    6    believe, just based on what you're telling me and the

    7    sequencing.   But it's important that we try to plan ahead.

    8             So at least I think -- if I can get through -- and

    9    again, Magliocco's testimony, I would presume, will be

   10    streamlined given how much we heard from Ms. McMillan.

   11             But in a perfect world, I think we're keeping a decent

   12    schedule if between tomorrow and Friday we're able to take care

   13    of Dr. Slomovitz, Kimberly Foss, W.H., Stacey Adair, and

   14    Dr. Magliocco.

   15             I mean, if we can get through that in the next two

   16    days, I think that's realistic, with an outside chance we would

   17    reach someone like Roebuck or Yogel.

   18             Does that make sense?

   19             MS. DE BOER:    It does, Your Honor.     Yes, thank you.

   20             THE COURT:    If we go that route, I think that Roebuck

   21    and Yogel may, depending on how fast those witnesses go, they

   22    may need to be in on Monday, in the morning.        I mean, I just --

   23    look, I have faith that you guys keep it moving, but what I've

   24    seen thus far and the pace at which it's going does not make me

   25    extremely confident that we can get through this many folks in
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    1    the next 48 hours.

    2             Certainly, though, Roebuck, Yogel and Sporn could be

    3    tackled in the beginning -- on Monday of next week, right?

    4             MS. DE BOER:    Yes, Your Honor.

    5             THE COURT:    Okay.   All right.   So I think, Mr. Sadow,

    6    the purpose of this also is so that we can really streamline

    7    everything for everyone and we know what the lineup is.         I

    8    think that Ramamurthy obviously is the primary focus for

    9    tomorrow.

   10             Some of these other witnesses do not seem to be --

   11    well, let me take that back.       I don't know how detailed we're

   12    going to need to get with Dr. Slomovitz.       But at least this

   13    gives you a sense of my ideal lineup for the next 48 hours in

   14    preparation.    And I think it's doable.

   15             We're just going to have to see how the afternoon plays

   16    tomorrow.

   17             Any concerns on the defense side with this lineup?

   18    Certainly it puts Sporn into next week, so there needs to be no

   19    preparation for him until Monday, I would say.

   20             What do you guys think?

   21             MR. SADOW:    That prep's already been done.

   22             THE COURT:    Well, refresh.    I think a refreshing of the

   23    prep, I guess is the way to put it, right?

   24             MR. SADOW:    Yes, sir.

   25             THE COURT:    Okay.   All right.   So this schedule works
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    1    for me.   Can I just on an outside whim get a sense, getting me

    2    through Sporn?    I like to plan ahead.      I mean, I know we have a

    3    lot of folks left after that, but looking at the pace of where

    4    we're at, do we have a couple more days of testimony, ballpark,

    5    from the government at that point?

    6              MS. DE BOER:    I think we would go through at least the

    7    end of next week.      I think we could rest our case the following

    8    Monday, just depending on how things go.

    9              THE COURT:    Okay.    That's good.   I think if we have a

   10    chance, an outside chance, depending on the speed of some of

   11    these other smaller witnesses, that we're looking at winding

   12    down the government's case by the end of next week and maybe

   13    spilling over a little bit.

   14              I would prefer that, obviously, because then it gives

   15    me essentially a week or little over a week for the defense to

   16    put on whatever case they want to put on.        So I think that's

   17    realistic.   And hopefully we can beat that expectation.

   18              But certainly I know that, for example, Sporn will

   19    probably be lengthy, similar to what I expect from tomorrow

   20    morning with Ramamurthy.        All right.   So that gives me a good

   21    lineup for tomorrow.

   22              Let's see how we do in the afternoon, and hopefully we

   23    can get through Dr. Slomovitz without it becoming too belabored

   24    and then it'll put us a little more back on track.

   25              MR. SADOW:    Your Honor, we may be able to assist just a
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    1    little bit.

    2             THE COURT:    Sure.

    3             MR. SADOW:    The government doesn't have to tell us

    4    everything in advance, but there are a number of still

    5    cooperative witnesses.     Those are the long ones.

    6             THE COURT:    Sure.

    7             MR. SADOW:    So if they are eliminating any of those,

    8    that would be something which I think would assist the Court,

    9    obviously would assist the defense as well.

   10             THE COURT:    Yeah.   I think what I'm going to do on is

   11    that front -- because I understand your perspective on it, is

   12    let's reevaluate on Friday, when I get to Friday afternoon, and

   13    I start planning out a little more.       I like to almost have

   14    48 hours of notice, not just 24.      I like to know what's coming.

   15             So I think I can map-out through Tuesday and then we'll

   16    get a little clarification about who, if anybody, on the

   17    cooperating side is going to be called next week.        But I think

   18    that'll help us.

   19             At least for this week, it looks to me like the only

   20    cooperator is really Ramamurthy for this week, right?

   21             MS. DE BOER:    That's likely.

   22             THE COURT:    All right.   So at least we know that.      And

   23    we'll see how we do on Friday afternoon.

   24             MR. SADOW:    You see, "that's likely" is the concern.

   25             THE COURT:    Well, I'll say this.     I'm looking at my
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    1    schedule here and everybody else they want to cover between now

    2    and Friday are not cooperators, after Ramamurthy, and I think

    3    getting through them is important.

    4               So sequencing-wise I don't want to be disrupted either.

    5    This is the setup that I'm planning on.       So I don't think we're

    6    going to have any problems sticking to the script for the next

    7    48 hours.    All right?

    8               MS. DE BOER:   Agreed, Your Honor.

    9               One other matter.    The records custodian issue that I

   10    brought up this morning.

   11               THE COURT:   Yes.

   12               MS. DE BOER:   With respect to patient files and billing

   13    reports from MyOnCallDoc, which is Government's Exhibit 443-A

   14    through C, and then 444 and 446 are samples of that.

   15               THE COURT:   We had held off on that because it just

   16    didn't make sense at the time.        Can I get perhaps a position

   17    from the defense on this?       There was a concern again on -- I

   18    believe it was an authenticity problem.       Is that what they're

   19    raising?

   20               MR. SADOW:   Absolutely.

   21               THE COURT:   Okay.   So tell me, gentlemen, we have an

   22    issue with this exhibit?

   23               MR. SADOW:   I can actually call up the exhibit and edit

   24    it in front of you.

   25               THE COURT:   What is it?    I don't want to take too long
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    1    on it before I let everyone break.      But can you give me a sense

    2    of what it looks like?     That would help, if I know which one it

    3    is.

    4             MS. DE BOER:    443-A?

    5             MR. SADOW:    My MyOnCallDoc exhibit, when you call it up

    6    on preview, on the MAC, actually allows me to highlight and

    7    potentially edit what's there, and the government has shown us

    8    edited parts of those exhibits.      So if those are editable -- is

    9    that the right word -- then there's an issue about whether or

   10    not they are really business records.

   11             Someone's going to have to come in and say that that's

   12    the way they were when they were received by them, because it's

   13    late production.    I think the production is into 20- -- maybe

   14    2021.

   15             THE COURT:    Okay.   So that gives me a little more

   16    sense.   I was trying to figure out what the genesis of the

   17    objection is.

   18             Now, on the certification, the 902 -- which we have,

   19    right, Ms. de Boer?

   20             MS. DE BOER:    Yes, Your Honor.

   21             THE COURT:    Does it set forth that these items are

   22    unedited?   I guess that's really the main concern, that what

   23    we're looking at is a spliced or edited portion of them as

   24    opposed to the total document?

   25             MS. DE BOER:    So these are the patient files that the
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    1    telemed company produced to the government in response to a

    2    subpoena.   And, yes, the patient files are editable, as are,

    3    really, any PDF.

    4             THE COURT:    Sure.

    5             MS. DE BOER:    The certification itself does not say

    6    they're unedited.     We can contact the records custodian and

    7    amend that certification if that's the concern.        I can assure

    8    you we have not edited them.      But they are fillable PDFs.     Some

    9    of them are at least, as many PDFs are.

   10             THE COURT:    Yeah.    I think, from what I understood, the

   11    concern is because he recognizes that they can be edited, that

   12    what you have provided by way of subpoena is true and accurate

   13    and was the document as it was in the possession or custody or

   14    control of the entity that produced it.

   15             I mean, if Mr. Sadow -- I think if we got a 902 that

   16    made that clear, would that resolve this particular concern?

   17             MR. SADOW:    The answer to that is, unfortunately, no,

   18    because my MyOnCallDoc, which is Chris Long --

   19             MR. RAFFERTY:    No.   Craig Long.

   20             MR. SADOW:    Craig Long.   I'm sorry.    Why he hasn't been

   21    charged in this case, I have no idea, but he is a player

   22    throughout the entire period of time.       He's not the one that

   23    authenticated this.     Someone else, who now is claiming to be in

   24    a position of authority years after the fact, is doing the

   25    authentication.    And to be perfectly honest, I don't trust the
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    1    authentication.    We know, from documents that we have, that

    2    they shouldn't be changeable because ours are the originals.

    3               So this is one of those in which there's a real issue

    4    about authenticity, and the government can call somebody in

    5    here and let them be under oath and say that's exactly the way

    6    they were when they came in and not the way they were two years

    7    after the fact.

    8               THE COURT:   I guess my only retort to that is, I don't

    9    see a reason -- if the government gets a revised 902 and

   10    provides it to me, I would overrule that concern.        I mean, you

   11    can establish authenticity that way.

   12               If there's a concern, based upon what I'm hearing, that

   13    these documents are authenticated after the fact or have been

   14    modified, I would feel comfortable and I would overrule

   15    defense's objection if indeed I had confirmation in the

   16    certification that these haven't been edited in any way, shape,

   17    or form.

   18               And I can imagine that wouldn't be hard to procure if

   19    indeed there were no edits made.

   20               MS. DE BOER:   I agree, Your Honor.    We will endeavor to

   21    do that.    And just to be clear, the individual who signed the

   22    certification is the president of MyOnCallDoc.

   23               THE COURT:   Well, that was my next question, who

   24    certified?    Because there seems to be a concern about that.

   25    But if it's someone of authority who looked at the records --
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    1    let's put it this way:     I don't need them in here telling me

    2    what I can get in the certification if it's modified to cover

    3    this concern.

    4               And I have to see it.   But if I can get that -- now, if

    5    something comes up, and he can't make that representation, or

    6    it's not as clean as simply stating that, we'll deal with that

    7    when it comes.    And then maybe I do need to get an explanation

    8    from him, and we may have to have someone show up here to

    9    testify.

   10               But for now, I would feel better if we had a revised

   11    certification, and that would give me, at least, the comfort

   12    that we can bring these in from an authenticity standpoint.          So

   13    why don't we just try do get that.

   14               I know you guys prefer to have him here.      I'll tell you

   15    this:   I think it's within my discretion under 902 for

   16    authenticity, that if I feel satisfied that person is in a

   17    position of representing the records are what they say they

   18    are, and they're regularly maintained in the business files of

   19    the OnCall and there's no concern, that's fine.

   20               But certainly, I don't think it hurts to have a very

   21    clear certification that maintains that there have been no

   22    modifications, changes, or edits to these documents, that they

   23    are produced as they have been maintained from their inception

   24    in the files of the business.

   25               And I'd like to have something like that to cure this
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    1    concern before I let them in.      All right?

    2              MR. SADOW:   And obviously the rulings the Court makes,

    3    we live by.    We're going to tell you right now, though, when

    4    they come in -- when they're offered, at that point in time,

    5    we're going to seek permission to show that they are not

    6    reliable through whatever process --

    7              THE COURT:   Sure.

    8              MR. SADOW:   We won't have someone to cross-examine,

    9    though.   So at that point in time, we're going to call the

   10    government agent and say take the stand, and we're going to

   11    show you why they're not reliable.

   12              Literally, we have an original document which is

   13    different and not -- not something that you can change.         Okay?

   14    So the question here -- and why it's so important -- because we

   15    think they changed them and then sent along the original to us

   16    after any changes were made.

   17              THE COURT:   So do you have, for example -- do you have

   18    a -- just to give me a sense of the edits, are you saying that

   19    currently the defense has one of these records in full form

   20    that is clearly different than the ones the government is

   21    moving in?

   22              I mean -- because, again, I can't work off any sort of

   23    speculation.    If I have an exhibit that the defense camp has,

   24    that is literally a thorough or unredacted or unmodified

   25    version of what the government's moving in as authentic, then I
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    1    would want to look at that in camera to determine why that is.

    2    And then I may have a bigger problem.       But I don't know that

    3    it's that lined up.

    4               Is that --

    5               MR. SADOW:   We'll get -- we'll have something on this

    6    for the Court, say, at some point tomorrow, for the Court to

    7    look at.    The government really needs to show you what they've

    8    done with it and explain in some form or fashion how they've

    9    gone about doing it.      That's the concern.

   10               THE COURT:   Well, I guess, Ms. de Boer, all I would ask

   11    is -- I mean -- and again, these records, so I'm clear, are

   12    primarily being introduced or utilized by which witness again?

   13               MS. DE BOER:   Dr. Magliocco, Your Honor.     They're

   14    patient files, and he'll be focusing on just a handful, mostly

   15    the account beneficiaries and the folks who are testifying.

   16               THE COURT:   Okay.   So what I just need to see -- I

   17    mean, look, this is quite straightforward.       If I can see what

   18    the records are from Dr. Magliocco, and then I would have to

   19    see from the defense -- if it's going to raise authenticity up

   20    to a certain level of concern, I would have to see a record

   21    that the government has, that they plan on bringing in through

   22    Magliocco, that the defense also has, but clearly shows

   23    additional material that, for whatever reason, has been

   24    redacted or removed from the patient files the government is

   25    seeking to introduce through Dr. Magliocco.
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    1              I mean, it's -- that's what it is.      I mean, I -- if I

    2    have something like that, then certainly, I'm going to be

    3    worried about the fact that what I'm showing the jury -- forget

    4    about being authentic.     It may just be completely incomplete.

    5              It may be missing sections in those patient files, or

    6    it could be something that has been redacted in the normal

    7    course.   I don't know.

    8              So I guess the easiest thing to do is, if the

    9    government wants to, tomorrow morning, just show me or give me

   10    a copy of what the records that Dr. Magliocco's going to rely

   11    on look like, or what they are.

   12              And then I would just ask the defense, if you have

   13    something that indicates to me that it has been improperly or

   14    inadvertently modified, that you would show me a record that

   15    matches what they're giving me from the government and tells me

   16    or at least explains to me what's been removed.

   17              I mean, unless I'm misunderstanding something, you're

   18    insinuating that you have a record that is more fulsome and

   19    complete than what the government is trying to pass on as

   20    authentic.

   21              Am I describing this right, or am I misunderstanding?

   22              MR. SADOW:   I think you're describing it right.

   23              Our concern is that when the record came into

   24    MyOnCallDoc --

   25              THE COURT:   Right.
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    1               MR. SADOW:   -- they made changes, and they may have

    2    then turned over the document with the changes to LabSolutions.

    3    The government, at least as they proposed, they're going to

    4    show that changes were made, and they want to leave the

    5    impression, in some form or fashion, that LabSolutions made the

    6    changes.

    7               And we want to be able to show that we didn't make the

    8    changes, and we have the original document, not a copy.          We

    9    have the original document that was sent to us to be able to

   10    show what they have versus what we have, which is why I'm

   11    trying to suggest that the authenticity issue lies with my

   12    MyOnCallDoc in the inference that the government may choose to

   13    draw or want to draw about who is able to make changes to these

   14    docs.

   15               THE COURT:   Okay.

   16               MS. DE BOER:   If I could speak to that.

   17               THE COURT:   Yeah.

   18               MS. DE BOER:   That's not at all what we're doing.         This

   19    is the first I've even heard of this theory.

   20               Dr. Magliocco is going to be presented with patient

   21    files primarily for the patients that had been put at issue in

   22    this case.    And he's going to say this is not the appropriate

   23    testing.    Can you tell from this, the information here, was

   24    there a doctor-patient relationship?       It's expert opinion.

   25               He's not saying who changed what.     He's not in a
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    1    position to say that.     I don't know who changed what.      It's not

    2    really at issue in this case.      And I think the flow that

    3    Mr. Sadow is describing from the telemarketer to the telemed --

    4    that's how these patient files get generated.        Of course, the

    5    telemed would have done something, including, at least, apply

    6    the doctor's signature.

    7             So what he's describing to me makes total sense in

    8    terms of there would be an evolution of these files over time.

    9    We have had files that were provided to us directly from

   10    MyOnCallDoc.    Those were the files they maintained.       The

   11    business record says that, and will be updated in accordance

   12    with Your Honor's suggestions.

   13             I think, at that point, particularly from

   14    Dr. Magliocco's testimony, we should be all clear.

   15             THE COURT:    Yeah.   Well, that's what I was going to

   16    say.   Now that I've gotten kind of the heart -- because I was

   17    unclear until just now exactly what the concern is.

   18             I think that the testimony of Dr. Magliocco is not

   19    going to touch on any of this because the testimony of

   20    Dr. Magliocco is going to focus on medical necessity, not

   21    complete or incomplete files.      If he can divine from the

   22    document whether this was necessary and medically necessary,

   23    that's what he's here to do.

   24             It's not that there will be something else in that

   25    document that he has not been privy to that will impact his
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    1    testimony.   Doesn't sound like that's what's happening here.          I

    2    think in the abundance of caution, we can supplement the 902

    3    anyway, but I am less concerned based upon what Dr. Magliocco

    4    is going to point out -- and, look, I don't think anyone stops

    5    us from finding -- at least the Court, from finding that the

    6    902 is sufficient for authenticity, and let's move on.

    7             If they want to raise this issue later -- I'm not sure

    8    how.   From a relevancy standpoint, it would be objected.        But

    9    if they wanted to somehow point out the fact that these have

   10    been modified over time, and it wasn't on LabSolutions to do

   11    so, let's see how that plays out.      But it doesn't sound like

   12    that's the thrust of your exam anyway.

   13             It's not that you're insinuating that LabSolutions has

   14    been playing around with the records.       It's just there's

   15    nothing in these medical records that are authentic to support

   16    the fact that these genetic tests were medically necessary,

   17    right?

   18             MS. DE BOER:    That's exactly right, Your Honor.       And I

   19    think the point I'm hearing from the defense is perhaps the

   20    telemed fooled LabSolutions, and if they want to put on a

   21    witness or perhaps a cooperator on that point, have at it.

   22             THE COURT:    Yeah.   I was going to say, that to me is a

   23    fine line of examination.      I just don't know that it stops us

   24    from using them under 902.     That's my issue.

   25             MR. SADOW:    I can actually -- if we can approach, I can
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    1    just show you what we're talking about.

    2             THE COURT:    Yeah, you may approach for a moment.       Let

    3    me just take a look at it, and I can see what you're talking

    4    about.

    5             MR. SADOW:    And I'm looking at 418-A.

    6             THE COURT:    418-A?

    7             MR. SADOW:    This can't possibly be the document.

    8             MS. DE BOER:    If you go to 418 -- so 418 was attached

    9    to an email sent from MyOnCallDoc to LabSolutions.        That's what

   10    LabSolutions received.     418-A --

   11             MR. SADOW:    We actually have a signature on this.

   12             MS. DE BOER:    I'm sorry.    So 418-A is just screenshots

   13    from 418.

   14             THE COURT:    Okay.

   15             MS. DE BOER:    He's not testifying to this.

   16             THE COURT:    Okay.

   17             MS. DE BOER:    He's just testifying to straight patient

   18    files.

   19             MR. SADOW:    That's what I'm trying to tell you.

   20    They're -- Brian, is it 418?      Don't we have -- we have the

   21    original of one of those.

   22             MR. RAFFERTY:    Yeah.    Your Honor, I think the question

   23    is, 418-A is a document.       If you look at it, it appears to be

   24    created -- if you could bring it up for a second.

   25             This is part of the document contained what's called a
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    1    screenshot of -- this is Exhibit 418-A.        It is identified on

    2    the exhibit list as a screenshot.      Okay?

    3              A screenshot is something that somebody has created,

    4    right?   You see on the right-hand side of the document, you

    5    have comments, who edited it, stuff like that.        This was

    6    clearly not something that this company, whoever produced this,

    7    maintained in this manner.     This was done at someone's

    8    direction, probably the government's, to show what was added or

    9    something else.

   10              And so I think the principle objection is, this should

   11    not be introduced into evidence pursuant to any business

   12    certification because it's not a business record.        This was

   13    created for litigation.

   14              THE COURT:   I'm being told this one is not going to be

   15    used, though.

   16              MS. DE BOER:   Not by Magliocco.     And I agree, Your

   17    Honor, this is a screenshot that I made, and another witness

   18    may or may not testify as to what was fillable in the process

   19    that orders that were created.

   20              THE COURT:   So this one will not be used tomorrow, and

   21    it's not being used for -- again, it's not being held out as an

   22    authentic record at all tomorrow.      So this is not going to be

   23    used.    And the one that you were going to use, the other 1418,

   24    it's not the markup?

   25              MS. DE BOER:   No.   I'm going to use hard drives of the
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    1    full set of patient files for MyOnCallDoc that were

    2    LabSolutions' patient files.

    3              THE COURT:   Well, I feel better, guys, if we're not

    4    using that other one.     Because I agree, there's margin markups.

    5    So that looks problematic to me.      But we're not using that with

    6    Magliocco.

    7              MS. DE BOER:   Correct.

    8              THE COURT:   At least that -- that way it's not -- I

    9    don't think there's an authenticity problem.        We're just not

   10    even going to use it.     We're not presenting them with it.      When

   11    we decide it, if we do, maybe we've got to talk about the

   12    screenshot issue, but for tomorrow, or for Friday, it doesn't

   13    sound like we're going to have a problem with that one.

   14              MR. SADOW:   The difficulty -- and I understand what the

   15    Court is saying.    But the difficulty is he's going to be

   16    saying, based on this patient record, here is my opinion.         And

   17    we're telling you that this may not, in fact, be the patient

   18    record.   This may be something that was done after the fact by

   19    MyOnCall or somewhere else along the line.

   20              So he's reviewing something which is not, in fact, a

   21    document that was -- should be reviewed by anyone, because it

   22    could have been edited.

   23              THE COURT:   I think the challenge was this one is not

   24    forming a basis of his opinion, right?

   25              MS. DE BOER:   Correct.
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    1             THE COURT:    So the concern we have here on this

    2    modified document is that the patient hard drives being used

    3    will not have these types of markings.       I don't know.    I

    4    haven't seen them.    But we're not going to have the same

    5    concern that we have on 418 throughout the patient files.

    6             MS. DE BOER:    He's testifying to -- well, we can even

    7    limit his primary testimony to the ones that were emailed to

    8    LabSolutions.    I mean, that's really what we're focused on.

    9    The count of patient and those are the emails on the exhibit

   10    list.

   11             There's a chunk of other patient files that he has

   12    reviewed that were provided by LabSolutions, and if they want

   13    to cross him on what is the actual one, his opinion is going to

   14    be the same.

   15             MR. SADOW:    It tends to suggest that the issue is not

   16    what they intended to try to do with the exhibit.        And it

   17    basically, what they're saying is we're only going to be using

   18    that part -- I mean, if he's not going to make reference to

   19    codes, or he's not going to make reference to anything else

   20    that's on there, that's fine.

   21             But if he's going to start talking about this code

   22    shouldn't have been used or that code shouldn't have been used,

   23    then he may be relying on a document in which, in fact, that

   24    code was never there or it was changed.       That's the concern.

   25             MS. DE BOER:    And he's not a billing expert, Your
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    1    Honor.

    2             THE COURT:    I don't think he's going to talk about

    3    codes, right?

    4             MS. DE BOER:    Not in any type of detail, no.

    5             MR. SADOW:    I'd still like the authenticity that it

    6    conformed --

    7             THE COURT:    Yeah.   I think we're going to do that.

    8    We'll get the modified one.     But it sounds like it's less of a

    9    concern because the scope of the doctor's testimony will be

   10    more about medical necessity as opposed to coding.          He's not

   11    going to be going into the checking of forms or the editing of

   12    forms, nor does it sound like the form that you flagged is even

   13    part of his testimony.     That 418-A, that particular form --

   14    that patient is, but that form that looks modified will not be.

   15             I would suggest that anything that is in the email

   16    files is probably what the government should be driving their

   17    examination from to avoid this coming up midstream.         And if we

   18    can do that and go that route, it's cleaner with the revised

   19    certification and --

   20             MR. SADOW:    Has he seen the modified file?       Has someone

   21    shown him these screenshots?

   22             MS. DE BOER:    I don't believe I have.     I'll

   23    double-check.

   24             THE COURT:    But I think we can get ahead of it.

   25    Because certainly if I get a modified 902 and we're not
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    1    focusing on the sections of these files that have been

    2    purportedly modified or could have been modified, then I do not

    3    believe we're going to run into a problem where the doctor will

    4    be looking at exhibits or patient files that are not authentic.

    5             So I think we've -- we've stepped away from the issue.

    6    I think tomorrow, or Friday, when Dr. Magliocco testifies, if

    7    the government focuses on the use of the emails, which I think

    8    are the set of documents to LabSolutions that are probably in

    9    the best shape, in that they don't have any concerns about the

   10    OnCall doing anything to them, then that way we can probably

   11    sidestep the entire issue.

   12             But the other part of that is what we've just

   13    discussed, and that is Magliocco is not going to get into, as

   14    far as I can tell, a large discussion of CPT codes or proper

   15    coding, but more so a medical opinion, expert opinion on

   16    medical necessity for genetic testing based on what he's seen.

   17             And I get a sense, Ms. de Boer, that the patient files

   18    will not have any problems in that he's looking at medical

   19    information in those files that was not subject to these types

   20    of edits.   It's not the same -- I mean, I see what is being

   21    pointed out to me in 418.     There's check boxes and comments.

   22    I'm assuming the patient hard drive files are not going to have

   23    that same problem.

   24             MS. DE BOER:    We'll double-check, Your Honor, but just

   25    so the Court is clear, part of how these get created is
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    1    telemarketers fill them out.

    2               THE COURT:   Right.

    3               MS. DE BOER:   And then they get approved or changed or

    4    whatever by a doctor.     So there's an evolution to that.      And

    5    what MyOnCallDoc gave us was their records.

    6               THE COURT:   I don't disagree with you there.     That's

    7    what I'm saying.    So from an authenticity standpoint under 902,

    8    if what they have in their possession is what they received,

    9    right, and they have not further modified, I'm letting them in

   10    under 902 with that revised certification.

   11               I do not need to concern myself with bringing in a

   12    records custodian to lay that predicate.       They are going to

   13    come in.    And to your point earlier, if there is a concern on

   14    cross for the doctor about these modified forms, that's what

   15    the cross will be for.     I mean, we'll tease it out, and the

   16    defense can go into that.

   17               But I'm not too worried about just the baseline

   18    evidentiary threshold for authenticity is going to be met with

   19    a slightly modified 902 certificate.       I don't need anymore.      So

   20    they're gonna come in.     If there's an opening for cross because

   21    of this purported modification, they'll be able to ask it, but

   22    I suspect from what I've heard that in his direct examination,

   23    looking at the patient files, that particular edited one will

   24    not be at issue and hopefully the other ones he's looking at

   25    don't suffer from the same editable quality, I guess is the way
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    1    to phrase it, that that one was.

    2               MS. DE BOER:   Thank you, Your Honor.

    3               THE COURT:   All right.    When you get that revised

    4    certification in, just let me know, Ms. de Boer, and then I

    5    will again formally make it clear that they're all going to

    6    come in.

    7               If at any point, to Mr. Sadow's suggestion, you just

    8    want to let the doctor know about the potential for

    9    modification, I don't see any reason why that would be a

   10    problem.

   11               I don't think it is because it sounds like the hard

   12    drives and the patient files and the emails are not subject to

   13    modification in the same way.        So I think we're going to be all

   14    right.

   15               But that will satisfy -- Mr. Sadow, what I will say to

   16    you guys on the defense side, I'm going to live with the

   17    revised certification.     I'm going to find there's no

   18    authenticity problem.     If there's something in the

   19    Dr. Magliocco testimony that opens the door to you raising this

   20    issue, and it's not outside the scope of direct, then have at

   21    it.

   22               I mean, if there's something about the trustworthiness

   23    of the boxes checked, the fact that they are modified over

   24    time, that seems to me to be fair, and you guys can raise it.

   25               MR. SADOW:   Thank you.
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    1             THE COURT:    Thank you.   All right.

    2             MS. DE BOER:    Thank you, Your Honor.

    3             One other request or suggestion.       We would be open to

    4    starting earlier, at 9:30 on any days that the Court would like

    5    to, to keep it moving.

    6             THE COURT:    We may need to.    I don't want to do it

    7    today because I kind of let them know, but I suspect that maybe

    8    I'll ask them if they could accommodate and come in a bit

    9    earlier on Friday just so we can get ahead.

   10             It really is all situational.      It depends in large part

   11    about how much we can get done tomorrow when we finish the

   12    cross-examination of Ramamurthy.

   13             So I agree with you.     And perhaps if we don't

   14    necessarily do it this week, maybe we modify slightly next

   15    week.   But I think we're okay.     That extra 30 minutes, I mean,

   16    to me, for tomorrow won't necessary disrupt anything.         If we

   17    can get through Ramamurthy and Slomovitz and maybe we get lucky

   18    and squeeze in one more, I think we'll be in good shape.

   19             And if we don't, I'll let them know, look, we need them

   20    to be here at 9:30 or even 9:00, depending on how far we get.

   21             MS. DE BOER:    Thank you, Your Honor.

   22             THE COURT:    That makes sense.    In no way, shape, or

   23    form, other than obviously some of the housekeeping, do I want

   24    the jurors having to stay past 5:30.       But I can extend the

   25    start time for sure.
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    1               Okay.   Anything else on the government's end before we

    2    break for the evening?

    3               MS. DE BOER:    No, Your Honor.     Thank you.

    4               THE COURT:   All right.    Anything else on the defense

    5    end before we break?

    6               MR. SADOW:   No, Your Honor.    Thank you.

    7               THE COURT:   Okay.    You got it.   So we'll see each other

    8    at 10:00 a.m., and we'll get started with the cross-examination

    9    of Mr. Ramamurthy.      We're in recess, guys.

   10            (Court recessed at 5:55 p.m.)

   11
                                   C E R T I F I C A T E
   12

   13

   14                I hereby certify that the foregoing is an

   15    accurate transcription of the proceedings in the

   16    above-entitled matter.

   17

   18
         DATE:    November 30, 2022      /s/Ilona Lupowitz
   19                                    ILONA LUPOWITZ, CRR, RPR, RMR
                                         Official Court Reporter
   20                                    United States District Court
                                         299 East Broward Boulevard
   21                                    Fort Lauderdale, Florida 33301
                                         (954) 769-5568
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   23

   24

   25
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